               Case 2:18-cv-00924-PD                       Document 15-8                 Filed 05/03/18              Page 1 of 186
                                                                                                                Efunnuga, Olutokunbo
                                                                                                                DOB: 3/6/1979 M37
MERCY FITZGERALD HOSPITAL                                                                                       Wt/Ht: 90.7 Kg (est.) 170.18 cm.
                                                                                                                MedRec: FOOl 25024 7
ED RECORD                                                                                                       AcctNum: FA1307223089
- - - - - - - - - - - - - - - - - - - - P a t i e n t Data
Complaint: UNRESPONSIVE
Triage Time: Fri Oct 07, 201607:17                                                          ED Attending: Halstead,MD (7-3652), Jeffrey
Urgency: ESI 2                                                                              Primary RN: Martin, RN, Jennifer
Bed: EDED
Initial Vital Signs: 1017/201607:17
 BP:                                                                                        R:
 P:                                                                                         T:95.0 (Rectal)
 02 sat:                                                                                    Pain:

 ADMIN
 PATIENT DATA CHANGE: Resident changed from (none) to Daniel Mirsch. <m:11
  RDMI)
  Attending changed from (none) to Jeffrey Halstead,MD (7-3652). (07:17 PJHJ
  Primary Nurse changed from (none) to Jennifer Martin, RN. (IJIJ9NJM)
  A08 61345207 by Interface, PCP Doctor: None Doctor, Race: AA, Ethnicity: Unknown, SSN:
    000000000, Payment: (none). (IJ/:40)
  Resident changed from Daniel Mirsch to Brianne Giliberto. (IJ/:42 RBGJ
  A08 61346266 by Interface. co8:09)
  A06 61346601 by Interface. (08:20)
  A08 61346738 by Interface, Payment (none), Referring Doctor: Jeff Halstead. (08:25)
  Admit Room: 506, Admit Area: 5 Pav. <o8:27SJS>

 VITAL SIGNS
 VITAL SIGNS: Temp: 95.0 (Rectal), Time: 1017/2016 07:17.(o7:17NDTI)
  Pain: 0 (No Complaint of Pain), Time: 1017/2016 07:28. (1J1:28 NJM)
  BP: 139/94, Pulse: -120-, Resp: -20-, 02 sat: -100- on Ventilator, Time: 1017/2016 07:44. (07:44
  NJM)

  BP: 146/98, Pulse: -120-, Resp: -15-, 02 sat: -100-, Time: 1017/2016 07:39.(07:39NJM)
  BP: 149/96, Pulse: -120-, 02 sat: -100- on Ventilator, Time: 1017/2016 07:37. (07:37NJM)
  BP: 144/97, Pulse: -119-, Resp: -20-, 02 sat: -100- on Ventilator, Time: 1017/2016 07:46. (07:46
  NJM)

  BP: 113179, Pulse: -116-, Resp: -18-, 02 sat: -100- on Ventilator, Time: 1017/2016 08:59.(o8:S9
  NJM)
  BP: 142/91, Pulse: -119-, Resp: -20-, 02 sat: -100- on Ventilator, Time: 1017/2016 07:51.(01,51
  NJM)

 PRESENTING PROBLEM (IJ/:17 NDTI)
  Presenting problems: Respiratory Problem.

 TRIAGE (Fri OctfJI, 201607:17NDTI)
 TRIAGE NOTES: patient was found lethargic, umesponsive when he was brought in to the ED.
    Medics gave 1 amp of narcan. (Fri oc101, 201607:17 NDTJ)
 PATIENT: NAME: Efunnuga, Olutokunbo, AGE: 37, GENDER: male, DOB: Tue Mar 06, 1979,
    TIME OF GREET: Fri Oct 07, 2016 07:04, Non-US TRAVEL 30days: Unable to asses due to patient
    condition, *Patient Symptoms: UNABLE TO DETERMINE DUE TO PT CONDITION, MD Notified
     offravel: * Not Applicable, Zip Code: 19050, KG WEIGHT: 90. 72 (est.), HEIGHT/LENGTH: l 70. l 8cm,
    BMI: 31.32, PHONE: (000)000-0000, MEDICAL RECORD NUMBER: F001250247, ACCOUNT
    NUMBER: FA1307223089, PCP: Doctor, None.(m 0c101,201601:17NDTI)
 ADMISSION: URGENCY: ESI 2, TRANSPORT: ALS Ambulance, BED: ED 06. <Fn 0c1m,
  20161J/:17NDTI)
 VITAL SIGNS: Temp 95.0, (Rectal), Time 10171201607:17. (07:17NDTI)
 COMPIAINT: UNRESPONSIVE. (Fri 0c101,201601:17NDTI)
 ASSESSMENT: Assessment: patient with possible overdose, Patient is unconscious, Skin is
    warm, Skin is dry. (07:1sNDT1)
 WEAPONS CHECK: This patient denies earring a weapon. <m:18 NDT1)


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                        Patient care takes precedence over documentation:Time stamps may not reflect time care provided.
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                                                                                                                Efunnuga, Olutokunbo
                                                                                                                DOB: 3/6/1979 M37
MERCY FITZGERALD HOSPITAL                                                                                       Wt/Ht: 90.7 Kg (est.) 170.18 cm.
                                                                                                                MedRec: FOOl 25024 7
ED RECORD                                                                                                       AcctNum: FA1307223089

PROVIDERS: TRIAGE NURSE: Dawn Tierney, RN.(Fn0c107,201607:17NDT1>

KNOWN ALLERGIES
Unable to Obtain

CURRENT MEDICATIONS (Os:2s NJM>
None

PAST MEDICAL HISTORY
MEDICAL HISTORY: Notes: UTA. C07:18NDTIJ
SURGICAL HISTORY: UTA c01:1sNDT1J
PSYCHIATRIC HISTORY: Notes: UTA. C07:18NDT1>
NOTES: Nursing records reviewed, Old chart reviewed, Medication list reviewed. (07:23
 RDMI)



HPIMENTALSTATUSCHANGES
HISTORY OF PRESENT ILLNESS: 37-year-old male presents via EMS unresponsive.
    Patient noted by EMS to be picked up at home where there were numerous aspects of drug
    paraphernalia present including cocaine and marijuana. Patient was given Narcan in route with no
    response. On presentation to the emergency Department patient was intubated. (07:33
 RDMI> CHIEF COMPLAINT: Patient presents for evaluation of unresponsiveness.

 <0?:21 RDMI) HISTORIAN: Additional history obtained from EMS. (07:21 RDMI)

    LOCATION: No localizing symptoms. (07:21 RDMIJ QUAUTY: Patient is alert and
    oriented to person, place and time, Glasgow coma score is 15. (07:21 RDMI) F./M CAVEAT:
      Emergency room caveat invoked due to patient with mental status changes. (07:21 RDMI)

ROS (07:23 RDMI)
NOTES: Emergency room caveat invoked due to patient with mental status changes.

PHYSICAL EXAM(07:23 RDMI)
CONSTITUTIONAL: Vital Signs Reviewed, Patient febrile, hypothermic, Pulse, tachycardic,
   Blood pressure normal, Respiratory rate, artificial, Normal pulse oximetry, Patient appears non
   toxic, Patient appears pain free, Patient, unresponsive, Nursing notes reviewed.
HEAD: Head exam included findings of head atraumatic, normocephalic.
EYES: Pupils not equally round and reactive to light, Left pupil 3 mm in size, Left pupil fixed,
   Right pupil 3 mm in size, Right pupil fixed, Extraocular muscles intact, no nystagmus.
ENT: Pharynx exam normal, Uvula exam normal, Tonsil exam normal, Mouth exam normal,
   mucous membranes moist.
NECK: Neck exam included findings of normal range of motion, Trachea midline.
RESPIRATORY CHEST: Breath sounds clear, No wheezing, Norales, No rhonchi, Chest exam
   included findings of chest movement symmetrical, Chest expansion equal.
CARDIOVASCULAR: Cardiovascular exam included findings of, rate tachycardic, rhythm
   regular, Heart sounds normal, normal Sl, normal S2, no murmurs, no rub, no gallop.
ABDOMEN MALE: Abdominal exam included findings of abdomen nontender, Bowel sounds
   normal, Liver normal, Spleen normal, no distension, no mass, no pulsatile masses, no peritoneal
   signs, Rovsing's sign absent.
BACK: Back exam included findings of normal inspection, no costovertebral angle tenderness.
UPPER EXTREMITY: Upper extremity exam included findings of inspection normal.
LOWER EXTREMITY: Lower extremity exam included findings of inspection normal.
NEURO: Glasgow coma scale, Eye opening: (1) -Absent, Verbal: (1) -Absent, Motor: (1) -
   Absent, GCS Total: 3, no nystagmus.
SKIN: Skin exam included findings of skin warm, dry, and normal in color, no rash.
PSYCHIATRIC: Psychiatric exam included findings of patient oriented to person place and
   time, Normal affect, No suicidal ideations, No homicidal ideations.


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                                                                                                              DOB: 3/6/1979 M37
MERCY FITZGERALD HOSPITAL                                                                                     Wt/Ht: 90.7 Kg (est.) 170.18 cm.
                                                                                                              MedRec: F001250247
ED RECORD                                                                                                     AcctNum: FA1307223089


ORDERS
Accucheck: Ordered for: Halstead,MD (7-3652), Jeffrey
    Status: Done by: Martin, RN, Jennifer - Fri Oct 07, 2016 07:52. (07:18PJH)
ALCOHOL ETHYL ETOH: Ordered for: Halstead,MD (7-3652), Jeffrey
    Status: Done by: System - Fri Oct 07, 2016 08:38. (07:18PJHJ
BASIC METABOLIC PANEL BMP: Ordered for: Halstead,MD (7-3652), Jeffrey
    Status: Done by: System - Fri Oct 07, 2016 08:38. (07:18PJH)
CBC WITH DIFF: Ordered for: Halstead,MD (7-3652), Jeffrey
    Status: Done by: System - Fri Oct 07, 2016 07:51. (07:18PJH)
CR Chest PORTABLE: Ordered for: Halstead,MD (7-3652), Jeffrey
    Status: Active. (07:18 PJH)
CREATINE KINASE CK CPK: Ordered for: Halstead,MD (7-3652), Jeffrey
    Status: Done by: System - Fri Oct 07, 2016 08:38. (07:18PJHJ
CT Brain WO: Ordered for: Halstead,MD (7-3652), Jeffrey
    Status: Active. (07:18 PJH)
DRUG SCREEN URINE: Ordered for: Halstead,MD (7-3652), Jeffrey
    Status: Done by: System - Fri Oct 07, 2016 09:01. (07:18PJH)
Electrocardiogram: Ordered for: Halstead,MD (7-3652), Jeffrey
    Status: Active. (07:18 PJH)
LIVER HEPATIC FUNCTION PANEL: Ordered for: Halstead,MD (7-3652), Jeffrey
    Status: Done by: System - Fri Oct 07, 2016 08:38. (07:18PJH)
MAGNESIUM MG: Ordered for: Halstead,MD (7-3652), Jeffrey
    Status: Done by: System - Fri Oct 07, 2016 08:38. (07:18PJH)
PARTIAL THROMBOPLASTIN TIME: Ordered for: Halstead,MD (7-3652), Jeffrey
    Status: Done by: System - Fri Oct 07, 2016 08:00. (07:18PJH)
PROTHROMBIN TIME PT INR: Ordered for: Halstead,MD (7-3652), Jeffrey
    Status: Done by: System - Fri Oct 07, 2016 08:00. (07:18PJH)
Rectal Temp: Ordered for: Halstead,MD (7-3652), Jeffrey
    Status: Done by: Martin, RN, Jennifer - Fri Oct 07, 2016 07:52. (07: 18 PJH)
TROPONIN T (MMC): Ordered for: Halstead,MD (7-3652), Jeffrey
    Status: Done by: System - Fri Oct 07, 2016 08:32. (07:18PJH)
UR METHAMPHETAMINE: Ordered for: Halstead.MD (7-3652), Jeffrey
    Status: Done by: System - Fri Oct 07, 2016 09:01. <01:18PJH)
EMR VENOUS GAS+ POC PANEL: Ordered for: Halstead,MD (7-3652), Jeffrey
    Status: Done by: System - Fri Oct 07, 2016 07:45. (07:35PJHJ
ARTERIAL BLOOD GAS: Ordered for: Halstead,MD (7-3652), Jeffrey
    Status: Done by: System - Fri Oct 07, 2016 08:43. (08:01 PJH)
MRSA NASAL SCREEN BY PCR: Ordered for: Halstead,MD (7-3652), Jeffrey
    Status: Done by: System - Fri Oct 07, 2016 16:26. (08:39UBM)
Straight Cathfor Urine: Ordered for: Giliberto, Brianne
    Status: Active. (08:49 RBGJ

02SAT INTERPRETATION(07:rtRoM1)
02SAT: Continuous pulse oximetry, Oxygen saturation interpretation: Normal, Intervention
   required: intubation.

EKG INTERPRETATION (07:42 PJH)
MONITOR STRIP: Cardiac monitor strip interpreted by Emergency Department Physician,
  Monitor strip shows sinus tachycardia.

LAB INTERPRETATION (07:42 PJH)
INTERPRETATION: I reviewed the lab results.



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                                                                                                               DOB: 3/6/1979 M37
MERCY FITZGERALD HOSPITAL                                                                                      Wt/Ht: 90.7 Kg (est.) 170.18 cm.
                                                                                                               MedRec: F001250247
ED RECORD                                                                                                      AcctNum: FA1307223089

INTUBATION (07:18 RDMI)
TIME OUT: Timeout performed.
INTUBATION: Side and/or site verified, Patient identification confirmed, Emergent consent
   implied, Intubation indicated for respiratory failure, Intubation indicated to protect the airway, Prior
   to intubation, patient's airway is patent, Prior to intubation, patient's airway maintained with
   nasopharyngeal airway, Prior to intubation, patient being ventilated with bag valve mask, The patient
   was pre-oxygenated, Patient was sedated with, ETOMIDATE, Patient was paralyzed with,
   SUCCINYLCHOLINE, Patient intubated oral-laryngeal, with a 7.5 Endotracheal tube, in 1 attempt,
   Tube visualized through cords, Breath sounds equal after intubation, Qualitative end tidal C02
   reading taken and confirms endotracheal intubation, Post intubation oxygen saturation 100%, There
   were no complications, Chest x-ray ordered to confirm placement, Ventilator Settings: FI02: 100,
   Tidal Volume: 400, PEEP: 5, Respiratory rate: 18, Patient tolerated the procedure well.

DOCTOR NOTES
DOCTORS NOTES: 37 male presents with altered mental status requiring intubation on
  presentation. We'll get CT of the head out of concern for head bleed as well as labs and chest
  x-ray for cause. (07:29 RDMI)
 Spoke with ICU resident regarding all aspects of the case. They are evaluating the patient now.
 (07:44 RDMI)
NOTIFICATIONS: ICU Paged/Notified at: 7:30 AM. co1:29 RDMI)
CRITICAL CARE: Time spent providing critical care to patient was 30-74 minutes, 40
   minutes. (13:40 PJH)
SIGN OUT: pt presented via EMS for unresponsive; intubated upon arrival; cocaine and
   marijuana at the scene; CT head nl; pending labs and ICU admission. co1:40 RBGJ

ATTENDING (07:38 PJH)
ATTENDING: I have personally seen and examined this patient. I have fully participated in the
   care of this patient. I have reviewed all pertinent clinical information, including history, physical
   exam and plan, I was present for key portions of procedure, INTUBATION.
ATTENDING NOTES: EVALUATED AND TREATED ON ARRIVAL. 37 yo unknown hx found
   unresponsive by ems pta. Intubated on arrival to ER. Pt unresponsive, no gag reflex, intubated for
   airway protection. Ems reported cocaine and the at scene. Further hx unobtainable
   PT RECEIVED NARCAN PTA WITH NO EFFECT
   VS NOTED, GEN SEVERE DISTRESS, HRT RRR, LUNG CTA WITH BAGGING, AB SOFT NT, EXT
   NO CCE, HEENT NO SIGN TRAUMA.

DIAGNOSIS (08:13 RBG)
FINAL: PRIMARY: Altered mental status, ADDITIONAL: Respiratory failure.

DISPOSITION
PATIENT: Disposition Type: Inpatient, Disposition: ICU, Condition: Critical. (08:13
 RBG)

 Patient left the department. (09:39 NJM)

NURSING ASSESSMENT: HEAD-TO-TOEcoa:21 NJM)
CONSTITUTIONAL: Complex assessment performed, History obtained from, Patient arrives,
   Unsteady gait, Patient appears, Patient, unresponsive, Patient, unresponsive, Skin warm, Skin dry,
   Skin normal in color, Mucous membranes pink, Mucous membranes moist
NEURO: Pupils equally round and reactive to light, Left pupil 1 mm in size, Right pupil 1 mm in
   size, Able to close eyes, Face symmetrical, GCS:, Eye opening: (1) -Absent, Verbal: (1) -Absent,
   Motor: (1) - Absent, GCS Total: 3.
RESPIRATORY/CHEST: Breath sounds clear, Respiratory assessment findings include
   respiratory effort easy, Respirations regular, Conversing normally, Neck and chest exam fmdings
   include trachea midline, Chest expansion equal, Chest movement symmetrical.


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MERCY FITZGERALD HOSPITAL                                                                                       Wt/Ht: 90.7 Kg (est.) 170.18 cm.
                                                                                                                MedRec: F001250247
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CARDIOVASCULAR: Cardiovascular assessment findings include heart rate, tachycardic,
  Heart rhythm, Heart sounds.
ABDOMEN: Abdomen soft, Bowel sound normal.

NURSING PROCEDURE: ADMISSION
ADMISSION: Report called to, Maryann, Acuity level critical, Transported via cart/stretcher,
   Accompanied by registered nurse, Accompanied by respiratory therapist, Transported with
   monitor, Transported with oxygen, Transported with IV fluids. (08:33 NJM)
 Report called to, Mary Ann, Provided opportunity to answer questions, Admission orders
   received and completed, Transported with monitor, Transported with oxygen, Transported with IV
   fluids. c09:00 NJM)
NOTIFICATION: The patient is unable to answer due to their current condition., The patient is
   unable to request family notification, The patient's family member was not notified, number not
   avaiable, The patient is unable to notify their primary care physician due to their current condition,
   The patient is unable to request primary care physician notification due to their current condition.,
   Yes, the ED provider was notified of the patient request to contact their PCP about their admission
   to the hospital. (08:33 NJM)
SAFETY: Side rails up, Cart/Stretcher in lowest position, Call light within reach, Hospital ID
   band on. cos:33 NJM)
 Side rails up, Cart/Stretcher in lowest position, Call light within reach, Hospital ID band on.
 (09:00 NJM)

NURSING PROCEDURE: BELONGINGS
PATIENT !DENT/FER: Patient's identity verified by EMS/police officer. (07:25NDTI)
 Patient's identity verified by hospital ID bracelet. (07:47 NJM)
BELONGINGS: Belongings and valuables with patient upon arrival to the Emergency
   Department include:, belt, Description black, pants, Description Blue jeans, shoes, Description
   white with red and black trim sneakers, wallet, Description black, Notes: Shirts were cut off.
 (07:25 NDTI)
 Belongings and valuables with patient upon arrival to the Emergency Department include:, shirt,
   cellular phone, wallet, Belongings and valuables inventoried by: Melissa, Inventory witnessed by:
   JMARTIN, Notes: watch and wallet placed in sneakers. Pt has no cash in wallet, but has credit
   cards. (07:47 NJM)
SAFETY: Side rails up, Cart/Stretcher in lowest position, Call light within reach, Hospital ID
   band on. (07:25 NDT1 >
 Side rails up, Cart/Stretcher in lowest position, Call light within reach, Hospital ID band on.
 (07:47 NJM)

NURSING PROCEDURE: CARDIAC MONIT0Rc07:19NDT1>
PATIENT IDENTIFIER: Patient's identity verified by EMS/police officer.
CARDIAC MONITOR: Cardiac monitoring indicated for possible overdose, Patient placed on
   cardiac monitor, Patient placed on non-invasive blood pressure monitor, Patient placed on
   continuous pulse oximetry.
SAFETY: Side rails up, Cart/Stretcher in lowest position, Call light within reach, Hospital ID
   band on.

NURSING PROCEDURE: INTUBATION (07:21 NDTI)
PATIENT IDENTIFIER: Patient's identity verified by EMS/police officer.
INTUBA110N: Intubation indicated for patient unable to maintain airway, Prior to intubation
   oxygen saturation 100%, via ambu bag, Prior to intubation breath sounds clear, Patient intubated
   orally, Intubated by Dr. Mirsch, using a 7.5 mm endotracheal tube, in one attempts, Number at the lip
   (cm) 24, Yankauer suction at head of bed, Patient suctioned during intubation, Cricoid pressure
   used during intubation, Ventilated with Ambu bag post intubation, Endotracheal tube secured, with
   tube holder, Breath sounds heard bilaterally, no gurgling over abdomen, Positive carbon dioxide


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MERCY FITZGERALD HOSPITAL                                                                                       WtlHt: 90.7 Kg (est.) 170.18 cm.
                                                                                                                MedRec:F001250247
ED RECORD                                                                                                       AcctNum: FA1307223089

   by detector, Chest x-ray ordered to confirm placement, Chest x-ray completed and placement
   confirmed.
FOLLOW-UP: Post intubation oxygen saturation 100%, After intubation, patient placed on
   ventilator with settings: F102 100, Tidal Volume: 400, PEEP: 5, Respiratory rate: 18.
SAFETY: Side rails up, Cart/Stretcher in lowest position, Call light within reach, Hospital ID
   band on.

NURSING PROCEDURE: IV
PATIENT IDENITIFIER: Patient's identity verified by EMS/police officer. (07:19NDTll
IV SITE 1: IV therapy indicated for hydration, IV therapy indicated for medication administration,
    IV established, to the left antecubital, using an 18 gauge catheter, in one attempt, Saline lock
    established, Labs drawn at time of placement, labeled in the presence of the patient and sent to
    lab. (07:19 NDTI)
IV SITE 2: IV therapy indicated for hydration, IV therapy indicated for medication
    administration, IV established, to the right antecubital, using a 20 gauge catheter, in one attempt,
    Saline lock established, Labs drawn at time of placement, labeled in the presence of the patient and
    sent to lab. (07:20 Nur1 >
SAFETY: Side rails up, Cart/Stretcher in lowest position, Call light within reach, Hospital ID
    band on. (07:19NDT1>

NURSING PROCEDURE: TRANSPORT TO TESTS (07:24 NJM>
PATIENT IDENTIFIER: Patient's identity verified by hospital ID bracelet.
TRANSPORT TO TESTS: Patient transported to CT scan, Accompanied by nurse.
FOLLOW-UP: After procedure, patient returned to emergency department.
SAFETY: Side rails up, Cart/Stretcher in lowest position, Call light within reach, Hospital ID
   band on.

MEDICATION ADMINISTRATION SUMMARY

Dru2Name                              Dose Ordered         Route       Status     Time
etomidate                             20MG                 IV Push     Given      07:2410n/2016
Normal Saline                         1000ML               IV Fluids   Given      07:23 10n/2016
succinylcholine chloride injection    120MG                IV Push     Given      07:1710n/2016

Detailed record available in Medication Service section.

MEDICATION SERVICE
etomidate: Order: etomidate - Dose: 20 MG : IV Push
   Ordered by: Jeffrey Halstead,MD (7-3652)
   Entered by: Jeffrey Halstead.MD (7-3652) Fri Oct 07, 201607:19
   Documented as given by: Dawn Tierney, RN Fri Oct 07, 2016 07:24
   Patient, Medication, Dose, Route and Time verified prior to administration.
    IV SITE# 1 into left antecubital, IV SITE # 1 IVP, subsequent different medication, Slowly, Connections
   checked prior to administration, Line traced prior to administration, Catheter placement confirmed
   via flush prior to administration, IV site without signs or symptoms of infiltration during medication
   administration, No swelling during administration, No drainage during administration, IV flushed after
   administration, Correct patient, time, route, dose and medication confirmed prior to administration,
   Allergies confirmed and medications reviewed prior to administration, Patient in position of comfort,
   Side rails up, Cart in lowest position, Family at bedside, Call light in reach.
Normal Saline: Order: Normal Saline (0.9 % sodium chloride) - Dose: 1000 ML: IV
   Fluids
   Ordered by: Jeffrey Halstead,MD (7-3652)
   Entered by: Jeffrey Halstead,MD (7-3652) Fri Oct 07, 2016 07:20
   Documented as given by: Dawn Tierney, RN Fri Oct 07, 2016 07:23
   Patient, Medication, Dose, Route and Time verified prior to administration.


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                                                                                                                 DOB: 3/6/1979 M37
MERCY FITZGERALD HOSPITAL                                                                                        Wt/Ht: 90.7 Kg (est.) 170.18 cm.
                                                                                                                 MedRec: FOOl 25024 7
ED RECORD                                                                                                        AcctNum: FA1307223089

    IV SITE #1 into left antecubital, IV SITE #1 IV fluids established, IV SITE #1 1st bag hung, amount 1
   Liter, via primary tubing, Connections checked prior to administration, Line traced prior to
   administration, Catheter placement confirmed via flush prior to administration, IV site without signs
   or symptoms of infiltration during medication administration, No swelling during administration, No
   drainage during administration, IV flushed after administration, Correct patient, time, route, dose
   and medication confirmed prior to administration, Allergies confirmed and medications reviewed
   prior to administration, Patient in position of comfort, Side rails up, Cart in lowest position, Call light
   in reach.
succinylcholine chloride injection: Order: succinylcholine chloride injection
   (succinylcholine chloride) - Dose: 120 MG: IV Push
   Ordered by: Jeffrey Halstead,MD (7-3652)
   Entered by: Jeffrey Halstead,MD (7-3652) Fri Oct 07, 2016 07:19
   Documented as given by: Dawn Tierney, RN Fri Oct 07, 2016 07: 17
   Patient, Medication, Dose, Route and Time verified prior to administration.
    IV SITE #1 into left antecubital, IV SITE #1 IVP, initial medication, Slowly, Patient in position of comfort,
   Side rails up, Cart in lowest position, Call light in reach.

PRESCRIPTION
 No recorded prescriptions

EVENTS
A1TENDING: Patient care initiated. (07:17 PJH)
RESIDENT: Patient care initiated. (07:42 RBG)
TRANSFER: Triage to Emergency Emergency Department 06.(Fn0c101,201601:11
 NDTI)

 Emergency Emergency Department 06 to Admission (Hold Bed). (08:47 RBG)
 Removed from Emergency Emergency Department 06. (09:39 NJM)

RESULTS
RADIOLOGY: CTBRAINWO Observe DT: Fri Oct 07, 2016 08: 13,
   Mercy Fitzgerald Hospital   David P Mayer, MD,MS,FACR, Chairman Fraser Brown, MD
  Caroline Ling, MD
  Mercy Health System     Oleg Teytelboym, MD, Radiology Director Stanley Chan, MD Justin
  Mackey, MD
  Department of Radiology     Gerard Berry, MD Malgorzata Goralczyk, MD Scott Rotenberg,
  MD
   1500 Lansdowne A venue     Robert Borden, MD Laryssa Hud, MD Salmi Simmons, MD
  Darby, PA 19023      Michael Brooks, MD, JD
  610-237-4358
  Patient: EFUNNUGA,OLUTOKUNBO Acct#: FA1307223089 Exam Date: 10/07/16
  Med Rec#: F001250247 Order#: 1007-0017 Status: REG ER
  Date of Birth: 03/06/1979 Gender: M Accession#: 970624.001 Location:
  Phone#: (000)000-0000 Report#: 1007-0006 RAD#:
  Ordering Physician: HALSTEAD,JEFFREY E MD
  CC:                   DOCTOR,NONE (FAMILY); HALSTEAD,JEFFREY E MD \R\
  Order Date:           10/07/16
  Procedure Reason: ams
  Exam: CT Brain WO
  *** Signed Status ***
  IMPRESSION: 1. No intracranial hemorrhage or acute infarct.
  INDICATION: 37 years old; Male. Symptom/Location/Duration: Altered mental status
  TECHNIQUE: Unenhanced CT of the head with axial, coronal, sagittal reformats. Comparison: None
  FINDINGS:
  POSTOPERATIVE CHANGES: None.


         Prepared: Sat Oct 08, 2016 20:53 by Interface                                                                               Page: 7of14
                        Patient care talces precedence over documentation:Time stamps may not reflect time care provided.
                   Case 2:18-cv-00924-PD                       Document 15-8                 Filed 05/03/18              Page 8 of 186
                                                                                                                   Efunnuga, Olutokunbo
                                                                                                                   DOB: 3/6/1979 M37
MERCY FITZGERALD HOSPITAL                                                                                          Wt/Ht: 90.7 Kg (est.) 170.18 cm.
                                                                                                                   MedRec:F001250247
ED RECORD                                                                                                          AcctNum: FA1307223089

      BRAIN VOLUME: Nonnal volume for age.
      ACUTE INFARCT: No focal hypodensity to suggest acute infarct.
      CHRONIC INFARCT: None.
      MASS LESIONS: None.
      WHITE MATIER: White matter is within normal limits.
      HEMORRHAGE: No intracranial hemorrhage.
      VASCULATURE: No hyperdense vascular thrombus. No calcified intracranial plaque.
      MSK: No fractures or soft tissue swelling.
      SINUSES/MASTOIDS: Visualized paranasal sinuses are clear. Mastoid air cells are clear. Fluid
      in the nasal cavity and nasopharyngeal airway is presumably related to endotracheal intubation.
      OTHER None.
      Thank you for choosing Mercy Health System
      <Electronically signed by FRASER H BROWN, MD in OV> e-Sign Pager: (610)221-1965
      Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine
      Interpreting: BROWN, FRASER H MD            Dictated: 10/07116 0813 Signoff: 10/07/16 0814. cos:39
   PJH)

  Radiology Result Observe DT: Fri Oct 07, 2016 09:01,
     Mercy Fitzgerald Hospital
    History \1\ Physical
    PATIENT: EFUNNUGA,OLUTOKUNBO                 MR#: F001250247
    ACCT: FA1307223089         ADMIT DATE: 10/07/16
    REPORT#: 1007-0125                       DOB: 03/06/1979
    ROOM/BED: ER006-1
    SEX:M
    ATTENDING: RATHER,MANZOOR A, MD
    PCP: DOCTOR,NONE (FAMILY)
    *** Draft Status ***
    History of Present Illness
    Encounter Date \1\ Time
    1017116 09:01
    Primary Care Physician
    Doctor,None (FAMILY)
    Attending Physician
    Rather,Manzoor A,MD
    Past Medical History
    Allergies
    Coded Allergies:
    Unable to Assess (Unverified, 1017/16)
    Physical Exam
    Vital Signs, Last Documented
    Date Time Temp Pulse Resp B/P Pulse Ox 02 Delivery 02 Flow Rate Fi02
    1017116 07:20 18 100
    Weight in Kg
    Bedside Blood Glucose
    1017116 07:07: POC Glucose 109
    Results
    Lab Results, CBC Diagram
    1017116 07:32
    Lab Results, BMP Diagram
    1017116 07:32
    BORIKAR,MADHURA S MD Oct 7, 2016 09:01
    BORIMA/ MB /DD 10/07/16 0901/DT10/07/16 0901. C09:14Pm>
 (07:31 Pili)
I Measurement                                                   IResult                    IUnits     IRange      IS

            Prepared: Sat Oct 08, 2016 20:53 by Interface                                                                              Page: 8of14
                           Patient care takes precedence over documentation:Time stamps may not reflect time care provided.
                 Case 2:18-cv-00924-PD                        Document 15-8                  Filed 05/03/18                     Page 9 of 186
                                                                                                                         Efunnuga, Olutokunbo
                                                                                                                         DOB: 3/6/1979 M37
MERCY FITZGERALD HOSPITAL                                                                                                Wt/Ht: 90.7 Kg (est.) 170.18 cm.
                                                                                                                         MedRec: F001250247
ED RECORD                                                                                                                AcctNum: FA1307223089

POCT GLUCOSE Collection DT: Fri Oct 07, 2016 07:25
POCT GLUCOSE                                                    109                                         70-99       F

  (07:55 PJH)
Measurement                                                               Result                      Units            Rani?e               s
CBC AND DIFF; MAN IF INDICATED Collection DT: Fri Oct 07,
2016 07:32
WHITE BLOOD COUNT                                                       7.6                           ThouiuL          4.5-11.0             F
RED BLOOD COUNT                                                         4.76                          Mill/UI          4.70-6.10            F
HEMOGLOBIN                                                              16.3                          1!/dL            13.5-17.5            F
HEMATOCRIT                                                              46.7                          %                41.0-53.0            F
MEAN CORPUSCULAR VOLUME                                                 98.1                          fL               80-100               F
MEAN CORPUSCULAR HEMOGLOBIN                                             34.2                         ID!!              28.4-32.0            F
MEAN CORPUSCULAR HGB CONC                                               34.9                         ll!ldL            32.6-34.8            F
RED CELL DISTRIBUTION WIDTH                                             13.6                          %                11.5-14.5            F
PLATELET COUNT                                                          184                           THOU/UL          150-450              F
MEAN PLATELET VOLUME                                                    9.4                           fL               7.4-10.4             F
NEUTROPHILS %                                                           77.0                          %                42.0-75.0            F
LYMPH%                                                                  16.2                          %                18.0-44.0            F
MONO%                                                                   6.1                           %                0.0-18.0             F
EOS%                                                                    0.4                           %                0.0-5.0              F
BAS0%                                                                   0.3                           %                0.0-2.0              F
NEUTROPHILS #                                                           5.9                           ThouiuL          1.8-8.0              F
LYMPH#                                                                  1.2                           ThouiuL          1.2-4.2              F
MONO#                                                                   0.5                           ThouiuL          0.0-1.0              F
EOS#                                                                    0.0                           Thou/uL          0.0-0.7              F
BASO#                                                                   0.0                           ThouiuL          0.0-0.5              F

  (08:01 PJH)
Measurement                                                                    Result                         Units             Ranl?e          s
PARTIAL THROMBOPLASTIN TIME Collection OT: Fri Oct 07, 2016
07:32
See comment below
List the anticoagulant: N
PARTIAL THROMBOPLASTIN TIME                                                    31.0                           SECONDS           24.0-39.0       F

  (08:01 PJH)
Measurement                                          Result                        Units      IRan!!e           s
PT INR Collection DT: Fri Oct 07, 2016 07:32
See comment below
List the anticoagulant: N
PROTHROMBIN TIME                                     14.1                          SECONDS     11.3-15.3 F
INR                                                  1.2                                       0.8-1.2   F
  (08:11 PJH)
Measurement                                                      Result                      Units          Ran2e               s
URINALYSIS POC Collection OT: Fri Oct 07, 2016 08:08
GLUCOSE URINE POC                                                NEGATIVE                    ml!/dL         NEGATIVE            F
BILIRUBIN URINE POC                                              NEGATIVE                                   NEGATIVE            F
KETONE URINE pOC                                                 NEGATIVE                    mg/dL          NEGATIVE            F
SPECIFIC GRAVITY URINE p0C                                       1.015                                      1.005-1.030         F
BLOOD URINE POC                                                  NEGATIVE                                   NEGATIVE            F
PH URINEPOC                                                      5.5                                        5.0-9.0             F
PROTEIN URINE POC                                                NEGATIVE                    ml!ldL         NEGATIVE            F
UROBILINOGEN, URINE POC                                          0.2                         E.U./dL        0.1-2.0             F
NITRITE URINE POC                                                NEGATIVE                                   NEGATIVE            F
LEUKOCYTE ESTERASE, URINE POC                                    NEGATIVE                                   NEGATIVE            F
  (08:39PJH)

Measurement                                                               Result                      Units           Rane          s
ALCOHOL EfHYL EfOH Collection DT: Fri Oct 07 2016 07:32



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                Case 2:18-cv-00924-PD                        Document 15-8                  Filed 05/03/18                         Page 10 of 186
                                                                                                                               Efunnuga, Olutokunbo
                                                                                                                               DOB: 3/6/1979 M37
MERCY FITZGERALD HOSPITAL                                                                                                      Wt/Ht: 90.7 Kg (est.) 170.18 cm.
                                                                                                                               MedRec: F001250247
ED RECORD                                                                                                                      AcctNum: FA1307223089

See comment below
NEXTGEN PT ID ADD ON
ALCOHOL ETHYL ETOH                                                       51                             m2'dL        <10                  F
For Medical Managment onlv
Imoairment:          50-1()()
Depression of CNS: >100
Fatalities reo.>rted: >400

  (08:39 PJH)
Measurement                                                   Result                       Units        Ran2e         s
TROPONIN T Collection DT: Fri Oct 07 2016 07:32
See comment below
NEXTGEN PT ID ADD ON
TROPONINT                                                     <= O.Dl                      ni!lmL       <0.04         F
Troponin levels 11:reater than or equal to 0.04 ni!lml are
indicative of mvocardial iniurv.
  (08;39 PJH)
Measurement                                                            I Result                     IUnits       I Ralll!e            Is
CREATINE KINASE CK Collection DT: Fri Oct 07 2016 07:32                I                            I            I                    I
See comment below
NEXTGEN PT ID ADD ON                                                   I                            I            I                    I
CREATINE KJNASE CK                                                     1392                         lu11..       132-230              IF
  (08:39 PJH)
Measurement                                                                       Result                     Units              Ranl!e            s
LIVER HEPATIC FUNCTION PANEL Collection DT: Fri Oct 07, 2016
07:32
See comment below
NEXTGEN PT ID ADD ON
TOTAL PROTEIN TP                                                                  8.4                        om/di..            6.3-8.2           F
Reference range is based on ambulatory population.
A decrease of approximately 0.5 gram is observed
in hospitalized patients.
ALBUMIN                                                                           4.0                        l!lll/dL           4.1-5.4           F
GLOBULIN                                                                          4.4                        2/'dL              2.3-3.5           F
ALBUMIN/GLOBULIN RATIO                                                            1.0                                           0.74-3.85         F
BILIRUBIN TOTAL                                                                   0.5                        mg/dL              0.2-1.2           F
BILIRUBIN DIRECT                                                                  <0.2                       mg/dL              0-0.3             F
ASTSGOT                                                                           26                         U/L                14-51             F
ALTSGPT                                                                           20                         U/L                7-60              F
ALKALINE PHOSPHATASE                                                              55                         U/L                42-157            F
  (08:39 PJH)
Measurement                                                    !Result                     !Units       !Range            Is
MAGNESIUM MG Collection DT: Fri Oct 07, 2016 07:32             I                           I             I              I
See comment below
NEXTGEN PT ID ADD ON                                           I                           I            I               I
MAGNESIUM MG                                                   12.4                        lmi!ldL      11.8-2.4        IF
  (08:39 PJH)
Measurement                                                                Result                        Units                 RaD2e          s
BASIC METABOLIC PANEL BMP Collection DT: Fri Oct 07, 2016
07:32
See comment below
NEXTGEN PT ID ADD ON
GLUCOSE                                                                    109                           IIDl!/dL              70-99          F
Impaired Fasting Glucose: 100-125 mg/dL
Fastin11: Glu Assoc w Diabetes:> 125 m11:/dL
BLOOD UREA NITROGEN                                                        14                            mg/dL                 6-22           F
CREATININE                                                                 1.8                           1T10/dL               0.8-1.4        F



          Prepared: Sat Oct 08, 2016 20:53 by Interface                                                                                               Page: 10of14
                         Patient care takes precedence over documentation:Time stamps may not reflect time care provided.
                Case 2:18-cv-00924-PD                        Document 15-8                Filed 05/03/18                   Page 11 of 186
                                                                                                                     Efunnuga, Olutokunbo
                                                                                                                     DOB: 3/6/1979 M37
MERCY FITZGERALD HOSPITAL                                                                                            Wt!Ht: 90.7 Kg (est.) 170.18 cm.
                                                                                                                     MedRec:F001250247
ED RECORD                                                                                                            AcctNum: FA1307223089

GLOMERULAR FILTRATION RA TE                                               43                         ml.hnin         >60            F
GLOMERULAR FILTRATION RATE AA                                             52                         ml./min/l       >60            F
The calculation of eGFR is based on the IDMS traceable
MDRD formula and is not valid in patients vounger than 18 or
older than 70.Exceotional dietarv intake. muscle mass
abnormalities raDidlv chancing renal function,
drug induced inhibition of creatinine secretion. and
orernancv invalidate results. The calculation has not been
validated in a normal popnlation.
BUN/CREATININE RATIO                                                      8.0                                        7-23           F
SODIUM NA                                                                 136                        mEa/L           136-147        F
POTASSIUM K                                                               3.8                        mEQ/L           3.6-5.2        F
CHLORIDE CL                                                               98                         mmol/L          98-108         F
CARBON DIOXIDE C02                                                        24                         mmol/L          23-32          F
ANION GAP, CALC                                                           14.0                                       6.0-16         F
CALCIUM                                                                   9.0                        mg/dL           8.8-10.5       F

  (08:48 RBG)

Measurement                                                             Result                     Units      Ran2e                 s
ARTERIAL BLOOD GAS Collection DT: Fri Oct 07, 2016 08:42
See comment below
Reason for Exam: R
Patient Temp                                                            98.6                                                        F
ARTERIAL BLOOD GAS oH                                                   7.31                                  7.35-7.45             F
ART BLD PARTIAL PRESSURE C02                                            50.7                       rnrnH2     35.0-45.0             F
ART BLD PARTIAL PRESSURE 02                                             482                        mmHI!.     83-108                F
ABG Ph TEMP CORR                                                        7.31                                  7.35-7.45             F
ABG PC02 TEMP CORR                                                      50.7                                  35.0-45.0             F
ABG P02 TEMP CORR                                                       482                                   83-108                F
ARTERIAL BLOOD GAS HC03                                                 25.4                       mmol/L     21-28                 F
ARTERIAL BLOOD GAS BASE EXCESS                                          -1.3                       mmol/L     -2-2                  F
% SAT MEASURED (ABG)                                                    99.4                       %          95-98                 F
ARTERIAL BLOOD GAS FI02                                                 100.0                      %                                F
ARTERIAL BLD GAS TIDAL VOLUME                                           400                        mL                               F
ARTERIAL BLOOD GAS PEEP                                                 5.0                        cmH20                            F
02 DEVICE PRIMARY                                                       I NA                                                        F
MECHANICAL VENT SETTINGS                                                18                         born                             F

  (09:14 PJH)

Measurement                                                    Result                     Units      Ran2e       s
POCT GLUCOSE Collection DT: Fri Oct 07 2016 09:09
POCT GLUCOSE                                                   82                         mg/dL      70-99       F
  (O!U4 PJH)

Measurement                                                      Result                    Units      Ran2e            s
UR METHAMPHET Collection DT: Fri Oct 07, 201608:16
UR METHAMPHET                                                    NEGATIVE                             NEGATIVE         F
Screeninl! test onlv. Result is presumptive.
Cutoff concentration for a oositive result is 1000 nl!lmL.

  (09:14 PJH)

Measurement                                                           Result                      Units     Ran2e               s
DRUG SCREEN URINE Collection DT: Fri Oct 07 2016 08:16
AMPHETAMINE URINE SCREEN                                              NEGATIVE                              NEGATIVE            F
BARBITURATES URINE SCREEN                                             NEGATIVE                              NEGATIVE            F
BENZODIAZEPINES URINE SCREEN                                          NEGATIVE                              NEGATIVE            F
COCAINE URINE SCREEN                                                 POSITIVE                               NEGATIVE            F
URINEMETH                                                             NEGATIVE                              NEGATIVE            F
OPIATES URINE SCREEN                                                  NEGATIVE                              NEGATIVE            F
PCP URINE SCREEN                                                      NEGATIVE                              NEGATIVE            F
THC (MARIJUANA) URINE SCREEN                                         POSITIVE                               NEGATIVE            F


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                         Patient care takes precedence over documentation:Time stamps may not reflect time care provided.
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                                                                                                                             Efunnuga, Olutokunbo
                                                                                                                             DOB: 3/6/1979 M37
MERCY FITZGERALD HOSPITAL                                                                                                    Wt/Ht: 90.7 Kg (est.) 170.18 cm.
                                                                                                                             MedRec: FOOl 25024 7
ED RECORD                                                                                                                    AcctNum: FA1307223089

 PROPOXYPHENE, URINE                                                        NEGATIVE                              NEGATIVE                 F
 TCA URINE SCREEN                                                           POSITIVE                              NEGATIVE                 F
 False oositive results mav occur when the oatient is takinl!:
 quetiapjne chlomromazine. cvclobenzaorine thioridazine
 diphenhvdramine orohenadrine citrate, and cyproheptadine.
 Screeninl!: test onlv. Result is oresumptive.
 Cutoff concentration for a oositive result is:
 Amphetamines            lOOOng/mL
 Benzodiazeoines          300 ng/mL
 Cocaine             300nillmL
 Cannabinoids (THC)         50 ng/mL
 Oniates             300 ng/mL
 Tricvclics          300ng/mL
 Phencyclidine (PCP) 25 ng/mL
 Barbiturates         200 ng/mL
 Methadone             300ng/mL
 PropQxyphene            300ng/mL
 URINE OXYCODONE                                                            NEGATIVE                              NEGATIVE                 F
 Screening test only. Result is oresumotive.
 Cutoff concentration for a oositive result is 100 nillmL.

   (0'):14 PIH)

 Measurement                                                                 Result                      Units         Ran2e           s
 ALCOHOL ETHYL EIOH Collection DT: Fri Oct 07, 2016 07:32
 See comment below
 NEXTGEN PT ID ADD ON
 ALCOHOL ETHYL ETOB                                                          51                          ml!/dL        <10             F
 For Medical Mana2rnent onlv
 Imoairment:         50-100
 De.,,.,.ssion of CNS: >100
 Fatalities reoorted: >400

   (0'):14 PIH)

 Measurement                                                           Result                   Units         Ran2e            s
 SALICYLATE LEVEL Collection DT: Fri Oct 07 2016 07:32
 See comment below
 NEXTGEN PT ID ADD ON
 SALICYLATE LEVEL                                                      < 0.3                    mi!:/dL       0.0-44.0         F
 Salicvlates Interpretation
 antinvretic, anal2esic: 2.0-10.0 mg/dL
 anti-inflammatorv:       10.0-25.0 milldL
 toxic:              >30.0 mg/dL
   (0'):14 PIH)

 Measurement                                                      Result                    Units        Ran2e         s
 TROPONIN T Collection DT: Fri Oct 07 2016 07:32
 See comment below
 NEXTGEN PT ID ADD ON
 TROPONINT                                                        <= o.oi                   nillmL       <0.04         F
 Troponin levels ITTeater than or equal to 0.04 nillml are
 indicative of myocardial iniurv.

   (0'):14 PIH)

 Measurement                                                               !Result                   !Units       IRaJ12e          Is
 CREATINE KINASE CK Collection DT: Fri Oct 07 2016 07:32                   I                         I            I                I
 See comment below
 NEXTGEN PT ID ADD ON                                                      I                         I            I                I
 CREATINE KINASE CK                                                        1392                      lu/L         132-230          IF
   (0'):14 PIH)

I Measurement                                                                     IResult                     luruts         IRange            Is

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                                                                                                                        Efunnuga, Olutokunbo
                                                                                                                        DOB: 3/6/1979 M37
MERCY FITZGERALD HOSPITAL                                                                                               Wt/Ht: 90.7 Kg (est.) 170.18 cm.
                                                                                                                        MedRec: F001250247
ED RECORD                                                                                                               AcctNum: FA1307223089

LIVER HEPATIC FUNCTION PANEL Collection DT: Fri Oct 07, 2016
07:32
See comment below
NEXTGEN PT ID ADD ON
TOTAL PROTEIN TP                                                                8.4                    I smi/dL          6.3--8.2        F
Reference ram!:e is based on ambulatorv population.
A decrease of aooro)(imatelv 0.5 l!Tam is observed
in hospitalized patients.
ALBUMIN                                                                         4.0                     IJITl/dL         4.1-5.4         F
GLOBULIN                                                                        4.4                    I!!ldL            2.3-3.5         F
ALBUMIN/GLOBULIN RATIO                                                          1.0                                      0.74-3.85       F
BILIRUBIN TOT AL                                                                0.5                     m11:/dL          0.2-1.2         F
BILIRUBIN DIRECT                                                                <0.2                    m11:/dL          0-0.3           F
ASTSGOT                                                                         26                      U/L              14-51           F
ALTSGPT                                                                         20                      U/L              7-60            F
ALKALINE PHOSPHATASE                                                            55                      U/L              42-157          F

  (09:14 PJH)

Measurement                                                    I Result                  !Units    IRan11e         Is
MAGNESIUM MG Collection DT: Fri Oct 07, 2016 07:32             I                         I         I               I
See comment below
NEXTGEN PT ID ADD ON                                           I                         I         I               I
MAGNESIUM MG                                                   12.4                      lmg/dL    11.8-2.4        IF
  (09:14 PJH)

Measurement                                                               Result                    Units               Range        s
BASIC METABOLIC PANEL BMP Collection DT: Fri Oct 07, 2016
07:32
See comment below
NEXTGEN PT ID ADD ON
GLUCOSE                                                                   109                       mi:/dL              70-99        F
Impaired Fasting Glucose: 100-125 mJ!:/dL
Fastinl!: Glu Assoc w Diabetes:>125 mi;r/dL
BLOOD UREA NITROGEN                                                       14                        m11:/dL             6-22         F
CREATININE                                                                1.8                       ml!/dL              0.8-lA       F
GLOMERULAR FILTRATION RA TE                                               43                        mL/min              >60          F
GLOMERULAR FILTRATION RA TE AA                                            52                        mL/min/1            >60          F
The calculation of eGFR is based on the IDMS traceable
MDRD formula and is not valid in patients younger than 18 or
older than 70.E"ceptional dietarv intake muscle mass
abnormalities raoidlv chanl!:ini? renal function,
drug induced inhibition of creatinine secretion and
pregnancy invalidate results. The calculation has not been
validated in a normal population.
BUN/CREATININE RATIO                                                      8.0                                           7-23         F
SODIUM NA                                                                 136                       mEq/L               136-147      F
P0TASSIUM K                                                               3.8                       mEQ/L               3.6-5.2      F
CHLORIDE CL                                                               98                        mmol/L              98-108       F
CARBON DIOXIDE C02                                                        24                        mmol/L              23-32        F
ANION GAP, CALC                                                           14.0                                          6.0-16       F
CALCIUM                                                                   9.0                       mg/dL               8.8-10.5     F


ADMISSION REQUEST
ENTRY: Disposition Type: Inpatient
   Disposition: ICU
   Condition: Critical
   PCP Doctor: None Doctor
   Disposition Status: ICU
   Admitting Doctor: Rather

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                                                                                                               Efunnuga, Olutokunbo
                                                                                                               DOB: 3/6/1979 M37
MERCY FITZGERALD HOSPITAL                                                                                      Wt/Ht: 90.7 Kg (est.) 170.18 cm.
                                                                                                               MedRec: FOOl 25024 7
ED RECORD                                                                                                      AcctNum: FA1307223089

    PCP Admission Notification: Via Autofax
    Candidate for EAU (Inpatient status only)?: No
    Candidate for Observation (Observation status only)?: No
    Notify Nursing Supervisor of Admission: 6102215947@usamobility.net
   PRIMARY: Altered mental status, ADDITIONAL: Respiratory failure. co8:13RBGJ
UPDATE: Admitting Doctor: Littman. (08:23 RBGJ
 Admit Room: 506
    Admit Area: 5 Pav
    Bed Status: Bed Ready. (08:27 SJS)
 Admitting Doctor: Hamid. co8:47 RBG)
 Isolation: None
    Is Patient a Fall Risk?: No. (09:03UBMl

ADMIN
DIGITAL SIGNATURE: Mirsch, Daniel. (07:45 RDMI)
 Martin, RN, Jennifer. (09:02 NJMJ
 Halstead,MD (7-3652), Jeffrey. (13:40 PJHJ
 Giliberto, Brianne. csa10c108, 2016 20:49 RBGJ

IMAGING
PRELIMINARY RADIOLOGY REPORT: Page 1 added. Image captured from scanners.
 (07:41 UBM)

EKG: Page 1 added. Image captured from scanners. (08:35 uBMl

Key:
 NDT1=Tierney, RN, Dawn NJM=Martin, RN, Jennifer PJH=Halstead,MD (7-3652), Jeffrey RBG=Giliberto, Brianne
 RDMI=Mirsch, Daniel SJS=Sennett, Jane UBM=Moseley, Brian




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                       Patient care takes precedence over documentation:Time stamps may not reflect time care provided.
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                                Mercy Fitzgerald Hospital
                                      Mercy Health System
                                 Department of Cardiology
Patient: EFUNNUGA,OLUTOKUNBO
MR#      F001250247
Acct# FA1307223089         DOB: 03/06/1979                          Sex: M
Phone # (000)000-0000      Exam Date: 10/08/16                      Status: ADM IN
Order# 1008-0046           Report #1010-0098

Ordering Physician: BORIKAR, MADHURA S MD
CC:-

Procedure Reason: ARRHYTHMIA
Study: Electrocardiogram
Order Date/Time: 10/08/16 1056

                                  * * *Signed Status***
Date of Procedure:
Test Reason : ARRHY
Blood Pressure : ***/*** mmHG
Vent. Rate : 087 BPM    Atrial Rate : 087 BPM
  P-R Int : 168 ms       QRS Dur : 112 ms
   QT Int : 322 ms     P-R-T Axes : 089 067 -25 degrees
  QTc Int : 387 ms
Normal sinus rhythm
Nonspecific ST and T wave abnormality
Abnormal ECG
When compared with ECG of 07-0CT-2016 17:55,
No significant change was found
Confirmed by LEONARDI, MD, MARINO (2251) on 10/10/2016 7:18:48 PM
Referred By: JEFFREY HALSTEAD           Confirmed By: MARINO LEONARDI, MD


                            <Electronically signed by MARINO LEONARDI, MD in OV>

                            LEONARDI,MARINO MD                   10/10/16

DT: 10/10/16 1918
                                                JOB: 1010-0098




                                 MERCY FITZGERALD HOSPITAL
                         LANSDOWNE AVE BAILEY RD DARBY, PA 19023
                        Reports: (610) 237-5003 Scheduling: (610) 237-2525
             Case 2:18-cv-00924-PD     Document 15-8             Filed 05/03/18      Page 16 of 186



                                 Mercy Fitzgerald Hospital
                                     Mercy Health System
                                  Department of Cardiology
Patient: EFUNNUGA,OLUTOKUNBO
MR#      F001250247
Acct# FA1307223089         DOB: 03/06/1979                          Sex: M
Phone# (000)000-0000       Exam Date: 10/07/16                      Status: ADM IN
Order# 1007-0021           Report #1010-0115

Ordering Physician: HALSTEAD, JEFFREY E MD
CC:-

Procedure Reason: CHEST PAIN
Study: Electrocardiogram
Order Date/Time: 10/07/16 0718

                                  ***Signed Status***
Date of Procedure:
Test Reason : CP
Blood Pressure : ***/*** mmHG
Vent. Rate : 116 BPM    Atrial Rate : 116 BPM
  P-R Int : 160 ms       QRS Dur : 116 ms
   QT Int : 334 ms     P-R-T Axes : 066 060 038 degrees
  QTc Int : 464 ms
Sinus tachycardia
Nonspecific ST abnormality
Abnormal ECG
No previous ECGs available
Confirmed by LEONARDI, MD, MARINO (2251) on 10/10/2016 7:26:49 PM
Referred By: JEFFREY HALSTEAD           Confirmed By: MARINO LEONARDI, MD


                            <Electronically signed by MARINO LEONARDI, MD in OV>

                            LEONARDI,MARINO MD                   10/10/16

OT: 10/10/16 1926
                                                JOB: 1010-0115




                                MERCY FITZGERALD HOSPITAL
                        LANSDOWNE AVE BAILEY RD DARBY, PA 19023
                       Reports: (610) 237-5003 Scheduling: (610) 237-2525
             Case 2:18-cv-00924-PD     Document 15-8             Filed 05/03/18      Page 17 of 186



                               Mercy Fitzgerald Hospital
                                     Mercy Health System
                                 Department of Cardiology
Patient: EFUNNUGA,OLUTOKUNBO
MR#      F001250247
Acct# FA1307223089         DOB: 03/06/1979                          Sex: M
Phone# (000)000-0000       Exam Date: 10/07/16                      Status: ADM IN
Order# 1007-0025           Report #1010-0121

Ordering Physician: BORIKAR, MADHURA S MD
CC:-

Procedure Reason: ARRHYTHMIA
Study: Electrocardiogram
Order Date/Time: 10/07/16 0816

                                 ***Signed Status***
Date of Procedure:
Test Reason : ARRHY
Blood Pressure : ***/*** mmHG
Vent. Rate: 121 BPM     Atrial Rate: 121 BPM
  P-R Int : 144 ms       QRS Dur : 116 ms
   QT Int : 342 ms     P-R-T Axes : 055 018 032 degrees
  QTc Int : 485 ms
Sinus tachycardia
Nonspecific ST abnormality
Abnormal ECG
When compared with ECG of 07-0CT-2016 08:20,
ST now depressed in Lateral leads
Confirmed by LEONARDI, MD, MARINO (2251) on 10/10/2016 7:32:08 PM
Referred By: JEFFREY HALSTEAD          Confirmed By: MARINO LEONARDI, MD


                           <Electronically signed by MARINO LEONARDI, MD in OV>

                           LEONARDI,MARINO MD                    10/10/16

OT: 10/10/16 1932
                                                JOB: 1010-0121




                                MERCY FITZGERALD HOSPITAL
                        LANSDOWNE AVE BAILEY RD DARBY, PA 19023
                       Reports: (610) 237-5003 Scheduling: (610) 237-2525
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                                Mercy Fitzgerald Hospital
                                      Mercy Health System
                                  Department of Cardiology
Patient: EFUNNUGA,OLUTOKUNBO
MR#      F001250247
Acct# FA1307223089         008: 03/06/1979                          Sex: M
Phone# (000)000-0000       Exam Date: 10/07/16                      Status: ADM IN
Order# 1007-0045           Report #1010-0143

Ordering Physician: BORIKAR, MADHURA S MD
CC:-

Procedure Reason: ARRHYTHMIA
Study: Electrocardiogram
Order Date/Time: 10/07/16 1215

                                  ***Signed Status***
Date of Procedure:
Test Reason : ARRHY
Blood Pressure : ***/*** mmHG
Vent. Rate : 090 BPM     Atrial Rate : 090 BPM
  P-R Int : 150 ms        QRS Dur : 098 ms
   QT Int : 346 ms      P-R-T Axes : 077 067 -19 degrees
  QTc Int : 423 ms
Normal sinus rhythm
ST elevation consider anterior injury or acute infarct
Abnormal ECG
When compared with ECG of 07-0CT-2016 09: 58,
ST now depressed in Inferior leads
ST elevation has replaced ST depression in Anterior leads
T wave inversion now evident in Inferior leads
Nonspecific T wave abnormality now evident in Lateral leads
Confirmed by LEONARDI, MD, MARINO (2251) on 10/10/2016 7:41:52 PM
Referred By: JEFFREY HALSTEAD             Confirmed By: MARINO LEONARDI, MD


                            <Electronically signed by MARINO LEONARDI, MD in OV>

                            LEONARDl,MARINO MD                   10/10/16
DT: 10/10/16 1942
                                                JOB: 1010-0143




                                 MERCY FITZGERALD HOSPITAL
                         LANSDOWNE AVE BAILEY RD DARBY, PA 19023
                        Reports: (610) 237-5003 Scheduling: (610) 237-2525
           Case 2:18-cv-00924-PD          Document 15-8       Filed 05/03/18       Page 19 of 186




                                 Mercy Fitzgerald Hospital
                                       Mercy Health System
                                  Department of Cardiology
Patient: EFUNNUGA,OLUTOKUNBO
MR#      F001250247
Acct # FA 1307223089       DOB: 03/06/1979                        Sex: M
Phone # (000)000-0000      Exam Date: 10/11/16                    Status: ADM IN
Order# 1011-0043           Report#1011-0015

Ordering Physician: BHARGAVA, SURBHI MD
CC: BHARGAVA,SURBHI MD-

Procedure Reason: OTHERto rule out any vegetations
Study: 20 ECHO with Color Flow Dopp
Order Date/Time: 10/11/16 1032

                                   ***Signed Status***
Patient:    EFUNNUGA, OLUTOKUNBO
Med Rec#:     F001250247        DOB:         03/06/1979
Date:       10/11/2016       Age:        37y
Account.#:    FA1307223089
Accession#: 972317.00lFTZ        Weight:        kg I NaN lbs
Sex:       M
Room.#:       506
Type:      Inpatient
Loe:       Patient Room
Referring:   HALSTEADJEFFREY
Reading:     MARINO LEONARDI, MD
Sonographer: CMB

Transthoracic Echocardiogram
CPT Codes:
*Echo Comprehensive (93306)
Indication:
r/o veg
BP:          134/68
HR:          75
Conclusions
The left ventricular systolic function is low normal to mildly
decreased, the ejection fraction is estimated at 45-50%
The left ventrlcular chamber size Is mildly dilated.
There is trace tricuspid regurgitation.
Rndings
Left Ventricle:
The left: ventricular chamber size is mildly dilated. There is borderline
concentric left: ventricular hypertrophy. The ejection fraction is
estimated at 45-50% The left ventricular systolic function Is mildly
decreased.
Left: Atrium:
The left atrl um Is top normal.

                                  MERCY FITZGERALD HOSPITAL
                          LANSDOWNE AVE BAILEY RD DARBY, PA 19023
                         Reports: (610) 237-5003 Scheduling: (610) 237-2525
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                               Mercy Fitzgerald Hospital
                                      Mercy Health System
                                 Department of Cardiology
Patient: EFUNNUGA,OLUTOKUNBO
MR#      F001250247
Acct # FA 1307223089       DOB: 03/06/1979                      Sex: M
Right Ventricle:
The right ventricular cavity size is normal. The right ventricular
global systolic function is normal.
Right Atrium:
The right atrial cavity size is normal.
Aortic Valve:
The aortic valve is trileaflet. There is no dilatation of the aortic
root. Systolic excursion of the aortic valve is normal. There is no
evidence of aortic stenosis. There is no evidence of aortic
regurgitation.
Mitra I Valve:
The mitral valve leaflets appear normal. There is no evidence of mitral
stenosis. There is no evidence of mitral regurgitation.
Tricuspid Valve:
The tricuspid valve leaflets are morphologically normal. There is no
tricuspid stenosis. There is trace tricuspid regurgitation present.
Pulmonic Valve:
The pulmonic valve is not well visualized. There is no pulmonic stenosis
present. There is trace pulmonic regurgitation present.
Pericardium:
There is no pericardia! effusion.
Venous:
There is less than 50% respiratory change in the inferior vena cava
dimension.
Measurements
Name                 Value          Normal Range
IVSd (MM)              0.97 cm        (0.3 - 1.1)
LVPWd (MM)               1.03 cm        (0.7 - 1.1)
LVIDd (MM)              5.66 cm        (3.8 - 5.7)
LVIDs (MM)              3.93 cm
EF Teichholz (MM)         57.27 %
Ao root diameter (MM) 2.9 cm
LA dimension (AP) MM         3.31 cm       (1.5 - 4)
LA:Ao ratio (MM)         1.14 ratio
Name                 Value          Normal Range
MV E-wave Vmax              O. 85 m/sec
MV deceleration time       188.47 msec (160 - 240)
MV A-wave Vmax              0.57 m/sec
MV E:A ratio           1.48 ratio    (1.1 - 1.5)
Name                 Value         Normal Range
AV Vmax                1.49 m/sec ( 1 - 1. 7)
AV peak gradient          8.91 mmHg
LVOT Vmax                0.81 m/sec (70 - 110)
LVOT peak gradient         2.62 mmHg

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                       Reports: (610) 237-5003 Scheduling: (610) 237-2525
             Case 2:18-cv-00924-PD      Document 15-8            Filed 05/03/18   Page 21 of 186


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                               Mercy Fitzgerald Hospital
                                     Mercy Health System
                                Department of Cardiology
Patient: EFUNNUGA,OLUTOKUNBO
MR#      F001250247
Acct # FA 1307223089       DOB: 03/06/1979                          Sex: M
Name                 Value      Normal Range
MV PHT               54. 66 msec
MVA (PHT)             4.03 cm2
Name                 Value      Normal Range
PV Vmax               0.66 m/sec
PV peak gradient        1. 75 mmHg
Electronically signed by: MARINO LEONARDI, MD on 10/11/2016 17: 10: 17


                           <Electronically signed by MARINO LEONARDI, MD in OV>

                           LEONARDI,MARINO MD                    10/11/16

DT: 10/111161710
                                                JOB: 1011-0015




                                MERCY FITZGERALD HOSPITAL
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                       Reports: (610) 237-5003 Scheduling: (610) 237-2525
              Case 2:18-cv-00924-PD      Document 15-8           Filed 05/03/18      Page 22 of 186



                                Mercy Fitzgerald Hospital
                                      Mercy Health System
                                 Department of Cardiology
Patient: EFUNNUGA,OLUTOKUNBO
MR#      F001250247
Acct# FA1307223089         DOB: 03/06/1979                          Sex: M
Phone# (000)000-0000       Exam Date: 10/12/16                      Status: ADM IN
Order# 1012-0082           Report #1015-0024

Ordering Physician: AHANGAR, WASEEM MD
CC:-

Procedure Reason: ABNORMAL EKG
Study: Electrocardiogram
Order Date/Time: 10/12/16 1200

                                  * * *Signed Status***
Date of Procedure:
Test Reason : ABN
Blood Pressure : ***/*** mmHG
Vent. Rate : 093 BPM    Atrial Rate : 093 BPM
  P-R Int : 128 ms       QRS Dur : 094 ms
   QT Int : 352 ms     P-R-T Axes : 075 018 005 degrees
  QTc Int : 437 ms
Normal sinus rhythm
Early transition.
Nonspecific ST and T wave abnormality
Abnormal ECG
Confirmed by SEIFERT, M.D., RICHARD (1011) on 10/15/2016 11:01:07 PM
Referred By: JEFFREY HALSTEAD           Confirmed By: RICHARD SEIFERT, M. D.


                            <Electronically signed by RICHARD A SEIFERT, MD in OV>

                            SEIFERT,RICHARD A, MD                10/15/16

OT: 10/15/16 2301
                                                JOB: 1015-0024




                                 MERCY FITZGERALD HOSPITAL
                         LANSDOWNE AVE BAILEY RD DARBY, PA 19023
                        Reports: (610) 237-5003 Scheduling: (610) 237-2525
              Case 2:18-cv-00924-PD      Document 15-8            Filed 05/03/18      Page 23 of 186



                                Mercy Fitzgerald Hospital
                                      Mercy Health System
                                 Department of Cardiology
Patient: EFUNNUGA,OLUTOKUNBO
MR#      F001250247
Acct# FA1307223089         DOB: 03/06/1979                           Sex: M
Phone # (000)000-0000      Exam Date: 10/13/16                       Status: ADM IN
Order# 1013-0108           Report #1019-0063

Ordering Physician: BORIKAR, MADHURA S MD
CC:-

Procedure Reason: OTHERQTc monitoring
Study: Electrocardiogram
Order Date/Time: 10/13/16 1104

                                  ***Signed Status***
Date of Procedure:
Test Reason : OTH
Blood Pressure : ***/*** mmHG
Vent. Rate : 099 BPM      Atrial Rate : 099 BPM
  P-R Int : 132 ms         QRS Dur : 108 ms
   QT Int : 340 ms       P-R-T Axes : 076 026 006 degrees
  QTc Int : 436 ms
Normal sinus rhythm
Left ventricular hypertrophy with secondary repolarization changes
Non-specific intra-ventricular conduction delay
Abnormal ECG
When compared with ECG of 12-0CT-2016 11: 14,
No significant change was found
Confirmed by Menetrey, D.O., Jammie (1128) on 10/19/2016 12:44:00 PM
Referred By: MARIO LITIMAN             Confirmed By:Jammie Menetrey, D.O.


                            <Electronically signed by JAMMIE E MENETREY, DO in OV>

                            MENETREY,JAMMIE E DO                  10/19/16
DT: 10/19/16 1244
                                                 JOB: 101S-0063




                                 MERCY FITZGERALD HOSPITAL
                         LANSDOWNE AVE BAILEY RD DARBY, PA 19023
                        Reports: (610) 237-5003 Scheduling: (610) 237-2525
              Case 2:18-cv-00924-PD       Document 15-8           Filed 05/03/18      Page 24 of 186



                                Mercy Fitzgerald Hospital
                                      Mercy Health System
                                  Department of Cardiology
Patient: EFUNNUGA,OLUTOKUNBO
MR#      F001250247
Acct# FA1307223089         OOB: 03/06/1979                           Sex: M
Phone# (000)000-0000       Exam Date: 10/20/16                       Status: ADM IN
Order# 1020-0093           Report #1022-0016

Ordering Physician: MANN, RUPINDER K MD
CC:-

Procedure Reason: TACHYCARDIA
Study: Electrocardiogram
Order Date/Time: 10/20/16 1910

                                  ***Signed Status***
Date of Procedure:
Test Reason : TACHY
Blood Pressure : ***/*** mmHG
Vent. Rate : 148 BPM      Atrial Rate : 148 BPM
  P-R Int : 112 ms         QRS Dur : 088 ms
   QT Int : 284 ms       P-R-T Axes : 073 032 018 degrees
  QTc Int : 445 ms
Sinus tachycardia
RSR' or QR pattern in Vl suggests right ventricular conduction delay
Left ventricular hypertrophy
Nonspecific ST and T wave abnormality
Abnormal ECG
Confirmed by SEIFERT, M.D., RICHARD (1011) on 10/22/2016 6:10:19 PM
Referred By: JEFFREY HALSTEAD             Confirmed By: RICHARD SEIFERT, M.D.


                            <Electronically signed by RICHARD A SEIFERT, MD in OV>

                            SEIFERT,RICHARD A, MD                 10/22/16

DT: 10/22/161810
                                                 JOB: 1022-0016




                                 MERCY FITZGERALD HOSPITAL
                         LANSDOWNE AVE BAILEY RD DARBY, PA 19023
                        Reports: (610) 237-5003 Scheduling: (610) 237-2525
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                                Mercy Fitzgerald Hospital
                                       Mercy Health System
                                  Department of Cardiology
Patient: EFUNNUGA,OLUTOKUNBO
MR#      F001250247
Acct # FA 1307223089       COB: 03/06/1979                        Sex: M
Phone# (000)000-0000       Exam Date: 10/21/16                    Status: ADM IN
Order # 1021-0042          Report #1023-0004

Ordering Physician: HOWLAND, AMANDA R MD
CC: HOWLAND.AMANDA R MD-

Procedure Reason: TACHYCARDIA
Study: 2D ECHO with Color Flow Dopp
Order Date/Time: 10/21/16 1100

                                   * * *Signed Status***
Patient:    EFUNNUGA, OLUTOKUNBO
Med Rec#:     F001250247            DOB:         03/06/1979
Date:       10/23/2016           Age:        37y
Account#:     FA1307223089           Height:      170.18 cm/ 67.0 in
Accession#: 978492.00lFTZ            Weight:      92.99 kg/ 204.9 lbs
Sex:       M                BSA:        2.04
Room#:        506
Type:      Inpatient
Loe:       Patient Room
Referring:   HALSTEADJEFFREY
Reading:     Peter Correnti Jr D.O.
Sonographer: SHARP, GIOIA

Transthoracic Echocardiogram
Diagnosis:
*Sinus tachycardia (785.0)
CPT Codes:
*Echo Comprehensive (93306)
Indication:
Tachycardia
BP:         122/75
Conclusions
Technically difficult study.
The left ventrlcle chamber size, wall thickness, systollc and diastollc
function are within normal limits. There are no wall motion
abnormalities. Ejection fraction is normal.
The Right Ventrlcular systollc pressure Is calculated at 58.85mmHg.
There is trace to mild tricuspid regurgitation.
There is evidence of moderate pulmonary hypertension.
Findings
Technical Comments:
Technically difficult study.
Left Ventricle:

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                        Reports: (610) 237-5003 Scheduling: (610) 237-2525
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                                Mercy Fitzgerald Hospital
                                      Mercy Health System
                                 Department of Cardiology
Patient: EFUNNUGA,OLUTOKUNBO
MR#      F001250247
Acct# FA1307223089         DOB: 03/06/1979                       Sex: M
The left ventricle chamber size, wall thickness, systolic and diastolic
function are within normal limits. There are no wall motion
abnormalities. Ejection fraction is normal.
Left Atrium:
The left atrium is normal in size with no visual thrombus identified.
Right Ventricle:
The right ventricular chamber size and systolic function are within
normal limits. The Right Ventricular systolic pressure is calculated at
58.85mmHg.
Right Atrium:
The right atrium appears normal.
Aortic Valve:
The aortic valve is trileaflet. The leaflets are thin with normal
excursion. There is no aortic stenosis or regurgitation present.
Mitra I Valve:
The mitral valve appears normal in structure and function.
Tricuspid Valve:
The tricuspid valve leaflets are morphologically normal. There is trace
to mild tricuspid regurgitation.
Pulmonic Valve:
The pulmonic valve appears normal in structure and function.
Pericardium:
There is no pericardia! effusion.
Aorta:
The aortic root appears normal.
Pulmonary Artery:
There is evidence of moderate pulmonary hypertension.
Measurements
Name                 Value         Normal Range
IVSd (MM)               1.1 cm       (0.3 - 1.1)
LVPWd (MM)               1.1 cm       (0.7-1.1)
LVIDd (MM)              5.19 cm       (3.8 - 5. 7)
LVIDs (MM)              3.38 cm
EF Teichholz (MM)         63. 74 %
Ao root diameter (MM) 3.44 cm
LA dimension (AP) MM        3.44 cm       (1.5 - 4)
LA:Ao ratio (MM)         1 ratio
AV cusp separation (MM) 2.41 cm           (2.1 - 3.5)
Name                 Value         Normal Range
MV E-wave Vmax             0. 97 m/sec
MV deceleration time 235.36 msec (160 - 240)
MV A-wave Vmax             o. 97 m/sec
MV E:A ratio           1 ratio     (1.1 - 1.5)
Name                 Value         Normal Range

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                        Reports: (610) 237-5003 Scheduling: (610) 237-2525
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                                Mercy Fitzgerald Hospital
                                      Mercy Health System
                                 Department of Cardiology
Patient: EFUNNUGA,OLUTOKUNBO
MR #     F001250247
Acct# FA1307223089         DOB: 03/06/1979                         Sex: M
LVOT Vmax              1.02 m/sec (70 - 110)
LVOT peak gradient       4.14 mmHg
Name                 Value      Normal Range
MV PHT               68.25 msec
MVA (PHT)             3.22 cm2
Name                 Value      Normal Range
TR Vmax               3.49 m/sec
TR peak gradient        48.85 mmHg
RAP                 10 mmHg
RVSP                58.85 mmHg
Name                 Value      Normal Range
PV Vmax               0.83 m/sec
PV peak gradient        2. 73 mmHg
Electronically signed by: Peter Correnti Jr D.O. on 10/23/2016
12:54:17


                            <Electronically signed by PETER CORRENTI JR, DO in OV>

                            CORRENTI JR,PETER, DO               10/23/16

OT: 10/23/16 1254
                                                JOB: 102~0004




                                 MERCY FITZGERALD HOSPITAL
                         LANSDOWNE AVE BAILEY RD DARBY, PA 19023
                        Reports: (610) 237-5003 Scheduling: (610) 237-2525
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                               Mercy Fitzgerald Hospital
                                        Mercy Health System
                                Department of Cardiology
Patient: EFUNNUGA,OLUTOKUNBO
MR#      F001250247
Acct# FA1307223089         COB: 03/06/1979                      Sex: M
Phone# (000)000-0000       Exam Date: 10/24/16                  Status: ADM IN
Order# 1024-0041           Report #1024-0013

Ordering Physician: LITTMAN, MARIO MD
CC: LITTMAN.MARIO, MD-

Procedure Reason: OTHEREVALUATE
Study: Transesophageal Echocardiogram
Order Date/Time: 10/24/16

                                 ***Signed Status***
Patient:   EFUNNUGA, OLUTOKUNBO
Med Rec#:    F001250247         DOB:         03/06/1979
Date:      10/24/2016        Age:        37y
Account#:    FA1307223089
Accession#: 979615.00lFTZ        Weight:        kg I NaN lbs
Sex:       M
Loe:      Operating Room
Reading:    Jammie Menetrey, DO
Sonographer: OR

Transesophageal Echocardiogram
CPT Codes:
*Echo TEE Full (93312)
Indication:
Rule out IE
Conclusions
Mildly reduced left and right ventricular systolic function.
No significant valvular abnormalities.
No source of infectious endocarditis seen.
Findings
TEE Procedure:
The procedure and risk were explained to the patient who consented to
the study. The procedure was performed following informed consent.
General sedation was achieved with anesthesia present using Incremental
intravenous doses of Propofol. The TEE probe was gently passed into the
esophagus and advanced to the gastric level. Multiple images including
doppler and color flow were obtained. Patient tolerated the procedure
well.
Technical Comments:
Technically good study.
Left Ventricle:
The left ventricular chamber size is normal. The ejection fraction is
estimated at 40-45%. The left ventricular systolic function Is normal.

                                MERCY FITZGERALD HOSPITAL
                        LANSDOWNE AVE BAILEY RD DARBY, PA 19023
                       Reports: (610) 237-5003 Scheduling: (610) 237-2525
               Case 2:18-cv-00924-PD      Document 15-8             Filed 05/03/18   Page 29 of 186


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                                 Mercy Fitzgerald Hospital
                                       Mercy Health System
                                  Department of Cardiology
Patient: EFUNNUGA,OLUTOKUNBO
MR #       F001250247
Acct#     FA1307223089           DOB: 03/06/1979                      Sex: M
Left Atrium:
The left atrium is normal in size with no visual thrombus identified.
The left atrial appendage velocity is normal. No atrial septal defect is
visualized.
Right Ventricle:
The right ventricular cavity size is mildly enlarged. The right
ventricular global systolic function is mildly reduced.
Right Atrium:
The right atrium appears normal.
Aortic Valve:
The aortic valve is trileaflet. The leaflets are thin with normal
excursion. There is no aortic stenosis or regurgitation present.
Mitra I Valve:
The mitral valve appears normal in structure and function.
Tricuspid Valve:
The tricuspid valve appears normal in structure and function.
Pulmonic Valve:
The pulmonic valve appears normal in structure and function.
Pericardium:
The pericardium appears normal.
Aorta:
The aortic root appears normal.
Electronically signed by: Jammie Menetrey, DO on 10/24/2016 12:51:15


                             <Electronically signed by JAMMIE E MENETREY, DO in OV>

                             MENETREY,JAMMIE E DO                   10/24/16

OT: 10/24/16 1251
                                                   JOB: 1024-0013




                                  MERCY FITZGERALD HOSPITAL
                          LANSDOWNE AVE BAILEY RD DARBY, PA 19023
                         Reports: (610) 237-5003 Scheduling: (610) 237-2525
              Case 2:18-cv-00924-PD      Document 15-8           Filed 05/03/18      Page 30 of 186



                                Mercy Fitzgerald Hospital
                                       Mercy Health System
                                 Department of Cardiology
Patient: EFUNNUGA,OLUTOKUNBO
MR#      F001250247
Acct# FA1307223089         DOB: 03/06/1979                          Sex: M
Phone# (000)000-0000       Exam Date: 10/22/16                      Status: ADM IN
Order# 1022-0016           Report #1024-0082

Ordering Physician: REGAN, JOHN E MD
CC:-

Procedure Reason: OTHERCheck QT segment
Study: Electrocardiogram
Order Date/Time: 10/22116 1110

                                  ***Signed Status***
Date of Procedure:
Test Reason : OTH
Blood Pressure : ***/*** mmHG
Vent. Rate : 123 BPM      Atrial Rate : 123 BPM
  P-R Int : 126 ms         QRS Dur : 086 ms
   QT Int : 286 ms       P-R-T Axes : 057 010 -14 degrees
  QTc Int : 409 ms
Sinus tachycardia
Minimal voltage criteria for LVH, may be normal variant
T wave abnormality, consider anterior ischemia
Abnormal ECG
When compared with ECG of 20-0CT-2016 19: 12,
RSR' pattern in V1 is no longer Present
ST no longer depressed in Anterior leads
Nonspecific T wave abnormality now evident in Lateral leads
Confirmed by LEONARDI, MD, MARINO (2251) on 10/24/2016 4:04:03 PM
Referred By: JEFFREY HALSTEAD             Confirmed By: MARINO LEONARDI, MD


                            <Electronically signed by MARINO LEONARDI, MD in OV>

                            LEONARDI,MARINO MD                   10/24/16

DT: 10/24/16 1604
                                                JOB: 1024-0082




                                 MERCY FITZGERALD HOSPITAL
                         LANSDOWNE AVE BAILEY RD DARBY, PA 19023
                        Reports: (610) 237-5003 Scheduling: (610) 237-2525
               Case 2:18-cv-00924-PD      Document 15-8            Filed 05/03/18      Page 31 of 186



                                 Mercy Fitzgerald Hospital
                                       Mercy Health System
                                   Department of Cardiology
Patient: EFUNNUGA,OLUTOKUNBO
MR#      F001250247
Acct# FA1307223089         DOB: 03/06/1979                            Sex: M
Phone# (610)622-4387       Exam Date: 10/25/16                        Status: ADM IN
Order# 1025-0024           Report #1026-0062

Ordering Physician: JILANI, ABUBAKER K MD
CC:-

Procedure Reason: OTHERelevated K
Study: Electrocardiogram
Order Date/Time: 10/25/16 0713

                                   ***Signed Status***
Date of Procedure:
Test Reason : OTH
Blood Pressure : ***/*** mmHG
Vent. Rate : 115 BPM       Atrial Rate : 115 BPM
  P-R Int : 126 ms          QRS Dur : 086 ms
   QT Int : 302 ms        P-R-T Axes : 066 027 007 degrees
  QTc Int : 417 ms
Sinus tachycardia
Possible Left atrial enlargement
Borderline ECG
When compared with ECG of 22-0CT-2016 11:29,
Nonspecific T wave abnormality no longer evident in Lateral leads
Confirmed by ALBIZEM, M.D., HAYTHAM (1073) on 10/26/2016 6:28:30 PM
Referred By: JEFFREY HALSTEAD              Confirmed By: HAYTHAM ALBIZEM, M.D.


                             <Electronically signed by HAYTHAM ALBIZEM, MD in OV>

                             ALBIZEM,HAYTHAM, MD                   10/26/16
OT: 10/26/16 1828
                                                  JOB: 1026-0062




                                  MERCY FITZGERALD HOSPITAL
                          LANSDOWNE AVE BAILEY RD DARBY, PA 19023
                         Reports: (610) 237-5003 Scheduling: (610) 237-2525
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                                                  Mercy Fitzgerald Hospital
                                                       Consultation Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247
ACCT: FA1307223089                               ADMIT DATE: 10/07/16
REPORT#: 1007-0295                               DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                                  ***Signed Status***


HPI
Encounter Date & Time
10/7/16 14:20
Reason for Request
VDRF, Drug Intoxication
Service: Critical Care
Source: Family, Old Medical Record
History of Present Illness
37 y/o was brought to the ED secondary to being found at home unresponsive. The patient himself is obtunded and
unable to provide any subjective data. According to his sisters, the patient was in his usual state of health and had not
been acting erratically, unusually happy or depressed, last seen at approximately 9-9:30 last night. At about 6am, one
of his sisters found the patient unresponsive and called 911. When EMS arrived, he was still unresponsive and he did
not respond to any narcan. The patient was intubated in the emergency department. The family reports that he has
been under a significant amount of stress lately, though they state that he is a private person and would not divulge.
Primary care Provider
Doctor, None (FAMILY)
Attending Physician
Littman, Mario, MD

Past Medical Historv
IVledications
Home Meds Reviewed: Yes
Active Meds Reviewed: Yes

Allergies
Allergies:
Coded Allergies:
   Unable to Assess (Unverified, 10/7/16)

Medical History
Medical History:
(1) HIV (human immunodeficiency virus infection)
(2) Drug abuse
History of Cancer:
Surgical History:
Procedural History:

Family History


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1007-0295
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
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PATIENT: EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



Patient History:
Diabetes mellitus
 MOTHER, Onset:Unknown
 UNCLE, Onset:Unknown
 AUNT, Onset:Unknown
Glaucoma
Hypertension
 UNCLE, Onset:Unknown
 AUNT, Onset:Unknown

Social History
Smoking Status: Never Smoker
Alcohol Use: Socially
Recreational Drug Use: Cocaine, Marijuana

Review of Systems
Unable to Obtain: Clinical Condition

Physical Exam
                                             Vital Signs, Last Documented
          Date Time         Temp     Pulse   Resp   B/P       Pulse Ox   02 Deliverv   02 Flow Rate   Fi02
         1017/16 13:00                115      23   128/67         100   Ventilator                     40
         1017/16 11 :00      36.4

Weight in Kg
84.50
                                                             Bedside Blood Glucose
10/7/16 08:16: POC Glucose 82
Physical Exam (Structured)
General Appearance: : Appears Stated Age: No Acute Distress: other (OBTUNDED)
Eye Exam: : Abnormal Pupil (2mm and non reactive): Sciera AnictericNo: PERRL
Eyelid: Bilateral: Normal
Head Exam: : Atraumatic: Moist Mucous Membranes: Normocephalic: Symmetric
Ear: Bilateral: Normal
Lips: Normal
Gums and Mucosa: : Normal
Neck: : Supple
Jugular Venous Distention: Absent
Thyroid: : Normal
Chest Appearance: : Normal
Respiratory Effort: : Normal (on mechanical ventilation)
Lung Sounds: : CT A Bilateral
General: Regular Rate and Rhythm
Cardiac Rhythm: Regular


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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                        Mercy Fitzgerald Hospital
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PATIENT: EFUNNUGA,OLUTOKUNBO                                         MR#: F001250247



Heart Sounds: : Normal
Peripheral Pulse: strong Radial L, Strong Radial R
Upper Extremity Edema: Bilateral: None
Lower Extremity Edema: Bilateral: None
Hepatojugular Reflex: Absent
Abdomen: : Bo1Nel Sounds Noted: Non-tender: SoftNo: Distended
Abdominal Inspection: : Normal
Extremity Appearance: LUE: Normal, RUE: Normal, LLE: Normal, RLE: Normal
Level of Consciousness: Unresponsive
Cranial Nerve Evaluation: Normal: Other (unable to be properly assessed due to mental status)
Neurological Comments
No Doll's Eyes
No Corneals
+Cough
+Gag
No response to any painful stimulus
No babinski
Regional Findings:
 Altered Structure: No: Cervical, Costal Cage, Lum bar, other, Sacra-Pelvic, Thoracic
 Altered Motion: Absent: Cervical, Costal Gage, Lumbar, other, Sacra-Pelvic, Thoracic

Results
                                                          Lab Results, CBC Diagram
10/7/16 07:32


                                            7.6~94
                                                 ~
                                                          Lab Results, BMP Diagram
10/7/16 07:32

                                           136       98
                                         ------...-----~
                                                             ~4
                                                              109
                                          3.8        24        1.8

Diagnostics Reviewed: Yes
Imaging
Exam: CR Chest PORTABLE

                                       *** Signed Status ***
IMPRESSION: Endotracheal tube in satisfactory position. No pneumonia.

INDICATION: 37 years old; Male. Symptom/Location/Duration: Altered mental status, unresponsive.


PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
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                           Mercy Fitzgerald Hospital
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PATIENT: EFUNNUGA,OLUTOKUNBO                                                           MR#: F001250247




TECHNIQUE: AP chest radiograph Comparison: None.

FINDINGS:
LUNGS: Low lung volumes No mass, consolidation, pleural effusion, or pneumothorax.
CARDIOVASCULAR: Heart size is within normal limits.
MEDIASTINUM: No adenopathy.
MSK: No acute displaced fracture.
OTHER: Endotracheal tube is in place with the tip approximately 4.8 cm above carina.
Communication code O: ED preliminary interpretation was not recorded on PACS at the time of the final report. Final
report sho1NS no critical finding.
This study was reviewed with the attending radiologist, Dr. Oleg Teytelboym, who was in agreement.


                  Thank you for choosing Mercy Health System

        <Electronically signed by OLEG M TEYTELBOYM, MD in OV>                                 e-Sign Pager: (610)221-0257
        Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine
IMPRESSION: 1. No intracranial hemorrhage or acute infarct.


INDICATION: 37 years old; Male. Symptom/Location/Duration: Altered mental status

TECHNIQUE: Unenhanced CT of the head with axial, coronal, sagittal reformats. Comparison: None

FINDINGS:
POSTOPERATIVE CHANGES: None.
BRAIN VOLUME: Normal volume for age.
ACUTE INFARCT: No focal hypodensity to suggest acute infarct.
CHRONIC INFARCT: None.
MASS LESIONS: None.
WHITE MATTER: White matter is within normal limits.
HEMORRHAGE: No intracranial hemorrhage.
VASCULATURE: No hyperdense vascular thrombus. No calcified intracranial plaque.
MSK: No fractures or soft tissue swelling.
SINUSES/MASTOIDS: Visualized paranasal sinuses are clear. Mastoid air cells are clear. Fluid in the nasal cavity
and nasopharyngeal airway is presumably related to endotracheal intubation.
OTHER: None.


                  Thank you for choosing Mercy Health System

        <Electronically signed by FRASER H BROWN, MD in OV>                                    e-Sign Pager: (610)221-1965
        Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine


Impression and Plan
Problem List:
(1) Acute respiratory failure with hypoxia and hypercapnia


PATIENT: EFUNNUGA,OLUTOKUNBO
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PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



(2) Toxic encephalopathy
(3) Respiratory failure
(4) On mechanically assisted ventilation
(5) Lactic acidosis
(6) AKI (acute kidney injury)
(7) Respiratory acidosis
(8) Rhabdomyolysis
(9) Drug overdose
Chronic Problems:
(1) HIV (human immunodeficiency virus infection)
(2) Drug abuse
Plan
Neuro: The patient is currently obtunded and other than triggering the ventilator and having a cough/gag, there is no
other neurological response. DDx includes, but is not limited to Seizures, Encephalitis, Meningitis, Anoxia, or just as a
consequence of his overdose, specifically the TCA_ Will get a STAT EEG, neuro consult. The patient may very well
need an LP is nothing else has been found. The patient has not had any witnessed seizure activity, though he does
have HIV which cannot fully rule out HSV and may very well need an MRI sooner than later. Will perform
neurochecks Q6h. Will keep him off sedation until he wakes up.

OJ: At this time, his QRS is not showing any acute changes other than a slight widening of the QRS complex. Will
get an EKG Q6h and if there are any changes, the patient will be started on a bicarb gtt. Doubt any ACS as the cause
of this as the patient has 2 negative troponins.

Pulm: VDRF secondary to inability to protect his airway. He has an acute respiratory acidosis, likely owing to his
mental status change and hypopnea. Will use the ventilator, increase his RR to 22 and recheck his ABG.

GI: No acute issues at this time. Use pepcid for prophylaxis

Renal: AKI. Unknown if this is pre-renal from hypotension or volume depletion or due to a post renal obstruction as a
recent bladder scan shows 700cc in the bladder. Will place a foley catheter and measure urine output. Avoid
nephrotoxic medications. Send from a random electrolyte panel and check a FeNa.

ID: Known HIV infection. Family is going to be bringing in his home medications and will restart them. Check a CD4
count and viral load.

Heme/One: No acute issues at this time. Lovenox for VTE prophylaxis

Endo: Keep sugars <180, check a TSG with reflex T 4.

F/E/N: Repleat electrolytes. Lactic acidosis may be due to seizures vs volume contraction. Will repeat in 6 hours.
Start the patient on tube feeds. Rhabdo, will give him LR@125cc/hr. Once the patient wakes, we will get psych
involved for the OD and possible SI.
Condition: Critical
Additional Comments
Two of the patient's sisters were in the room and they were updated on the plan. All of their questions were answered
to their satisfaction.



PATIENT: EFUNNUGA,OLUTOKUNBO
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PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



Critical care time excluding teaching or procedures: 50 minutes.


LERMAN, GABRIEL S DO                                                           Oct 7, 2016 14:26

         <Electronically signed by GABRIEL S LERMAN, DO> 10/07/16 1452




LERMGA I GSL f DD 10/07/161426 / DT 10/07/16 1426




PATIENT: EFUNNUGAOLUTOKUNBO
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                                                   Mercy Fitzgerald Hospital
                                                       Neurology Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                     MR#: F001250247
ACCT: FA1307223089                                 ADMIT DATE: 10/07/16
REPORT#: 1007-0354                                 DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN,MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                                   *** Signed Status***


HPI
Encounter Date & Time
1017/1615:46
Reason for Request
Encephalopathy
Service: Neurology
Chief Complaint
Found unresponsive
Source: Family (Sister), other (chart review)
History of Present Illness
This is a 37-year-old man with history of HIV infection and depression is confirmed by his sister. Per family he had
been is in the usual state of health. There is a history of occasional marijuana use. But his sister is not aware of any
cocaine use. When he was picked up by EMS apparently there was some evidence of drugs. Patient was given
Narcan, which did not alter his sensorium. There is no eye witnessed account of any convulsions. He was unable
intubated to protect his airway. Per sister no recent history of any acute illness. No recent reported headache or neck
pain.
Primary Care Provider
Doctor,None (FAMILY)
Attending Physician
Littman, Mario, MD

Past Medical History
IVledications
Medication Comment

                                                           Medications Active List
            Medications              Dose            Sig/Sch     start Time      Status       Last Adm in
                                     Ordered                     StooTime
            Heparin Sodium           5,000 units     Q8          1017/16 13:00                1017/16 13:54
            (Porcine)
            Fentanyl Citrate         50 mcg          Q2H PRN        1017/16 08:30
            50mca
            Thiamine HCI 100         101.2 ml@        DAILY         1017/16 10:30             10/7/1611:19
            mg/Folic Acid 1          100 mis/hr
            mg/Sodium Chloride
            Lactated Ringer's        1,000 ml@       QBH            1017/1615:00
                                     125 mis/hr




PATIENT: EFUNNUGA,OLUTOKUNBO
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                        Mercy Fitzgerald Hospital
                                  Neurology Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



Allergies
Allergies:
Coded Allergies:
   Unable to Assess (Unverified, 1017/16)

Medical History
Medical History:
(1) HIV (human immunodeficiency virus infection)
History of Cancer:
Surgical History:
Procedural History:

Family History
Patient History:
Diabetes mellitus
 MOTHER, Onset:Unknown
 UNCLE, Onset:Unknown
 AUNT, Onset:Unknown
Glaucoma
Hypertension
 UNCLE, Onset:Unknown
 AUNT, Onset:Unknown

Social History
Smoking Status: Never Smoker
Alcohol Use: Socially
Recreational Drug Use: Cocaine (urine tax screen is positive for cocaine, but sister is unaware of any previous
cocaine use), Marijuana

Review of Systems
Unable to Obtain: Clinical Condition (some information obtained from his sister)
Head and Neck: Denies: Headache, Neck Pain
Psychiatric: : DepressedDenies: Suicidal Ideation

Physical Exam
                                            v·t
                                             1a1s·1ans, LastDo cumen t ed
          Date Time       Temp     Pulse    Resp   B/P       Pulse Ox    02 Deliverv   02 Flow Rate   Fi02
         10/7/16 15:00                97      28   108/50         100    Ventilator                     40
         10/7/16 14:00     37.5

Weight in Kg
84.50
                                                            Bedside Blood Glucose
10/7/16 08:16: POC Glucose 82

PATIENT: EFUNNUGA,OLUTOKUNBO
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                        Mercy Fitzgerald Hospital
                                Neurology Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



Physical Exam
Patient is intubated and unresponsive to any verbal or painful stimulation_ Heart sounds are regular. Pupils are
reactive to light. There is no forced gaze deviation. Corneal reflex assessment was deferred. Doll's eye reflex is
weak. Gag reflex is positive. No withdrawal or posturing of the extremities was noted. Deep tendon reflexes are
diminished throughout. Plantars are mute. Sensory examination and assessment of coordination deferred

Results
Lab Results

                                                   Laboratory Tests
           Test                                         1017/16     10/7/16        10/7/16           1017/16
                                                          07:32      08:15          08:16              08:17
           White Blood Count                       7.6Thou/ul
                                                     (4.5-11.0)
           Red Blood Count                          4.76Mill/UI
                                                   (4.70-6.10)
           Hemoglobin                                 16.3g/dl
                                                   (13.5-17.5)
           Hematocrit                                    46.7%
                                                   (41.0-53.0)
           Mean Corpuscular Volume                       98.1fl
                                                      (80-100)
           Mean Corpuscular Hemoglobin                  34.2pg
                                                   (28.4-32. 0)
           Mean Corpuscular Hemoglobin                34.9g/dl
           Concent                                 (32 6-34 8)
           Red Cell Distribution Width                   13.6%
                                                   (11.5-14.5)
           Platelet Count                        184THOU/UL
                                                     (150-450)
           Mean Platelet Volume                           9.4fl
                                                     (7.4-10.4)
           Neutrophils %                                 77.0%
                                                   (42.0-75.0)
           Lymphocytes %                                 16.2%
                                                   (18.0-44.Q)
           Monocytes %                                    6.1%
                                                     (0.0-18.0)
           Eosinoohils %                        0.4% (0.0-5.Q)
           Basophils %                          0.3% (0.0-2.0)
           Neutrophils #                           5.9Thou/uL
                                                      (1.8-8.Q)
           Lymphocytes#                            1.2Thou/uL
                                                      (1.2-4.2)
           Monocytes#                              0.5Thou/uL
                                                      <0.0-1.Q)



PATIENT: EFUNNUGA,OLUTOKUNBO
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                                Neurology Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                      MR#: F001250247



         Eosinophils #                         O.OThou/uL
                                                  m.0-0. 7)
          Basophils#                           O.OThou/uL
                                                  <0.0-0.5)
          Prothrombin Time                14. 1SECONDS
                                               (11.3-15.3)
         Prothromb Time International         1.2 (0.8-1.2)
         Ratio
         Activated Partial               31.0SECONDS
         Thromboolast Time                   r24.0-39.m
         Sodium Level                         136mEq/L
                                               (136-147)
          Potassium Level                      3.8mEq/L
                                                (3.6-5.2)
         Chloride Level                       98rnrnol/L
                                                (98-108)
         carbon Dioxide Level                 24mmol/L
                                                  (23-32)
         Anion Gao                          14.0 (6.0-16)
         Blood Urea Nitroaen              14ma/dL <6-22)
         Creatinine                            1.8mg/dL
                                                (0.8-1.4)
         Estimat Glomerular Filtration   43mUmin (>60)
         Rate
         Estimated GFR (African               52mL/min/1
         American)                                    (>60)
         BUN/Creatinine Ratio                   8.0 (7-23)
         GI ucose Level                         109mg/dL
                                                   (70-99)
         Calcium Level                          9.0mg/dL
                                                <8.8-10.5)
          Magnesium Level                       2.4mg/dL
                                                 (1.8-2.4)
         Total Bilirubin                        0.5mg/dL
                                                 m.2-1.2'
         Direct Bilirubin                < 0.2mg/dL
                                                    (0-0.3)
         Aspartate Amino Transf             26U/L ( 14-51)
                           (AST/SGOT)
         Alanine Aminotransferase            20U/L (7 -60)
                            <ALT/SGPT)
         Alkaline Phosohatase             55U/L ( 42-157)
         Total Creatine Kinase                    392U/L
                                                (32-230)
         Total Protein                         8.4gm/dL
                                                (6.3-8.2)



PATIENT: EFUN NUGA,OLUTOKUNBO
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                                Neurology Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                       MR#: F001250247



          Albumin                               4.0gm/dL
                                                  (4.1-5 4)
          Globulin                                 4.4g/dL
                                                  (2.3-3.5)
          Albumin/Globulin Ratio                        1.0
                                              (0. 7 4-3.85)
          Salicylates Level              < 0.3mg/dL
                                                (0.0-44.0)
          Ethvl Alcohol Level              51ma/dL (<10l
          Urine Opiates Screen                                Negative
                                                              (NEGATIVE)
          Urine Oxycodone Screen                              Negative
                                                              (NEGATIVE)
          Urine Methadone Screen                              Negative
                                                              <NEGATIVE)
          Urine Propoxyphene Screen                           Negative
                                                              <NEGATIVE)
          Urine Barbiturates Screen                           Negative
                                                              (NEGATIVE)
          Urine Tricyclic                                     Positive
          Antidepressants                                     (NEGATIVE)
          Urine Phencyclidine Screen                          Negative
                                                              (NEGATIVE)
          Urine Amphetamine Screen                            Negative
                                                              <NEGATIVE)
          Urine MOMA Screen                                   Negative
                                                              <NEGATIVE)
          Urine Benzodiazepines Screen                        Negative
                                                              <NEGATIVE)
          Urine Cocaine Screen                                Positive
                                                              (NEGATIVE)
          Urine Cannabinoids Screen                           Positive
                                                              (NEGATIVE)
          Bedside Glucose                                                  82mg/dL
                                                                            (70-99)
          Bedside Urine oH (LAB)                                                         5.5 (5.0-9.0)
          Bedside Urine Specific                                                                1.015
          Gravity (LAB                                                                 (1.005-1.030)
          Bedside Urine Protein (LAB)                                                 Negativemg/dL
                                                                                        (NEGATIVE)
          Bedside Urine Glucose (UA)                                                  Negativemg/dL
                                                                                        (NEGATIVE)
          Bedside Urine Ketones (LAB)                                                 Negativemg/dL
                                                                                        <NEGATIVE)
          Bedside Urine Blood                                                         Negative
                                                                                        (NEGATIVE)



PATIENT: EFUNNUGA,OLUTOKUNBO
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PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



          Bedside Urine Nitrite (LAB)                                                   Negative
                                                                                          (NEGATIVE)
          Bedside Urine Bilirubin (LAB)                                                 Negative
                                                                                          (NEGATIVE)
          Bedside Urine Urobilinogen                                                        0.2E.U./dl
                                  (LAB)                                                       (0.1-2.0)
          Bedside Urine Leukocyte                                                       Negative
          Esterase (L                                                                     (NEGATIVE)

                Test                                       10/7/16       10/7/16        10/7/16
                                                             08:25         10:25          14:40
                Arterial Blood pH                             7.31
                                                      (7. 35-7.45)
                Arterial Blood pH (Temp                       7.31
                corrected)                            <7.35-7.45)
                Arterial Blood Partial               50.7mmHg
                Pressure C02                          C35.0-45.m
                Arterial Blood pC02 (Temp                     50.7
                correct)                              (35.0-45.Q)
                Arterial Blood Partial                 482mmHg
                Pressure 02                               (83-108)
                Arterial Blood p02 (Temp            482 (83-108)
                corrected)
                Arterial Blood HC03                  25.4mmol/L
                                                         (21-28)
                Arterial Bid 02 Saturation         99.4% (95-98)
                                        (Measur)
                Arterial Blood Base Excess           -1.3mmol/L
                                                           (-2-2)
                Oxvaen Deliverv Device                       1 na
                Blood Gas Ventilator Settina              18bom
                Fi02                                     100.0%
                Blood Gas Tidal Volume                    400ml
                Blood Gas PEEP                        5.0cmH20
                Arterial Blood Hematocrit                                  45.9%
                                                                      (41.0-53.0)
                Venous Blood pH                                              7.29
                                                                      (7.32-7.43)
                Venous Blood pH (Temp                                        7.29
                Corrected)                                            (7.32-7.43)
                Venous Blood Partial Pressure                         59.2mmHg
                C02                                                       (38-50)
                Venous Blood pC02 (Temp                              59.2 (38-50)
                Corrected)
                Venous Blood Partial Pressure                         43.5mmHg
                02                                                        (30-50)



PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1007-0354
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                               Neurology Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



                Venous Blood p02 (Temp                               43.5 (30-50)
                Corrected)
                Venous Blood HC03                                    28.6mmol/L
                                                                         (23-27)
                Venous Bid 02 Saturation                                    71.6
                                  (Measured)
                Venous Blood Base Excess                              1.3mmol/L
                                                                           (-2-2)
                Bedside Sodium (Blood Gas)                            141mmol/L
                                                                       (136-147)
                Bedside Potassium (Blood Gas)                         4.3mmol/L
                                                                        <3.5-5.m
                Bedside Chloride (Blood Gas)                          105mmol/L
                                                                         (98-108)
                Ionized Calcium (Blood Gas)                          1.17mmol/L
                                                                      (1.17-1.32)
                Lactate (Blood Gas)                                   2.6mmol/L
                                                                         (0.5-2.2)
                Blood Gas Temperature                                        98.6
                Urine Random Creatinine                                                126.0mQ/dL
                Urine Random Sodium                                                      64mmol/L
                Troponin T                                                           <= 0.01 ng/ml
                                                                                            (<0 04)

Diagnostics Reviewed: Yes

Impression and Plan
Problem List:
(1) Toxic encephalopathy
Impression and Plan: Appears to be due to cocaine and marijuana. Blood alcohol level is 51. I'm not sure this is the
sole factor, but could have been contributing to versus encephalopathy. Lab work also revealed slight uremia and that
could be another possible contributing factor. Based on limited history and exam I have low suspicion for CNS
infection or even seizures. But with his immunocompromised status would recommend lumbar puncture to rule out
CNS infection. Otherwise continue supportive care and monitor neurological status
Chronic Problems:


WALi.SALMAN MD                                                                 Oct 7, 2016 15:52

        <Electronically signed by SALMAN WALi, MD> 10/07/16 1553




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1007-0354
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                  Neurology Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247




WAUSA I SAW I DD 10/07/161552 /OT 10/07/16 1552




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1007-0354
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                                                  Mercy Fitzgerald Hospital
                                                      Infectious Disease Consult

PATIENT: EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247
ACCT: FA1307223089                               ADMIT DATE: 10/07/16
REPORT #: 1009-0110                              DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN, MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                                 ***Signed Status***


HPI
Encounter Date & Time
10/9/16 10:20
Reason for Request
HIV
Service: Infectious Disease
Chief Complaint
Found unresponsive
Source: Family
History of Present Illness
History obtained from the admit note as well as patient's sister is at the bedside. Patient is a 37-year-old African-
American male who was found unresponsive on the kitchen floor by his sister then called the paramedics. According
to the sister she saN him that morning and he was in his usual state of health and went to work and that evening he
went out with his friends. His sister that they only had a couple of drinks and then returned home. The sister then
found him around 6:30 in the morning on the kitchen floor unresponsive at the Center Alton. Patient did have his
girlfriend at the house as well apparently stated that she was not aware when he got out of the bed or when he may
have become unresponsive last she remembered was then going to bed together and he was behaving normally at
that point. The sister is not aware of patient doing any form of drugs except smoking marijuana and apparently his
girlfriend also did not reveal that her not they did any drugs. The paramedics apparently found cocaine in his pocket.
In terms of his HIV status the patient was initially on female who was incarcerated for several years up until 3 years
ago and the sister tells me that the patient told her that he was told that his HIV is well controlled so he could stop
taking all medications. She tells me that he will then return for care some time this summer and she believes that it
might have been at Delaware County Memorial Hospital but she is not sure and she states that he told her that he
was taking medications again but when she went home to look for the medication she could not find any periods. But
she thinks that is very private and does not reveal his status to his partners and hence might have hit the medications
and maybe that is Why she did not find them. She did call the Rite Aid pharmacy where he usually picks up his
medications from and according to the pharmacist he last developed some form of prescription in September but she
is not sure where he picked up. He was in his usual state of health prior to this acute episode and he did not complain
to her off any headache or fevers or chills or visual disturbance. Some landscaping business.
Primary care Provider
Doctor.None (FAMILY)
Attending Physician
Littman, Mario, MD

Past Medical Historv
Medications
Active Meds Reviewed: Yes

Allergies


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1009-0110
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                 Infectious Disease Consult

PATIENT: EFUNNUGA,OLUTOKUNBO                                              MR#: F001250247



Allergies:
Coded Allergies:
   Unable to Assess (Unverified, 10/7/16)

IVledical History
Medical History:
(1) HIV (human immunodeficiency virus infection)
(2) Drug abuse
History of Cancer:
Surgical History:
Procedural History:
Past Medical History: Reviewed Problem List
Past Surgical History: Reviewed Problem List

Family History
Patient History:
Diabetes mellitus
 MOTHER, Onset:Unknown
 UNCLE, Onset:Unknown
 AUNT, Onset:Unknown
Glaucoma
Hypertension
 UNCLE, Onset:Unknown
 AUNT, Onset:Unknown

Social History
Smoking Status: Never Smoker
Alcohol Use: Socially
Recreational Drug Use: Cocaine, Marijuana

Review of Systems
Unable to Obtain: Clinical Condition

Physical Exam
                                            Vital Signs, Last Documented
          Date Time      Temo     Pulse     Reso B/P         Pulse Ox 02 Deliverv      02 Flow Rate   Fi02
         10/9/16 08:47                                                                                  50
         10/9/16 08:25                        35
         10/9/16 08:00              123            143177           93    Ventilator
         10/9/16 06:00    37.6

Weight in Kg
93.90
                                                            Bedside Blood Glucose


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1009-0110
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                         Mercy Fitzgerald Hospital
                                  Infectious Disease Consult

PATIENT: EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



10/7/16 08:16: POC Glucose 82
Physical Exam (Structured)
General Appearance: : No Acute Distress
Eye Exam: : Sciera Anicteric
Head Exam: : Normocephalic
Lung Sounds: : CTA Bilateral
General: Regular Rate and Rhythm
Abdomen: : Bowel Sounds Noted: Soft
Extremity Appearance: LUE: Normal, RUE: Normal, LLE: Normal, RLE: Normal
Level of Consciousness: Other (patient did not open his eyes or follow any commands, he is having some,
spontaneous movement of his upper extremities but does not appear to be on command or purposeful)
lntegumentary Comments
No lesions or rashes reported by the nursing

Results
                                                             Lab Results, CBC Diagram
10/9/16 05:30




                                                             Lab Results, BMP Diagram
10/9/16 05:30


                                             -~-~-1-.....~-~-3-+l-~3-.4-~
Diagnostics Reviewed: Yes

Impression and Plan
Plan
Impression and plan

1. HIV
         o Unclear if he truly was on medications or not at that as the history is not confirmed unclear
         " Sister thinks hem ight have been getting care at Delaware County Memorial Hospital, discussed with the
           team to contact the ID service over there and see if he is in their system
         o Please call the right leg pharmacy number provided by the sister to the ICU team to see if he was on any HIV
           meds that can be obtained from the
         o Check a CD4 count
         o Check a viral load
         o Check a hepatitis panel


2. Change in mental status, unresponsiveness


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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                          Mercy Fitzgerald Hospital
                                    Infectious Disease Consult

PATIENT: EFUNNUGA,OLUTOKUNBO                                              MR#: F001250247



       o Possibility of drug overdose
       o   Neurology follO\IVing
       o CT of the brain without any acute issues
       o Lumbar puncture thus far not consistent with meningitis, I have asked the Micro lab to add india ink and
         cryptococcal antigen as that can be seen with low WBC count on CSF as well
       o Afebrile
       " Blood cultures negative
       o MRSA screen negative
       o No evidence of pneumonia
       o No other evidence of a systemic bacterial infectious process thus far
       o Please consider MRI brain is able to do while patient on a ventilator


3. VDRF, ventilator management per ICU team
4. Rhabdomyolysis, CPK level yesterday was higher than admission. I have ordered an updated level for today

Discussed with ICU team, nursing as well as patient's sister at bedside


ASNANl,BHARTI, MD                                                               Oct 9, 2016 10:27

           <Electronically signed by BHARTI ASNANI, MD> 10/09/161031




ASNABH I BA I DD 10/091161027 / DT 10/09/16 1027




PATIENT: EFUNNUGAOLUTOKUNBO
CC:
REPORT#: 1009-0110
REPORT STATUS: Signed
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                                            Mercy Fitzgerald Hospital
                                               Psychiatric Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                             MR#: F001250247
ACCT: FA1307223089                         ADMIT DATE: 10/07/16
REPORT#: 1019-0298                         008: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                           ***Signed Status***


HPI
Encounter Date & Time
10/19/16 13:23
Reason for Request
I was consulted because the patient had taken an overdose, was suicidal, was recently extubated,
and a 302 was placed on him by the intensive care attending M. D.
Service: Psychiatry
Chief Complaint
Patient is currently sedated and sleeping with a one-to-one observation in place.
Source: Patient, Family, Old Medical Record, Primary Physician, RN Notes
History of Present Illness
The patient was admitted over a week ago (on 10/7) after an overdose with suicidal intent involving
cocaine, THC, etc. On 10/17, the patient was placed on a 302 by his attending physician because the
patient wanted to leave and It was felt It would be dangerous for his well-being for him to do so and
he has been on one-to-one observation since. The patient should not be allowed to leave the hospital
and security or the police should be called if he attempts to elope. His sister said he has no prior
psychiatry history but has HIV. His head CT scan was within normal limits. His attending physician
(Dr. Lozada) told me that the patient had some significant medical conditions, including aspiration
pneumonia, which are responding to treatment, and that he Is still having episodes of delirium, which
are felt most likely due to him currently having alcohol withdrawal symptoms. The attending M.D.
said that they are actively treating his medical conditions to try to determine his medical baseline,
and that it is too early for psychiatry to do a definitive evaluation of the patient, but that he (Dr.
Lozada) wlll page us, 61-1208, when the patient Is approaching being able to be medically cleared. At
that time, we will do a psychiatry evaluation to determine if his 302 can be upheld, and if he needs to
be transferred for psychiatric hospitalization. Apparently he also has legal charges, so he may be
returned to the custody of legal authorities at that time.
Primary Care Provider
Doctor.None (FAMILY)
Attending Physician
Littman, Mario, MD

Review of Systems
Unable to Obtain: Altered Mental status

Past Medical History
Medications
Home Meds Reviewed: Yes
Drug & Alcohol Use

PATIENT: EFUNNUGAOLUTOKUNBO
CC:
REPORT#: 1019-0298
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                 Psychiatric Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                        MR#: F001250247




 Drug/Class                 Last Use            Amount Used       Route   Frequency        Duration of Use
      o Alcohol
      o Marijuana
      o Cocaine/Crack
      o Opiates
      o Benzodiazepines

      o PCP
      o other


Compliant with Meds & OP Tx: No
Active Meds Reviewed: Yes

Allergies
Coded Allergies:
  No Knoon Allergies (Unverified. 10/12/16)

Family History
Diabetes mellitus
 MOTHER, Onset:Unknown
 UNCLE, Onset:Unknown
 AUNT, Onset:Unknown
Glaucoma
Hypertension
 UNCLE, Onset:Unknown
 AUNT, Onset:Unknown

Physical Exam
                                           Vital Signs, Last Documented
        Date Time        Temo     Pulse   Re so B/P        Pulse Ox 02 Deliverv       02 Flow Rate   Fi02
       10/19/16 13:00                98     35 131/56            95 Nasal Cannula             2.00
       10/19/1612:00      38.5
       10/15/1619:00                                                                                   40

Weight in Kg
93.00
                                                        Bedside Blood Glucose
10/19/1611:11: POC Glucose 130

Mental Status Exam
Mental Status Exam
Appearance: : Appears Stated Age: Lethargic
Eye Contact: None


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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                        Mercy Fitzgerald Hospital
                               Psychiatric Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                         MR#: F001250247



Attitude Toward Examiner: Other
Level of Consciousness: stuporous
Orientation: : Other
Affect: : Other
Mood: : other
Speech: other
Rate of Speech:
Thought Process: other
Thought Content: other
Associations:
Lethality Suicide:
Lethality Honicide:
Memory:
Estimate of Intelligence:
Capacity for Judgment: Poor Activities Daily Living, Poor Social Activities
Insight to Psych Condition:

Activities of Daily Living
Sleep: Fairly Good

Results
                                                         Lab Results, CBC Diagram
10/19/16 05:45




                                                         Lab Results, BMP Diagram
10/19/16 05:45




Impression and Plan
Severity of Illness
1 :1 Observation: Yes
Danger to Self Evidenced By
Patient attempted to elope and his attending In the felt It would be a danger to him medically If he did
so.
Change in Symptoms: No Change

Assessment

PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 101 S.0298
REPORT STATUS: Signed
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                         Mercy Fitzgerald Hospital
                                   Psychiatric Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247



Mini Mental Status Exam: Not Done
Axis I:
(1) Drug abuse
Axis II:
(1) Antisocial personality disorder in adult
Axis Ill:
(1) Alcohol withdrawal delirium
(2) Suicidal overdose
Axis IV:
Patient Problems:
Additional Comments
Please page me, 61-1208, if you have questions, and when the patient is felt to be approaching being
medically stable and at his baseline. I will then do a psychiatric evaluation related to his 302.


THOMPSON, TROY L MD                                                          Oct 19, 2016 13:42

         <Electronlcally signed by TROY L THOMPSON, MD> 10/19/16 1348




THOMTR I TT I DD 10/19/161342 / DT 10/19/16 1342




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1019-0298
REPORT STATUS: Signed
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                                                 Mercy Fitzgerald Hospital
                                                      General Surgery Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247
ACCT: FA1307223089                               ADMIT DATE: 10/07/16
REPORT#: 1021-0001                               DOB: 03/06/1979
ROOM/BED: 417-02
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                                 *** Signed Status ***

HPI
Encounter Date & Time
10/21/16 00:01
Service: Cardiothoracic Surgery
Chief Complaint
R loculated pleural effusion
History of Present Illness
37M with past history of HIV, anxiety, and polysubstance abuse who was admitted after being found unresponsive at
home. He has intubated on arrival and has had a two-week ICU course for recovery from this suicide attempt. He was
extubated on 10/15/16. Since that time his chest x-rays have demonstrated right lower lobe consolidation and
increasing right pleural effusion. 2 attempts were made for IR thoracentesis, the first being on 10/18/16 which was
aborted due to vigorous coughing and the patient's inability sit still and the second attempt being on 10/20/16 which
only yielded 2 ml of serous fluid. Chest CT performed on 10/20/16 demonstrates a small to moderate loculated right
effusion Thoracic surgery is being consulted for evaluation and possible intervention for the patient's right loculated
pleural effusion.

At time of exam the patient is resting comfortably in bed. He reports intermittent bouts of shortness of breath and
dyspnea on exertion. He also reports cough productive of greenish sputum. He denies fevers, chills, sweats, chest
pain, hemoptysis, wheezing, orthopnea, pleuritic chest pain, nausea, vomiting, constipation, diarrhea, dysuria.

On exam the patient appears to be short of breath as he is tachypneic and whispering. Respiratory rate is in the 30s,
heart rate is in the 110s, and most recent temperature is 39.2°C. His oxygen saturation at this time is 95% on 2 L
nasal cannula. Lungs with good air movement and equal expansion bilaterally, but diminished breath sounds at
bilateral bases.
Primary care Provider
Doctor.None (FAMILY)
Attending Physician
Littman, Mario, MD

Past Medical Historv
Allergies
Allergies:
Coded Allergies:
   No Kncmn Allergies (Unverified. 10/12/16)

Medical History
Medical History:
(1) Loculated pleural effusion
(2) HIV (human immunodeficiency virus infection)


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                 General Surgery Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



(3) Suicide and self-inflicted poisoning by drugs and medicinal substances
(4) Drug overdose
(5) Anxiety
(6) Polysubstance abuse
History of Cancer:
Surgical History:
Procedural History:

Family History
Patient History:
Diabetes mellitus
 MOTHER, Onset:Unknown
 UNCLE, Onset:Unknown
 AUNT, Onset:Unknown
Glaucoma
Hypertension
 UNCLE, Onset:Unknown
 AUNT, Onset:Unknown

Review of Systems
Constitutional: : Fatigue: General WeaknessDenies: Appetite Loss, Chills, Fever, Malaise, Night Sweats
Head and Neck: Denies: Headache
Respiratory: : Cough: SOB: SOB with Exertion: Sputum ProductionDenies: Hemoptysis, Orthopnea, Pleuritic Pain,
Stridor, Wheezing
Gastrointestinal: : Passing GasDenies: Abdominal Pain, Constipation, Diarrhea, Nausea, Poor Appetite, Poor Fluid
Intake, Vomiting
Genitourinary: Denies: Dysuria

Physical Exam
                                           Vital Signs, Last Documented
        Date Time        Temo     Pulse   Re so B/P        Pulse Ox 02 Deliverv         02 Flow Rate     Fi02
       10/20/16 23:00              122      37 124/54            98 Nasal Cannula               6.00
       10/20/1619:58      39.2

Weight in Kg
93.00
                                                           Bedside Blood Glucose
10/20/16 22:41: POC Glucose 120
Physical Exam
General: no apparent distress, appears stated age
HNT: moist mucous membranes
Eyes: sclera anicteric
Thorax: appears to be short of breath as he is tachypneic and whispering. Respiratory rate is in the 30s and oxygen
saturation at this time is 95% on 2 L nasal cannula. Lungs with good air movement and equal expansion bilaterally,
but diminished breath sounds at bilateral bases.


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1021-0001
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                        Mercy Fitzgerald Hospital
                                General Surgery Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



cardiovascular: no jugular venous distension, no murmurs, pulse regular rate and rhythm
Abdomen: soft, non-tender, non-distended, bowel sounds noted
Neurologic: alert/awake/oriented, grossly no abnormalities

Results
                                                            Lab Results, CBC Diagram
10/20/16 04:15




                                                            Lab Results, BMP Diagram
10/20/16 04:15

                                          cJ3!:::f     gg
                                          ""4':71 25
Imaging
Order Date:      10/20/16
Procedure Reason: fevers, rule out empyema

Exam: CT Chest W

                                         *** Signed Status ***
IMPRESSION:
1. Extensive consolidation throughout bilateral lower lobes most concerning for aspiration.
2. Small cavitary component in left lower lobe. Large cavitary component in superior segment of the right lower lobe
measuring up to 6.4 cm. Underlying bronchopleural fistula is not excluded. Recommend short-term follow-up with
chest CT.
3. Small to moderate loculated right effusion with underlying hydropneumothorax from recently performed
thoracentesis. The pleural effusion could be parapneumonic or could represent empyema. Correlate with the result of
recently performed thoracentesis.

INDICATION: 37 years old; Male. Symptom/Location/Duration: Right-sided chest pain and fever, suspect empyema.
Past medical history of HIV Patient is status post right thoracentesis performed today.

TECHNIQUE: CT CHEST; axial, coronal, sagittal, MIP reformats. Contrast IV (lsovue-370): 64 ml. Comparison:
Multiple prior chest x-rays dating back to 1017/2016, the most recent 10/19/2016.

FINDINGS:
LOWER NECK: No thyroid nodule or adenopathy.
MEDIASTINUM: Right upper paratracheal adenopathy measuring 2.2 x 1.4 cm (series 3 image 16).
PULMONARY ARTERIES: No central PE. Main PA: Normal size. 2.9 cm (normal <3 cm).


PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1021-0001
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PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



THORACIC AORTA: Normal size, 2.2 cm max diameter (normal male ascending <4 cm; descending <3 cm). Aortic
valve: No leaflet calcifications.
HEART: Coronary arteries: No calcified plaque. Left atrium: Normal size, 6 cm transverse diameter (normal <7.3
cm). Trace pericardia! effusion. Left-sided PICC line terminates in right atrium.
LUNGS/AIRWAYS/PLEURA: Mild emphysema. Small to moderate right loculated pleural effusion with gas within the
pleural space representing hydropneumothorax from recently performed thoracentesis. Extensive consolidation
throughout bilateral lower lobes most concerning for aspiration. There is a small cavitary component in left lower lobe
measuring 2.6 cm. There is a larger cavitary component involving the superior segment of the right lower lobe
measuring up to 6.4 cm. Few scattered nodules throughout both lungs likely part of the same process.
UPPER ABOOMEN: No free air or ascites in visualized abdomen. Partially visualized feeding tube with the tip below
the diaphragm.
MSK: No fracture or malalignment. No lytic or blastic lesions.

Impression and Plan
Problem List:
(1) Loculated pleural effusion
(2) HIV (human immunodeficiency virus infection)
(3) Suicide and self-inflicted poisoning by drugs and medicinal substances
(4) Drug overdose
(5) Anxiety
(6) Polysubstance abuse
Chronic Problems:
Plan
37M with past history of HIV, anxiety, and polysubstance abuse who was admitted after being found unresponsive at
home. He has intubated on arrival on 10/17/16 and was extubated on 10/15/16. Since that time his chest x-rays have
demonstrated right lower lobe consolidation and an increasing right pleural effusion, leading to failed attempts at IR
drainage. Chest CT performed on 10/20/16 demonstrates a small to moderate loculated right effusion. Thoracic
surgery is being consulted for evaluation and possible intervention for the patient's right loculated pleural effusion.

-Failed IR thoracentesis due to loculated pleural effusion
-Recommend conservative management for now
-Continue antibiotics as it is important to treat the underlying source of pneumonia. The patient is currently on
Ceftriaxone with gentamicin and Flagyl having been recently added
-No acute surgical intervention at this time
-Follow-up chest CT in a few days to monitor progression of the disease
-At that time, the patient will be reevaluated in order to make a recommendation of pigtail/chest tube insertion with
TPA and dornase for drainage of the loculated material versus operative intervention
-This plan has been discussed with and agreed upon by Dr. Shariff who will evaluate the patient on rounds
-Management per CCU                                  team
-Thank you for this consult


SALi M,ANDREW N MD                                                            Oct 21, 2016 12:01 am

        <Electronically signed by ANDREW N SALIM, MD> 10/21/16 0537
        <Electronically signed by HA.JIM SHARIFF, MD> 10128/16 1143



PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
REPORT#: 1021-0001
REPORT STATUS: Signed
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                          Mercy Fitzgerald Hospital
                                    General Surgery Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247




SALIAN I ANS I DD 10/21116 0001 /OT 10121/16 0001




PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
REPORT#: 1021-0001
REPORT STATUS: Signed
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                                                 Mercy Fitzgerald Hospital
                                                     Cardiology Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                  MR#: F001250247
ACCT: FA1307223089                              ADMIT DATE: 10/07/16
REPORT#: 1024-0088                              DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN, MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                                ***Signed Status***


Consult HPI
Encounter Date & Time
10/24/16 07:47
 (KUMAR,NITISH MD)
Source: Patient
HPI
37M with a PMH of HIV, Depression, Polysubstance abuse initially presented on 1017/16 after being found
unresponsive at home. He was intubated in the ED for airway protection and was being managed in the ICU for
acute respiratory failure. UDS was positive for TCA, Cocaine and Marijuana. He has had a prolonged ICU course
during which he developed aspiration PNA, ARDS and also strep bacteremia. LP was also done which was negative
for meningitis. He failed extubation multi pie times but was eventually successfu Ily extubated on 10/15. CXR
demonstrated right lovver lobe consolidation and worsening right pleural effusion. CT Chest showed aspiration PNA
and right sided empyema. Thoracocentesis only yielded 2mL of serous fluid. His antibiotics have been adjusted by
the ID service and he is currently on Cefepime, Flagyl and Cefepime. Recently he has been spiking high fevers and
continues to be tachycardic/tachypneic. Blood culture from 3 days ago negative. TTE from 10/23 was negative for
any vegetation. Normal LVEF. Cardiology was consulted for possible TEE to rule out infective endocarditis.

At the time of my assessment in the ICU, patient is resting comfortably. He does complain of cough with some
yellowish-whitish sputum but denies any chest pain, shortness of breath. He does complain of mild left lower quadrant
pain. He also spiked a fever overnight and was given Tylenol.
 (KUMAR,NITISH MD)

Past Medical History
Medical History
Medical History:
(1) Alcohol withdrawal delirium
(2) HIV (human immunodeficiency virus infection)
(3) Toxic encephalopathy
(4) Suicidal overdose
(5) Pleural effusion
(6) LFTs abnormal
(7) Loculated pleural effusion
(8) Alcohol withdrawal
(9) Anxiety
(10) Polysubstance abuse
(11) Antisocial personality disorder in adult
( 12) Empyema
(13) Drug overdose
(14) Drug abuse


PATIENT: EFUNNUGA,OLUTOKUNBO
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PATIENT: EFUNNUGA,OLUTOKUNBO                                       MR#: F001250247



(15) Acute respiratory failure with hypoxia and hypercapnia
(16) On mechanically assisted ventilation
(17) AKI (acute kidney injury)
(18) Lactic acidosis
(19) Rhabdomyolysis
(20) Aspiration pneumonia
(21) Suicide and self-inflicted poisoning by drugs and medicinal substances
(22) Bacteremia
(23) Nicotine dependence
(24) Hyponatremia
(25) Oral thrush
(26) Urinary retention
(27) Delirium, acute
cardiovascular History:
Surglcal History:
Procedural History: (KUMAR.NITISH MD)

Allergies
Coded Allergies:
   No Known Allergies (Unverified, 10/12/16)

Family History
Patient History:
Diabetes mellitus
 MOTHER, Onset:Unknown
 UNCLE, Onset:Unknown
 AUNT, Onset:Unknown
Glaucoma
Hypertension
 UNCLE, Onset:Unknown
 AUNT, Onset: Unknown (KUMAR,NITISH MD)
Patient History:
Diabetes mellitus
 MOTHER, Onset:Unknown
 UNCLE, Onset:Unknown
 AUNT, Onset:Unknown
Glaucoma
Hypertension
 UNCLE, Onset:Unknown
 AUNT, Onset:Unknown (MENETREY,JAMMIE E DO)
Social History
Smoking Status: Never Smoker
Recreational Drug Use: Cocaine, Marijuana
(KUMAR,NITISH MD)



PATIENT: EFUNNUGA,OLUTOKUNBO
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                                 Cardiology Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                        MR#: F001250247



Review of Systems
Constitutional: : FeverDenies: Appetite Loss, Chills, General Weakness, Lightheadedness
Head and Neck: Denies: Headache
Eyes: Denies: Photophobia, Red Eye
Ears, Nose, Mouth, Throat: Denies: Hoarseness, Postnasal Drainage
Neurological: Denies: lncoordination, Memory Problems, Numbness, Tingling
Cardlology: Denies: Claudication, Exercise Intolerance, Exertional Dyspnea, Lightheadedness, Palpitations
Respiratory: : Breathing Improved: Cough: Sputum ProductionDenies: lncisional Pain, Orthopnea, Pleuritic Pain,
SOB, SOB with Exertion, Wheezing
Gastrointestinal: : Poor Appetite: Poor Fluid lntakeDenies: Bloody Stools, Melena, Nausea, Reflux, Vomiting
Genitourinary: : Voiding FreelyDenies: Urinary Frequency, Urinary Urgency
Musculoskeletal: Denies: Back Pain, Muscle Weakness
lntegumentary: : Dryness (KUMAR,NITISH MD)

Physical Exam
                                              Vital Signs 24 Hours
       Date Time         Temo     Pulse   Re so B/P      Pulse Ox 02 Deliverv        02 Flow Rate    Fi02
      10/24/16 07:00               111      24  123/75        100 Nasal Cannula              2.00
      10/24/16 06:00               111      28  120/70         99 Nasal Cannula              2.00
      10/24/16 05:00               109      25  132/73        100 Nasal cannula              2.00
      10/24/16 04:00                                               Nasal Cannula             2.00
      10/24/16 04:00      37.6     109      27 117/66          98 Nasal Cannula              2.00
      10/24/16 03:00      37.8     119      32 127/64          98 Nasal Cannula              2.00
      10/24/16 02:00      38.1     130      38 145/69          97 Nasal Cannula              2.00
      10/24/16 01 :00              114      32 120/62         100 Nasal Cannula              2.00
      10/24/16 00:00      37.1     113      30 118/62         100 Nasal Cannula              2.00
      10/24/16 00:00                                               Nasal Cannula             2.00
      10/23/16 23:00               111      33 132/62          98 Nasal Cannula              2.00
      10/23/16 22:00               116      33 138/79         100 Nasal Cannula              2.00
      10/23/16 21 :00              112      32 132/72          98 Nasal Cannula              2.00
      10/23/16 20:00      36.9     121      30 141/60          99 Nasal Cannula              2.00
      10/23/16 20:00                                           98 Nasal Cannula              2.00
      10/23/16 20:00                                               Nasal Cannula             2.00
      10/23/1619:00                113      33 137177          99 Nasal Cannula              2.00
      10/23/1618:00       37.1     111      26 127/65          99 Nasal Cannula              2.00
      10/23/1617:00                111      38 125176          99 Nasal cannula              2.00
      10/23/16 16:00                                               Nasal Cannula             2.00
      10/23/16 16:00               115      37 120/67          99 Nasal Cannula              2.00
      10/23/1615:00       38.1     118      37 132/70          99 Nasal Cannula              2.00
      10/23/16 14:00               123      41 131/73          99 Nasal Cannula              2.00
      10/23/16 13:00      38.2     121      31 141/65         100 Nasal Cannula              2.00
      10/23/1612:00                112      28 111/61         100 Nasal Cannula              2.00
      10/23/16 12:00                                               Nasal Cannula             2.00
      10/23/16 11 :OO              114      30 112/56          99 Nasal cannula              2.00
      10/23/1610:00                121      30 116/63          98 Nasal Cannula              2.00


PATIENT: EFUN NUGA,OLUTOKUNBO
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                               Cardiology Consultation

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       10/23/16 09:03                                                  Nasal cannula          2.00
       10/23/16 09:00            127      41   117/69            99    Nasal cannula          200

(KUMAR,NITISH MD)
Weight in Kg
93.00
                                                           Bedside Blood Glucose
10/24/16 04:34: POC Glucose 83
(KUMAR,NITISH MD)
Physical Exam
General: no apparent distress, appears stated age
HEENT: PERRLA, EOMI, No conjunctiva! injection
Thorax: Decreased breath sounds R>L, No wheezing, Some crackles at the right lower base
Cardiovascular:S1S2, Tachycardia, Rhythm regular, Mild systolic murmur at the LUSB?
Abdomen: Soft, non tender, bowel sounds noted, Mild TTP in LLQ
Musculoskeletal: no gross deformities
Neurologic: alert/awake/oriented, grossly no abnormalities
(KUMAR.NITISH MD)

Results
                                                        Lab Results, CBC Diagram
10/24/16 04:50




                                                        Lab Results, BMP Diagram
10/24/16 04:50




Diagnostics Reviewed: Yes
(KUMAR,NITISH MD)

Impression and Plan
Problem List:
(1) Fever
(2) Tachycardia
(3) Aspiration pneumonia
(4) Delirium, acute
(5) Empyema
(6) Suicidal overdose
(7) Polysubstance abuse


PATIENT: EFUNNUGA,OLUTOKUNBO
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                                Cardiology Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



(8) HIV (human immunodeficiency virus infection)
(9) Antisocial personality disorder in adult
Chronic Problems:
Additional Comments

- Admitted to the ICU for acute hyi:oxemic and hypercapnic respiratory failure on 10/7/16. Prolonged and complicated
ICU course. Multiple attempts at failed extubation. Successfully extubated on 10/16
- Currently being treated for Aspiration PNA + Em pyema noted on CT Chest
- Initial blood culture positive for Strep Mitis/Oralis. Repeat blood cultures from 3 days ago - > Negative
- Respiratory culture[10/19]: Enterobacter and strep group C
- Respiratory culture[10/21]: Normal flora
- Antibiotic regimen: Cefepime, Flagyl, Metronidazole
- TTE[10/23]: showed normal LVEF, No valvular vegetation
- As per DUKE's criteria:
        o Patient meets 1/2 major criteria - Initial blood culture positive for strep mitis/oralis, most recent
           negative. No blood cultures drawn within the last 12 hours that are positive. Strep mitis/oralis is
           Group A Streptococci, optochin resistant. TTE x 2 negative for any vegetations, normal LVEF.
        o Patient meets 2 Minor criteria: IVDU, Fever. No evidence of Osler nodes, Janeway lesions on physical
           examination- > Low clinical suspicion for IE as the cause of fever, tachycardia but reasonable to rule
           it out in view of some risk factors being present
        o Fever, Tachycardia most like multifactorial - pain, infection etc. Suspect Empyerna as a possible
           culprit
- Plan: Will coordinate TEE today with Anesthesia and Surgery
 (KUMAR,NITISH MD)
Additional Comments
I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:

I the pleasure of seeing Olutokunbo Efunnuga in initial cardiac consultation. He's a 37-year-old male with a history of
polysubstance abuse, HIV and depression IJ\lho presented to the emergency department just over 2 weeks ago after
being found down and unresponsive. His subsequently found to have a urine drug screen that was positive for
multiple substances in addition to aspiration pneumonia, ARDS and strep bacteremia. He suddenly developed a
loculated right-sided pleural effusion that was not able to be resolved with thoracentesis. He continues to have fevers
despite clearing of his blood cultures. cardiology is consulted to consider TEE to rule out infectious endocarditis.
Currently he is denying any pain or discomfort. He denies shortness of breath, palpitations and abdominal pain.

Diaphoretic, MM M
No carotid bruits or JVD
Decreased breath sounds in the bases bilaterally, worse on the right than the left
Tachycardic but regular rhythm, 81 and 82 preserved, 1/6 systolic murmur left sternal border, no rub or gallop
Brachia! pulses are full in volume and normal in contour bilaterally
Abdominal aorta is not pulsatile or enlarged
No lower extremity edema
Normoactive bowel sounds, soft, nontender
Cranial nerves II through XII and sensation are grossly intact
lntegumentary is warm and well-perfused, no diaphoresis or rash



PATIENT: EFUNNUGAOLUTOKUNBO
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                                   Cardiology Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                              MR#: F001250247



ECG on 10/20/16, reviewed by me: Sinus tachycardia, LVH, RV conduction delay

10/21/16 echocardiogram: Normal biventricular systolic function. No significant valvular abnormalities. Elevated
PASP.

Strep bacteremia: Repeat blood cultures are negative however there is concern for endocarditis given the strep
species and recurrent fevers in this patient who has polysubstance abuse. Transthoracic echocardiography x2 has
not demonstrated any infectious endocarditis. Plan for TEE today in coordination with anesthesia and surgery as the
patient scheduled for VATS.

Tachycardia: This is likely physiologic in that he is intermittently febrile and with episodes of delirium and likely and
withdrawal.

Thank you for allowing me to participate in the care of this patient. If you have any questions or concerns please feel
free to contact me or anyone from the Mercy cardiology team.
 (MENETREY,JAMMIE E DO)


KUMAR,NITISH MD                                                                   Oct 24, 2016 07:52
MENETREY,JAMMIE E DO                                                              Oct 24, 2016 08:24

        <Electronically signed by NITISH KUMAR, MD> 10/24/16 0911
        <Electronically signed by JAMMIE E MENETREY, DO> 10/24/16 0925




KUMAN101 INK I DD 10124/16 0752 /OT 10/24/16 0752




PATIENT: EFUN NUGA,OLUTOKUNBO
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                                                   Mercy Fitzgerald Hospital
                                                       Pulmonology Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                     MR#: F001250247
ACCT: FA1307223089                                 ADMIT DATE: 10/07/16
REPORT#: 1025-0266                                 DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN, MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                   ***Signed Status***


HPI
Encounter Date & Time
10/25/16 12:43
Service: Pulmonology
Chief Complaint
Admitted with change in mental status, reportedly suicide attempt
History of Present Illness
37-year-old male, admitted on the seventh with change in mental status. Found with cocaine and marijuana in his
pocket. Reportedly apneic but with the pulse. Intubated in the emergency room. Suspected suicidal attempt, sister
found a note saying he wanted to be cremated. Treated for pneumonia, empyema, now status post VATS. Just
extubated this morning. Patient complains of pain at surgical site. History of asthma.
Primary care Provider
Doctor, None (FAMILY)
Attending Physician
Littman, Mario, MD

Past Medical Historv
IVledications
Active Meds Reviewed: Yes

Allergies
Allergies:
Coded Allergies:
      No KnONn Allergies (Unverified, 10/12/16)

Medical History
Medical History:
(1) Anxiety
(2) Polysubstance abuse
(3) Antisocial personality disorder in adult
(4) HIV (human immunodeficiency virus infection)
History of Cancer:
Surgical History:
Procedural History:
Past Medical History: Reviewed Problem List
Past Surgical History: Revievved Problem List

Family History

PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1025-0266
REPORT STATUS: Signed
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                         Mercy Fitzgerald Hospital
                                  Pulmonology Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247



Patient History:
Diabetes mellitus
 MOTHER, Onset:Unknown
 UNCLE, Onset:Unknown
 AUNT, Onset:Unknown
Glaucoma
Hypertension
 UNCLE, Onset:Unknown
 AUNT, Onset:Unknown

Social History
Recreational Drug Use: Cocaine, Marijuana

Review of Systems
Unable to Obtain: just extubated, and in pain, not very communicative

Physical Exam
                                            Vital Signs, Last Documented
        Date Time         Temo     Pulse   Reso B/P         Pulse Ox 02 Oeliverv         02 Flow Rate     Fi02
       10/25/16 12:00      36.8     121      30 121/67            98 Nasal Cannula                 4.00
       10/25/16 11 :00                                                                                      40

Weight In Kg
80.00
                                                           Bedside Blood Glucose
10/25/16 10:55: POC Glucose 90
Physical Exam (Structured)
General Appearance: : No Acute Distress
Eye Exam: : EOMI: PERRL
HENT Comments
No pallor or icterus
Neck: : Supple
JugularVenous Distention: Absent
Lymphadenopathy Comments
No palpable cervical adenopathy
Respiratory Effort: : Normal
Lung Sounds: : CT A Bilateral (with decreased breath sounds particularly on the right side, right-sided chest tube,
serosanguineous drainage)
Cardiac Rhythm: Regular
Heart Sounds: : Normal
Lower Extremity Edema: Bilateral: None
Abdomen: : Non-tender: Soft
Neurological Comments
No focal \IVeakness


PATIENT: EFUN NUGA,OLUTOKUNBO
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                        Mercy Fitzgerald Hospital
                                Pulmonology Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



Affect: : Flat

Results
                                                            Lab Results, CBC Diagram
10/25/16 05:55




                                                            Lab Results, BMP Diagram
10/24/16 17:30

                                          ~16
                                          5:823 1.1
10/25/16 05:55


                                          8B*416 ~
                                            5.9        27         1.2    ~

10/25/16 08:29

                                          ~16
                                            ~1.2

Lab Results
                                                            Arterial Blood Gas
10/7/1617:00:
Venous Blood pH 7.43, Venous Blood pH (Temp Corrected) 7.43, Venous Blood Partial Pressure C02 47.1, Venous
Blood pC02 (Temp Corrected) 47.1, Venous Blood Partial Pressure 02 91.1, Venous Blood p02 (Temp Corrected)
91.1, Venous Blood HC03 31.3, Venous Bid 02 Saturation (Measured) 97.2, Venous Blood Base Excess 6.2,
Bedside Sodium (Blood Gas) 139, Bedside Potassium (Blood Gas) 6.0, Bedside Chloride (Blood Gas) 104, Ionized
Calcium (Blood Gas) 1.12
10/8/16 06:15: Allen Test Pas
10/24/16 17:00:
Arterial Blood pH 7.41, Arterial Blood pH (Temp corrected) 7.41, Arterial Blood Partial Pressure C02 40.6, Arterial
Blood pC02 (Temp correct) 40.6, Arterial Blood Partial Pressure 02 104, Arterial Blood p02 (Temp corrected) 104,
Arterial Blood HC03 25.4, Arterial Bid 02 Saturation (Measur) 97.8, Arterial Blood Base Excess 0.7, Arterial Blood
Hematocrit 38.6, Arterial Blood Sodium 127, Arterial Blood Potassium 8.6, Chloride (Blood Gas) 100, Ionized
Calcium (Measured) (Bid Gas 1.07, Lactate (Blood Gas) 1.0, Blood Gas Temperature 98.6, Oxygen Delivery Device
0 na, Blood Gas Ventilator Setting 16, Fi02 50 0, Blood Gas Tidal Volume 450, Blood Gas PEEP 5 0
Strep mitis on blood cultures, sputum cultures positive for staph aureus, and latest with Enterobacter
Imaging


PATIENT: EFUN NUGA,OLUTOKUNBO
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                         Mercy Fitzgerald Hospital
                                    Pulmonology Consultation

PATIENT: EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247



Chest x-ray reviewed-Right-sided chest tube, bilateral pleural effusions, improved consolidation right upper lobe

Impression and Plan
Problem List:
(1) Aspiration pneumonia
(2) Bacteremia
(3) Empyema
(4) SIP thoracotomy
(5) Acute respiratory failure with hypoxia and hypercapnia
Impression and Plan: Now extubated
(6) Suicidal overdose
(7) Polysubstance abuse
(8) Antisocial personality disorder in adult
(9) HIV (human immunodeficiency virus infection)
Chronic Problems:
Plan
IV antibiotics, follow temp. Analgesia, and senna spirometry. Out of bed as tolerated. Discussed with Dr. Valentino
Condition: Guarded


PILLAI.AJAY R, MD                                                              Oct 25, 2016 12:49

         <Electronically signed by AJAY R PILLAI, MD> 10/25/16 1252




PILLAJ I ARP I DD 10/25/161249 /OT 10/25/16 1249




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1025-0266
REPORT STATUS: Signed
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                                    Mercy Fitzgerald Hospital
                                              Consultation

Patient: EFUNNUGA,OLUTOKUNBO                           MR# F001250247
DOB: 03/06/1979          Sex: M                        Acct# FA1307223089
Room/Bed: 411-02

                                          *** Signed Status ***

DATE OF CONSULTATION: 10/28/2016

HISTORY OF PRESENT ILLNESS:
The patient is a 37-year-old gentleman with underlying HIV who has been found unconscious by his sister
and was admitted on 10/0712016. The patient apparently reportedly has attempted suicide. He has a remote
history of vocal cord paralysis. He has been intubated while in the hospital. He has known vocal cord
paralysis that he indicates has been evaluated many times. Denies any changes in his symptoms. He
denies any shortness of breath or stridor. I have spoken with the internal service who indicates the same.
The patient has not had any stridor. ENT is consulted to look at the vocal cords. The patient's imaging CT of
the head and current history is reviewed in the chart. There is a past history of HIV with no history of
smoking, but admits for marijuana and alcohol use on a daily basis. The patient at the moment, blood results
are reviewed.

CURRENT MEDICATIONS:
Reviewed.

HOME MEDICATIONS:
Are also reviewed.

PHYSICAL EXAMINATION:
GENERAL: At the moment, the patient is lying on the bed without distress. He is changed to the bed
because of his suicidal attempts and guarded by security here in the hospital. I have examined the patient
with the medical officer.
NECK: Without adenopathy.
HEENT: Oral and oropharyngeal shows thrush formation that is improving with the treatments. Nasal
cavities shows pale turbinates. Nasopharyngolaryngoscopy is attempted, but patient is uncomfortable. He
has no evidence of stridor. His nasal cavities are decongested and repeat nasopharyngolaryngoscopy shows
right vocal cord paralysis, but left cord is moving adequately and feeling well, no lesion is noted. No masses
are appreciated. Remaining head and neck exam is normal.

Given the fact that patient has improved eating today. Apparently, he had feeding tube that has been
discontinued and today, he has done better with eating without symptoms of aspiration and given also the
fact that patient's vocal cord paralysis is chronic and he does not have any stridor. His vocal cord workup
can be followup as an outpatient. At the moment, aspiration precautions with diet modification and speech
therapy to improve the quality of the vocal cords are essential. I have relayed this to the primary seNice and
if the patient ever developed shortness of breath or stridor, airway needs to be established regularly and the
patient should be prepared for tracheostomy if such a negative progression occurs in his health over the next
few days.



DICTATED BY: Mahmoud Ghaderi, DO

Job #:318986 Doc #:687807

                                  <Electronically signed by MAHMOUD GHADERI, DO> at 10/31/161321


cc:
REPORT#: 1028-0337
REPORT STATUS: Signed
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                                       Mercy Fitzgerald Hospital
                                                  Consultation

Patient: EFUNNUGA,OLUTOKUNBO                            MR# F001250247
                                                        GHADERI, MAHMOUD DO

GHADMA I NE I DD 10/281161609 / DT 10128/161632




CC:
REPORT#: 1028-0337
REPORT STATUS: Signed
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                                             Mercy Fitzgerald Hospital
                                                 Discharge Summary
PATIENT: EFUNNUGA,OLUTOKUNBO                              MR#: F001250247
ACCT: FA1307223089                          ADMIT DATE: 10/07/16
REPORT#: 1101-0331                          DOB: 03/06/1979
ROOM/BED: 411-02
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                             *** Signed Status ***

Discharge Summary
Admission Date
Oct 7, 2016 at 08:13
Discharge Date

Discharge Disposition

Attending Physician
Littman, Mario, MD
Primary care Physician
Doctor, None (FAMILY)
Primary Diagnosis:
(1) Acute respiratory failure with hypoxia and hypercapnia
Secondary Diagnoses:
(1) Abscess of lung with pneumonia
(2) Alcohol withdrawal dellrlum
(3) Suicidal overdose
(4) Loculated pleural effusion
(5) Empyema
(6) Suicide and self-inflicted poisoning by drugs and medicinal substances
(7) Bacteremia
(8) Severe sepsis
(9) Nicotine dependence
( 10) Hyponatremia
(11) Oral thrush
(12) Urinary retention
(13) Acute liver failure
(14) HIV (human immunodeficiency virus infection)
( 15) Drug overdose
(16) Rhabdomyolysis
( 17) Lactic acidosis
Allergies:
Coded Allergies:
    No Knoon Allergies (Unverified. 10/12/16)
New Medications:
Cephalexin (Cephalexin) 500 Mg Capsule
500 MG PO QSH Days 14 CAPSULE
Clotrlmazole (Clotrimazole) 10 Ml Solution
1 APPLIC TP 5XD Days 30 SOLUTION


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1101-0331
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                Discharge Surnnary

PATIENT: EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247



Latanoprost (Latanoprost) 2.5 Ml Drops
1 DROP EYE BOTH EVERY EVENING Days 30
metroNIDAZOLE (Flagyl) 500 Mg Tablet
500 MG PO BID Days 7 TABLET
Clotrimazole (Clotrimazole) 10 Mg Troche
10 MG MM 5XD Days 28
Folic Acid (Folic Acid) 1 Mg Tablet
1 MG PO DAILY Days 30 TABLET
Latanoprost (Latanoprost) 2.5 Ml Drops
1 DROP EYE BOTH EVERY EVENING 2.5 ML Days 28 DROPS
Metoprolol Tartrate (Metoprolol Tartrate) 25 Mg Tablet
6.25 MG PO 012 Days 30 TABLET
Multivitamin, Therapeutic (Thera) 1 Tab Tablet
1 TAB PO DAILY Days 30 TABLET
risperiDONE (risperiOONE) 2 Mg Tablet
2 MG PO BIO Days 30 TABLET
Thiamine HCI (Vitamin B-1) 100 Mg Tablet
100 MG PO DAILY Days 30 TABLET
traMADol HCI (traMADol HCI) 50 Mg Tablet
50 MG PO Q4H PRN SEVERE PAIN Days 20 TABLET

Discontinued Medications:
Latanoprost (Xalatan) 2.5 Ml Drops
1 DROP EYE BOTH EVERY EVENING 2.5 ML DROPS

Hospital Course
37 male history of glaucoma brought in to hospital unconscious by his sister. Patient was found with cocaine and
marijuana in his pocket. He was apparently found to be overdosed on TCA. He was admitted to the ICU and
intubated for respiratory failure. Blood cultures grew staphylococcus and he was started on IV anbiotics, including
vancomycin. He received a lumbar puncture which was negative. He received an echocardiogram which showed
ejection fraction of 45-50%. He was found to have CD4 count of 248, and known HIV. Patient was found to have a
right sided pneumonia likely secondary to aspiration. His antibiotics were adjusted. He was treated for alcohol
withdrawal as well. He was found to be in acute liver failure. Patient was 302'ed as he was suicidal. Transesophageal
echocardiogram completed did not show any vegetations. Due to his right sided empyema, he underwent a VATs
procedure for decortication. He tolerated the procedure, and was extubated and transferred to telemetry floors. His
cultures grew back and his antibiotics were transitioned to oral antibiotics. He is to complete a 14 day course of
cephalexin and 7 day course of flagyl. We have advised him to follow up with the surgical team as an outpatient. He
should also follow up in the HIV clinic for HAART treatment as an outpatient. His diet that he tolerated was
mechanical soft. He was evaluated by psychiatry again and his 302 was lifted. After discussing with infectious
disease from Delaware County Memorial Hospital, patient is to resume Triumeq (dolutegravir, abacavir lamivudine).
Follow up Referrals:
Cardiovasc Surg Ref- In 28 Days with Shariff,Haji M Md
Infectious Dis Ref - In 21 Days
Internal Medic Ref - In 14 Days

Time Spent with Patient: Greater Than 30 Minutes
Condition on Discharge: Fair


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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                      Mercy Fitzgerald Hospital
                               Discharge Surrmary

PATIENT: EFUNNUGA,OLUTOKUNBO                                    MR#: F001250247




SHETH,VISHAD MMD                                                      Nov 1, 201615:10

       <Electronically signed byVISHAD M SHETH, MD> 11/01/16 1526
       <Electronically signed by SAMMY HAMID, MD> 11/02/16 0428




SHETVl/VS/DD 11/01/161510/DT 11/01/161510




PATIENT: EFUNNUGAOLUTOKUNBO
CC:
REPORT#: 1101-0331
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                                                Mercy Fitzgerald Hospital
                                                    History & Physical

PATIENT: EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT: FA1307223089                             ADMIT DATE: 10/07/16
REPORT#: 1007-0125                             DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                                ***Signed Status***


History of Present Illness
Encounter Date & Time
10/7/16 09:01
Service: Internal Medicine
Primary care Physician
Doctor.None (FAMILY)
Attending Physician
Hamid Sammy MD
Accompanied By: Family Member
Source: Family, ED Physician
History Limitation: Clinical Condition
Chief Complaint
Unconsciousness
HPI
37 yo M with PMH of HIV and glaucoma was brought in by the EMS after finding unconscious by his sister. EMS
found cocaine and marijuana in his pocket. Patient was not breathing but had a pulse per the EMS. Patient did not
have cough or gag reflex per the ED. Patient received 1 amp of Narcan without any response. He was intubated in
the ED. Initial Accu-Chek in the field was within normal limits. His sister found a note saying "I want cremation
please". No psych history per the sister. Patient's sister saw him wel I the last time around 7 PM last night. No
psychological stressors per the sister.
Patienfs CT head and chest x-ray prelim report within normal limits. UDS positive for TCA, cocaine and marijuana.
VBG showed lactate of 3 5.
Patient is being transferred to ICU for further management.


Fri Oct 07, 2016 14:27
          DrngNrune                              Dose Ordered      Route        Status    Tbne

          etomidate                                      20MG      IV Push      Given     07:24 1017/2016
          Normal Saline                                lOOOML      IV Fluids    Given     07:23 1017/2016
          sm:cinyk:holine chloride injection            120MG      IV Push      Given     07:17 10/7/2016


Review of Systems
Unable to Obtain: Clinical Condition

Past Medical History


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1007-0125
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                 History & Physical

PATIENT: EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247



Medications
Home Meds Reviewed: No
Active Meds Reviewed: Yes
Medication Comments

                                                            Medications Active List
             Medications           Dose           Sig/Sch        Start Time      Status   Last Adm in
                                   Ordered                       stop Time
             Heparin Sodium        5,000 units    08             1017/16 13:00            10/7/16 13:54
             (Porcine) 5000
             units
             Propofol              100 ml@O       QOM PRN         1017/16 08:30
                                   mis/hr
             Fentanyl Citrate      50 mcg         Q2H PRN         1017/16 08:30
             50 mcQ
             Thiamine HCI/         101.2 ml@      DAILY          1017/16 10:30            1017/1611:19
             Folic Acid/Sodium     100 mis/hr
             Chloride


Allergies
Coded Allergies:
  Unable to Assess (Unverified, 10/7/16)

Medical History
Medical History:
(1) HIV (human immunodeficiency virus infection)
History of Cancer:
Surgical History:
Procedural History:
Past Medical History: Reviewed and Updated Problem List

Social History
Smoking Status: Never Smoker
Alcohol Use: Daily (unkn011Vn but the amount)
Recreational Drug Use: Marijuana

Physical Exam
VITAL SIGNS Fri0ct07, 201607:17Tieme, RN, Dawn
                          Temp: 95.0 (Rectal), Time: 10/7/2016 07:17.


                           f   Pain: 0 (No Complaint of Pain), Time: 10/7/2016 07:28.     f




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
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                         Mercy Fitzgerald Hospital
                                   History & Physical

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



          I BP: 139/94, Pulse: -120-, Resp: -20-, 02 sat: -100- on Ventilator, Time: 1017/2016 07:44.
               I I BP: 146/98, Pulse: -120-, Resp: -15-, 02 sat: -100-, Time: 1017/2016 07:39. I
              I I BP: 149/96, Pulse: -120-, 02 sat: -100- on Ventilator, Time: 10/7/2016 07:37. I
          I RP: 144/97, Pulse: -119-, Resp: -20-, 02 sat: -100- on Ventilator, Time: 10/7/2016 07:46.
          I BP: 113179, Pulse: -116-, Resp: -18-, 02 sat: -100- on Ventilator, Time: 10/7/2016 08: 59.
          I RP: 142/91, Pulse: -119-, Resp: -20-, 02 sat: -100- on Ventilator, Time: 10/7/2016 07:51.


                                              Vital Signs, Last Documented
             Date Time      Tern      Pulse    Res     B/P Pulse Ox 02 Deliver     02 Flow Rate   Fi02
           10/7/16 07:20                         18                                                100

Weight in Kg

                                                           Bedside Blood Glucose
10/7/16 07:07: POC Glucose 109
Physical Exam
GENERAL: Intubated and sedated
EYES: Pupils equal and minimally reactive to light, sclera anicteric
EARS, NOSE & THROAT: Normal external appearance. Nares patent bilaterally. Oropharynx with moist, pink
mucous membranes and no lesions.
CARDIOVASCULAR: No jugular venous distention. Regular rate and rhythm without significant murmur. No carotid
bruits No significant peripheral edema.
RESP IRATORY: Normal appearance and effort. Clear to auscultation bi laterally without focal areas of wheezing,
rales or rhonchi.
GASTROINTESTINAL: Normal appearance. Soft, nontender with normal bowel sounds. No masses felt. No
organomegaly detected.
MUSCULOSKELETAL: No gross deformities noted in the major joints of the upper and lower extremities bilaterally.
Normal bulk and tone of the musculature.
SKIN: No rashes, eruptions or skin breakdown noted. Warm and dry. No track marks.
NEUROLOGIC: Intubated and sedated. RASS -3/-4.
LYMPHATICS: No abnormal lumps or swelling noted. No lymphedema.

Results
                                                           Lab Results, CBC Diagram
10/7/16 07:32



PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
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                        Mercy Fitzgerald Hospital
                                History & Physical

PATIENT: EFUNNUGA,OLUTOKUNBO                                              MR#: F001250247




                                              7.6~84
                                                   ~
                                                             Lab Results, BMP Diagram
1017/16 07:32


                                             136        98
                                           ------....----~
                                                                ~4
                                                                 109
                                             3.8        24          1.8

Diagnostics Reviewed: Yes
Imaging
CR Chest PORTABLE

IMPRESSION: Endotracheal tube in satisfactory position. No pneumonia.


CT Brain WO

IMPRESSION: 1. No intracranial hemorrhage or acute infarct.

Plan
Assessment
Problem List:
(1) Acute respiratory failure with hypercapnia
(2) Drug overdose
(3) Lactic acidosis
(4) AKI (acute kidney injury)
Chronic Problems:

Management Plan
Plan
Neuro
-Intubated and sedated. Continue propofol for RASS goal of -1/-2.
-CT head within normal limits.
-History of alcohol abuse. We will continue banana bag.

Cardio
-Sinus tachycardia on EKG, HR in 11 Os. Most I ikely secondary to TCA.
-Sodium bicarbonate 2 amps given for cardiac toxicity. Will monitor EKGs every 8.

Pulmonology
-Acute respiratory distress with hypercapnia most likely secondary to suicidal drug overdose.
-Intubated, on AC 18/400/40/5.


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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                         Mercy Fitzgerald Hospital
                                    History & Physical

PATIENT: EFUNNUGA,OLUTOKUNBO                                              MR#: F001250247



-Elevated lactate most likely secondary to respiratory distress.
-Monitor ABG tomorrow a.m.

GI
-We will keep nothing by mouth for today.
-We'll start GI prophylaxis from tomorrow, 24 hours after intubation.

GU
-Elevated creatinine 1.8. Baseline unknown.
-We'll send urine sodium and creatinine. calculate FeNa.

Endo
-No history of diabetes. Keep blood glucose in 120-180 range.

ID
-Elevated lactate not secondary to sepsis, most likely secondary to respiratory distress.
-Lactate trending down. We will follow the VBG every 6 hour until normalizes.
-History of HIV. We will send CD4 count and viral load. Family to bring in the medication list, can restart home
medications.

FEN
-Mildly high CPK, most likely secondary to cocaine.
-Monitor electrolytes.
-We will keep nothing by mouth for now.

Social
-Full code.
-Not married, has 2 kids, age 13 and 3.
-NOK- Tosin Efunnuga 267-918-4065
Additional Comments
Unable to obtain medication list. Sister to bring in medications. We will follow up.


BORIKAR,MADHURA S MD                                                              Oct 7, 2016 09:01

         <Electronically signed by MADHURA S BORIKAR, MD> 10/07/16 1508
         <Electronically signed by SAMMY HAMID, MD> 10/07/16 1735




BO RIMA I MB I DD 10/07/16 0901/DT10/07/16 0901




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1007-0125
REPORT STATUS: Signed
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                                                 Mercy Fitzgerald Hospital
                                                    History & Physical
PATIENT: EFUNNUGA,OLUTOKUNBO                                  MR#: F001250247
ACCT: FA1307223089                              ADMIT DATE: 10/07/16
REPORT #: 1008-0026                             DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                 *** Signed Status ***

History of Present Illness
Encounter Date & Time
10/8/16 07:12
Primary care Physician
Doctor.None (FAMILY)
Attending Physician
Littman, Mario, MD
HPI
The patient is a 37-year-old male with a history of HIV who was brought in by EMS after being found down.
Apparently he was found unresponsive with cocaine and marijuana on his person. He was not breathing but did have
a pulse according to EMS. He was intubated and brought into the emergency department and subsequent admitted to
the ICU for further management. He was found to have a suicide note that stated he wanted cremation. Full chart
reviewed

Review of Systems
Unable to Obtain: Clinical Condition

Past Medical History
Medications
Home Meds Reviewed: Yes
Active Meds Reviewed: Yes

Allergies
Coded Allergies:
      Unable to Assess (Unverified, 1017/16)

Medical History
Medical History:
(1) HIV (human immunodeficiency virus infection)
History of Cancer:
Surgical History:
Procedural History:

Family History
Diabetes mellitus
 MOTHER, Onset:Unknown
 UNCLE, Onset:Unknown


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1008-0026
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                 History & Physical

PATIENT: EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247



 AUNT, Onset:Unknown
Glaucoma
Hypertension
 UNCLE, Onset:Unknown
 AUNT, Onset:Unknown

Social History
Smoking Status: Never Smoker
Alcohol Use: Daily
Recreational Drug Use: Cocaine, Marijuana

Physical Exam
                                          v·ta  .
                                           I I Signs, Last Document ed
          Date Time      Temo     Pulse   Re so   B/P       Pulse Ox   02 Deliverv   02 Flow Rate   Fi02
         10/8/16 06:30               89     22    129/68         100   Ventilator                     30
         10/8/16 06:00    36.6

Weight in Kg
84.50
                                                           Bedside Blood Glucose
10/7/16 08:16: POC Glucose 82
Physical Exam
General: On mechanical ventilation
Thorax: clear to auscultation bilaterally, equal expansion
Cardiovascular: no jugular venous distension, no murmurs,
Abdomen: soft, non-tender, non-distended, bowel sounds noted
Extremities: no cyanosis, pulses 2+ bilaterally
Neurologic: Unable to assess

Results
                                                           Lab Results, CBC Diagram
10/7/16 07:32


                                             7.6~84
10/8/16 05:10


                                           ~58
                                           ~~

                                                           Lab Results, BMP Diagram
10/7/16 07:32


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1008-0026
REPORT STATUS: Signed
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                          Mercy Fitzgerald Hospital
                                     History & Physical

PATIENT: EFUNNUGA,OLUTOKUNBO                                                 MR#: F001250247




                                                     136      98     ~4
                                                    ------.....----~           109
                                                     3.8      24       LB

10/8/16 05:10

                                                    ______
                                                     138 ...,..____
                                                               102 ,..._____
                                                                        14  ~107
                                                     4.1      27       1.3



Plan
Assessment
Problem List:
(1) Drug overdose
Assessment & Plan: Plan to admit, manage the ICU aggressively, full ventilator support and close monitoring for
neurologic recovery
(2) Acute respiratory failure with hypoxia and hypercapnia
Assessment & Plan: Continue full ventilator support
(3) AKI (acute kidney injury)
Assessment & Plan: Hydrate and trend labs
(4) Lactic acidosis
Assessment & Plan: Improved with IV fluids
(5) HIV (human immunodeficiency virus infection)
Chronic Problems:


HAMID.SAMMY, MD                                                                      Oct 8, 2016 07:15

         <Electronically signed by SAMMY HAMID, MD> 10/09/16 0644




HAMISA I SH I DD 10/08/16 0715 / DT 10/08/16 0715




PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1008-0026
REPORT STATUS: Signed
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                                     Mercy Fitzgerald Hospital
                                                Operative Note

Patient: EFUNNUGA,OLUTOKUNBO                           MR#     F001250247
DOB: 03/06/1979          Sex: M                        Acct# FA1307223089
Room/Bed: 417 -02

                                           *** Signed Status ***

DATE OF OPERATION: 10/24/2016

SURGEON:
Dr. Haji Shariff.

ASSISTANT:
Dr. Jeffrey Marcoe.

PREOPERATIVE DIAGNOSIS:
Multi pie loculated pleural effusions with em pyema.

POSTOPERATIVE DIAGNOSIS:
Multi loculated pleural effusions, empyema and pulmonary abscess.

PROCEDUREPERFORMEG
Mini thoracotomy, decortication, unroofing of pulmonary abscess, placement of two chest tubes, all
performed on right side.

SPECIMEN REMOVED:
Cultures, empyema fluid, decorticated tissue.

FLUIDS:
1800 ml lactated Ringer.

COMPLICATIONS:
None.

DRAINS:
Two chest tubes placed, medial chest tube to the apex, lateral chest tube to the base.

INDICATIONS FOR PROCEDURE:
The patient is a 37-year-old gentleman who presented to the hospital after drug overdose for attempted
suicide. The patient was intubated and cared for in the ICU. The patient was eventually extubated; however,
he aspirated and acquired a pneumonia. The pneumonia failed to improve. CT scan showed multiple
loculated pleural effusions. IR attempted to tap these and was only able to aspirate approximately 10-20 ml
of fluid. The Thoracic Surgery team was then consulted for evaluation for thoracic surgery. The risks of the
surgery vvere explained to the patient and the patient agreed to the risks and informed consent was obtained.

DESCRIPTION OF PROCEDURE:
The patient was brought down from the ICU and brought into the operating room to meet Dr. Shariff. Dr.
Shariff confirmed that accurate informed consent was obtained, confirming the correct patient, correct site of
the procedure and the correct procedure to be performed. The patient was placed in supine position and
intubated with a dual lumen endotracheal tube. A TEE was performed by the cardiology team that showed
no evidence of endocarditis. The patient was then placed in the left lateral decubitus position. The patient
was prepped and draped in the usual sterile fashion exposing the right thorax adequately. A timeout was
performed by Dr. Shariff confirming the correct patient, the correct side, the correct site, the correct
procedure, adequate informed consent was obtained and all who were in participation. A small 1 cm incision

CC: DOCTOR, NONE (FAMILY); SHARIFF,HAJI MMD
REPORT#: 1024-0401
REPORT STATUS: Signed
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                                       Mercy Fitzgerald Hospital
                                                   Operative Note

Patient: EFUNNUGA,OLUTOKUNBO                             MR# F001250247
was made, dissected down to the pleural cavity. The patient was unable to tolerate deflation of the right lung.
So this incision was extended and the decision to perform a mini thoracotomy was made. The posterior
lateral mini thoracotomy incision using muscle sparing technique was performed to gain access into the chest
cavity. Rib protractors were placed and lysis of adhesions was performed to break up the multiple
loculations. Cultures were taken. A decortication was performed removing much decorticated tissue. This
tissue was stripped off of the lung and a right pulmonary abscess was unroofed. After the right lung was
mobilized and clearly examined, hemostasis was achieved and the thoracic cavity was washed out with
copious amounts of normal saline and once with a little bit of Betadine. The lungs were inspected to confirm
there were no large air leaks. Once this fluid was removed, an intercostal nerve block was performed using
0.5% Marcaine. The rib spaces were closed using 0 Vicryl. The muscular layer was closed using 2-0 Vicryl.
The deep dermis was closed using a running 2-0 Vicryl suture and the skin was reapproximated using 4-0
Monocryl. The two chest tubes that were placed were placed on _ _ and secured using 2-0 silk ties.
Dermabond was used over the mini thoracotomy incision and 4 x 4s, Megaderm were applied as dressings
for the chest tube. At the end of the procedure, all instrument and sponge counts were correct. Dr. Shariff
was present for the case in its entirety. The patient tolerated the procedure well. The dual lumen
endotracheal tube was switched over by anesthesia to a single lumen and the patient was taken to the Post-
Anesthesia Care Unit, intubated and placed on mechanical ventilator.



DICTATED BY: Jeffrey Marcoe, MD for Haji Shariff, MD

Job #:310355 Doc #:679131

                                     <Electronically signed by HAJI M SHARIFF, MD> at 10/28/161144

                                                         SHARIFF, HAJI MMD
SHARHAJ IN EI DD 10/24116 1520 IDT 10124116 2006




CC: DOCTOR,NONE (FAMILY); SHARIFF.HA.JI MMD
REPORT#: 1024-0401
REPORT STATUS: Signed
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                                                  Mercy Fitzgerald Hospital
                                                       Procedural Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247
ACCT: FA1307223089                               ADMIT DATE: 10/07/16
REPORT#: 1008-0271                               DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                                  *** Signed Status ***

Critical Care Procedures
Encounter Date & Time
10/8/1615:15
Procedure
Procedure(s): Lumbar Puncture
Time Out: Universal Precautions, Verified Patient ID, Site Verified
Procedure Performed By: LERMAN.GABRIEL S DO
Procedure Assisted By: No Assist
Informed Consent
Informed Consent was obtained for this procedure. I have explained the nature, purpose and benefits of the
procedure. I have discussed the risks and benefit of the procedure including possible complications or adverse events
with patient/family. Alternative(s) were discussed with the patient with their relative benefits and risks as well as the
consequences of not accepting the procedure were included in obtaining consent
Reason for Procedure: Elective
Hands Washed: Yes

Lumbar Puncture
Indication: Aspiration of Fluid, Measure CSF Pressure
Findings:
  Opening Pressure (mm H20): 23
  Fluid Color: Clear
Complications: None

Post Procedure
Specimens Obtained: Sent to Cytology, Sent to Laboratory, Sent to Pathology
Procedure Tolerated: Well
Post Procedure Diagnosis:
(1) Toxic encephalopathy
(2) HIV (human immunodeficiency virus infection)
Course: Unchanged


LERMAN, GABRIEL S DO                                                             Oct 8, 2016 15:17

        <Electronically signed by GABRIEL S LERMAN, DO> 10/08/161517




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1008-0271
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                  Procedural Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247




LERMGA I GSL I DD 10/081161517 /OT 10/08/161517




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1008-0271
REPORT STATUS: Signed
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                                                  Mercy Fitzgerald Hospital
                                                       Procedural Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247
ACCT: FA1307223089                               ADMIT DATE: 10/07/16
REPORT#: 1010-0270                               DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                  ***Signed Status***


EEG Study
EEG Procedure: EEG
Encounter Date & Time
10/10/16 12:39
Indication for Study
AMS
Clinical History
This is a 37-year-old man with history of HIV infection and depression is confirmed by his sister. Per family he had
been is in the usual state of health. There is a history of occasional marijuana use. But his sister is not aware of any
cocaine use. When he was picked up by EMS apparently there was some evidence of drugs. Patient was given
Narcan, which did not alter his sensorium. There is no eye witnessed account of any convulsions. He was unable
intubated to protect his airway. Per sister no recent history of any acute illness. No recent reported headache or neck
pain.
Medication List

                                                        Medications Active List
Heparin Sodium (Porcine) 5,000 units 08 Last administered on 10/10/16at 11 :30; Start 1017/16 at 13:00
Fentanyl Citrate 50 mcg 50 mcg Q2H PRN Last administered on 10/10/16at 04:29; start 10/7/16 at 08:30
Thiamine HCI/ Felic Acid/Sodium Chloride 101.2 ml@ 100 mis/hr DAILY Last administered on 10/10/16at 08:27;
Start 10/7/16at10:30
Acetaminophen 650 mg 650 mg Q6H PRN Last administered on 10/10/16at 04:28; Start 10/8/16 at 20:45
Sodium Phosphate 250 ml@ 83.333 mis/ hr Q3H Last administered on 10/10/16at 09:48; Start 10/10/16 at 08:30;
Stop 10/10/16 at 14:29
Lactated Ringer's 1,000 ml@ 200 mis/hr Q5H Last administered on 10/10/16at 08:27; start 10/10/16 at 08:30
Ceftriaxone Sodium 100 ml@ 100 mis/hr DAILY Last administered on 10/10/16at 11 :24; Start 10/10/16 at 10:30
Famotidine 40 mg BID; Start 10/10/16 at 21:00; status UNV
Technical Description
Technical Description: : 18 Channel EEG Recording

Patient Condition
Patient State:
 Level of Consciousness: Obtunded
 Orientation: : Confused: Impaired Recent Memory
 Dominant Hand: Right
EKG Rhythm Recording: NSR

Recording Description
EEG Recording :
 Recording Phase: During Drowisness


PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
REPORT#: 1010-0270
REPORT STATUS: Signed
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                         Mercy Fitzgerald Hospital
                                    Procedural Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



  Occipital Rhythm: Present
  Frequency: 8.5 Hz
  Voltage: Low
  Organization: Poor
  Eye Opening/Closing Reactivity: Minimal
  Drowsiness: Present - Abnormal
  Sleep: Absent
  Hyperventilation: Not Performed
  Photic Stimulation: Not Done

Impression
Clinical Impression
Abnormal drowsy EEG due to the presence of diffuse mild slowing theta waves activity predominant consistent with
toxic-metabolic encephalopathy as well as presence of fast beta activity in the frontal region anterior area consistent
with anxiety and medication effects.No epileptiform activity or lateralization abnormality has been noticed .However
the study is suboptimal due to movements artifacts.Clinical correlation is suggested.
Report Attestation
I have personally interpreted the test and prepared the report.

Note: see attached raw data and I/I/a.Ve forms


HEDAYAT,TINA MD                                                                 Oct 10, 2016 12:45

         <Electronically signed by TINA HEDAYAT, MD> 10/10/16 1537




HEDATI I TH I DD 10/10/16 1245 /OT 10/10/161245




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1010-0270
REPORT STATUS: Signed
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                                                  Mercy Fitzgerald Hospital
                                                      Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                    MR#: F001250247
ACCT: FA1307223089                                ADMIT DATE: 10/07/16
REPORT#: 1008-0022                                DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN, MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                  *** Signed Status ***

Subjective
Encounter Date & Time
10/8/16 06:10
(OLUBIVl,OLUTAVO I MD)

Subjective
Hospital LOS days: 2
ICU LOS: 2
Subjective
Patient seen and examined by the bedside. Clinical condition remained the same through the night with LOC. Lactate
trended to normal level. EKG showed widening of QRS complex and HC03 was given to protect the myocardial
membrane.
Sister claimed the whole family unanimously agreed that his tube feed be stopped, so we Dc'd the feed. She also
expressed concerns about change in management plan without the family being carried along; said they were not
informed when the immediate focus changed form LP and EEG for tub feeding. She was particularly concerned about
risk of aspiration and mentioned the need for swallow test before starting feeds or option of TPN. I spent time to
discuss the patient's current condition with her and to answer many of her questions. I also obtained informed consent
for the LP after discussing with the patient's mother on phone who gave her consent and requested her daughter (the
patient's sister) to sign the forms on her behalf. Dr. John Gooch was present as a witness to the consent.
 (OLUBIVl,OLUT AYO I MD)

Review of Systems
Unable to Obtain: Altered Mental Status (Sedated and mechanically ventilated.)
(OLUBIVl,OLUTAYO I MD)

Objective
Active Meds Reviewed: Yes
Medications

                                                           Medications Active List
            Medications             Dose             Sig/Sch     Start Time      Status     Last Admin
                                    Ordered                      Stop Time
            Heparin Sodium          5,000 units      QB          1017116 13:00              10/8/16 05:47
            (Porcine)
            Fentanyl Citrate        50 mcg           Q2H PRN      1017116 08:30
            50mca
            Thiamine HCI 100        101.2 ml@        DAILY        10/7/1610:30              1017/1611:19
            mg/Folic Acid 1         100 mis/hr
            mi:i/Sodium Chloride


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1008-0022
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                        Mercy Fitzgerald Hospital
                                 Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                              MR#: F001250247



            Lactated Ringer's       1,000 ml@         Q5H43M          1017/16 15:00          10/8/16 05:48
                                    175 mis/hr

(OLUBIYl,OLUTAYO I MD)

Patient Data
                                           v·ta
                                            I I s·1gns, La stDocument ed
          Date Time      Temo     Pulse   Reso       B/P       Pulse Ox    02 Deliverv   02 Flow Rate   Fi02
         10/8/16 04:30               87     21       113/59          98    Ventilator                     40
         10/8/16 02:00    37.1

Weight in Kg
84.50
                                                              Bedside Blood Glucose Last 24h
1on11s 07:07: POC Glucose 109
1on11s 08:16: POC Glucose 82


                                                                              10/8/16
                                                                               06:59
                                   Intake Total                              2665 ml
                                   Out ut Total                              1770 ml
                                   Balance                                    895 ml

                                   Intake IV Total                           1575 ml
                                   Packed Cells                                50 ml
                                   Tube lrri ant                               40 ml
                                                                             1000 ml
                                                                             1270 ml
                                                                              500 ml

Sedation Score Target
-1 to 0
Sedation Score Actual
-5

(OLUBIYl,OLUTAYO I MD)

Ventilator Settings
Ventilator Settings:
 Delivery Method: OGT (10/0712016)
 Mode: AC
(OLUBIYl,OLUTAYO I MD)

Physical Exam

PATIENT: EFUNNUGAOLUTOKUNBO
cc:
REPORT#: 1008-0022
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



Appearance: : Appears Stated Age: No Acute DistressNo: Alert
Head Exam: : Normocephalic: Symmetric
HEENT: : Moist Mucous Membranes: Sciera Anicteric
Thorax: : CTA Bilateral: No Accessory Muscle Use
Cardiovascular: : No JVD: Regular Rate Rhythm No: Gallop, Murmur. Rub
Abdomen: : Bo...vel Sounds Noted: Soft
Rectal Exam: : Deferred
Skin: : Skin Color Normal: Skin Temperature Normal: Skin Turgor Normal
Wound Present: No
Upper Extremity Appearance: : Normal
Lower Extremity Appearance: : Normal
Pulses: Distal Pulses 2+
Mental Status: Abnormal (AMS (GCS 3) and mechanically ventilated)
(OLUBIYl,OLUTAYO I MD)

Results
Results
                                                            Lab Results, CBC Diagram
1017/16 07:32


                                             7.6   ~84
                                                   ~
                                                            Lab Results, BMP Diagram
10/7/16 07:32

                                            136
                                          ------+-----~
                                                       98       ~4
                                                                 109
                                            3.8        24        1.8

10/8/16 05:10


                                          --:-~-:--+--~-~---ilto--~-~-3--~
                                                            2


                                                            PT/PTT/INR
10/7/16 07:32:
Prothrombin Time 14.1, Prothromb Time International Ratio 1.2, Activated Partial Thromboplast Time 31.0
                                                        Arterial Blood Gas
10/7/16 08:25:
Arterial Blood pH 7.31, Arterial Blood pH (Temp corrected) 7.31, Arterial Blood Partial Pressure C02 50.7, Arterial
Blood pC02 (Temp correct) 50.7, Arterial Blood Partial Pressure 02 482, Arterial Blood p02 (Temp corrected) 482,
Arterial Blood HC03 25.4, Arterial Bid 02 Saturation (Measur) 99.4, Arterial Blood Base Excess -1. 3, Oxygen
Delivery Device 1 na, Blood Gas Ventilator Setting 18, Fi02 1000, Blood Gas Tidal Volume 400, Blood Gas PEEP


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                       MR#: F001250247



5.0
1017/1617:00:
Arterial Blood Hematocrit 46.3, Venous Blood pH 7.43, Venous Blood pH (Temp Corrected) 7.43, Venous Blood
Partial Pressure C02 47 .1, Venous Blood pC02 (Temp Corrected) 47. 1, Venous Blood Partial Pressure 02 91.1,
Venous Blood p02 (Temp Corrected) 91.1, Venous Blood HC03 31.3, Venous Bid 02 Saturation (Measured) 97. 2,
Venous Blood Base Excess 6.2, Bedside Sodium (Blood Gas) 139, Bedside Potassium (Blood Gas) 6.0, Bedside
Chloride (Blood Gas) 104, Ionized Calcium (Blood Gas) 1.12, Lactate (Blood Gas) 1.1, Blood Gas Temperature 98.6
Venous Blood Gas, Last 24hrs
10/7/16 07:35:
Venous Blood Base Excess -1.8, Venous Blood HC03 25.8, Venous Blood Partial Pressure C02 57.2, Venous Blood
Partial Pressure 02 68.1, Venous Blood pH 7.26
10/7/1610:25:
Venous Blood Base Excess 1.3, Venous Blood HC03 28.6, Venous Blood Partial Pressure C02 59.2, Venous Blood
Partial Pressure 02 43.5, Venous Blood pH 7.29
1017/1617:00:
Venous Blood Base Excess 6.2, Venous Blood HC03 31.3, Venous Blood Partial Pressure C02 47.1, Venous Blood
Partial Pressure 02 91.1, Venous Blood pH 7.43
Diagnostics Reviewed: Yes
(OLUBIYl,OLUTAYO I MD)

Quality
Discussed care Plan with: Family
Code Status: Full Code
 (OLUBIYl,OLUTAYO I MD)
Lines Tubes and Catheter: ETT (10/07/2016), other (OGT (10/07/2016))
 (OLUBIYl,OLUTAYO I MD)
VTE Prophylaxis Ordered: Yes
 (OLUBIYl,OLUTAYO I MD)
Indwelling Foley Catheter: No
 (OLUBIYl,OLUTAYO I MD)
central Venous catheter: No
 (OLUBIYl,OLUTAYO I MD)
Non-Violent Restraints: Continued
(OLUBIYl,OLUTAYO I MD)

Impression and Plan
Assessment
Problem List:
(1) Acute respiratory failure with hypoxia and hypercapnia
(2) Toxic encephalopathy
(3) Respiratory failure
(4) On mechanically assisted ventilation
(5) Lactic acidosis
Impression and Plan: resolved
(6) AKI (acute kidney injury)


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1008-0022
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                                  Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



(7) Rhabdomyolysis
(8) Drug overdose
Chronic Problems:
(1) HIV (human immunodeficiency virus infection)
(2) Drug abuse (OLUBIYl,OLUTAYO I MD)
Problem List:
(1) Acute respiratory failure with hypoxia and hypercapnia
(2) Toxic encephalopathy
(3) Respiratory failure
(4) On mechanically assisted ventilation
(5) Rhabdomyolysis
(6) Drug overdose
(7) Lactic acidosis
Impression and Plan: resolved
(8) AKI (acute kidney injury)
Impression and Plan: resolved
Chronic Problems: (LERMAN,GABRIEL S DO)
l\Jlanagement Plan
Plan
NEU:
-Patient remained obtunded with non change in mental status.
-EEG is still pending, order in but yet to be done.
-Awaiting neuro consult.
-Informed consent was LP obtained for LP; not performed overnight for lack of a certified personnel to perform it.
This is needed to rule out infective causes given the patient's HIV status -will also consider MRI sooner than later.
-Will continue neurochecks Q6h and keep him off sedation until he wakes up.
-Once the patient wakes, we will get psych involved for the OD and possible SI.

CV:
-Slight widening of the ORS complex noted on Q6hly EKG patient was given bicarb gtt.

PULM:
-Patient is sating well on current ventilation setting.
-Blood gas this morning showed pH of 7.35, pC02 48.6, p02 148, lactate of 1.0
-consider increasing RR to 24, and reducing Fi02 to 20%

GI:
-No acute issues.
-will continue prophylaxis with pepcid.

GU:
-AKI.
-Avoid nephrotoxic medications.
-flu on random electrolyte panel and FeNa check.

ID:


PATIENT: EFUNNUGA,OLUTOKUNBO
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                                 Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



-Known HIV infection.
-F/u with Family on bringing in his home medications for recommencement
-will f/u with CD4 count and viral load check

HEME/ONC:
-No acute issues.
-Will continue Lovenox for VTE prophylaxis

ENDO:
-will f/u POC to Keep sugars <180,
-will check TSG with reflex T4.

F/E/N:
-NG tube feeding dc'd at family's request.
-will continue to monitor and replete electrolytes.
-Lactic acidosis has cleared.
-will continue him IVF LR for now.

SOCIAL:
Full code.
NOK: Mother
Additional Comments
One of the patienfs sisters was in the room and was updated on the plan. All of their questions were answered to
their satisfaction.
 (OLUBIVl,OLUTAYO I MD)

Additional Information
Condition: Critical
Critical Care Time (mins): 45
Additional Comments
excluding teaching or procedures
(LERMAN,GABRIEL S DO)

Attestation Statement
Attestation Statement
I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:

The patient remains obtunded with a RASS of -5. We performed an LP this afternoon and while he was getting
injections of lidocaine, he withdrew from the stimuli, which is an improvement from yesterday. Overnight, the patient
was initially getting tube feeds however, there appeared to have been a conversation between the nursing staff and
one of the patient's sisters, who is a nurse. The patient's sister insisted that the tube feeds be stopped as the patient
was becoming febrile and was concerned that she was told the patient may have aspirated. On exam this morning,
there is no evidence of aspiration on CXR.

The patient was sent down for a CT of the brain with contrast this morning, since his renal function cleared, and there
are no acute changes. An LP was performed this afternoon and the sam pies were sent to the lab.


PATIENT: EFUNNUGA,OLUTOKUNBO
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PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247




Will discuss with ID starting or restarting HAART once we get the bottles from the sister.

Awaiting results of the EEG, though there has been no clinical seizure activity.
(LERMAN,GABRIEL S DO)


OLUBIYl,OLUTAYO I MD                                                               Oct 8, 2016 06:23
LERMAN.GABRIEL S DO                                                                Oct 8, 2016 15:11

        <Electronically signed by OLUTAYO I OLUBIYI, MD> 10/09/161825
        <Electronically signed by GABRIEL S LERMAN, DO> 10/08/16 1518




OLUBOL/ 00 I DD 10/08/16 0623 /OT 10/08/16 0623




PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
REPORT#: 1008-0022
REPORT STATUS: Signed
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                                                   Mercy Fitzgerald Hospital
                                                      Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                    MR#: F001250247
ACCT: FA1307223089                                ADMIT DATE: 10/07/16
REPORT#: 1009-0017                                DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                   *** Signed Status ***

Subjective
Encounter Date & Time
10/9/16 06:27
(MALIK,AMMAR M MD)

Subjective
Hospital LOS days: 3
ICU LOS: 3
Subjective
Examined patient at bedside.
Patient remains unconscious.
No reports of patient regaining consciousness.
No events reported by night team.
Patient remains off sedation.
 (MALIK,AMMAR MMD)

Review of Systems
Unable to Obtain: Clinical Condition (Patient remains unconscious)
(MALIK,AMMAR MMD)

Objective
Active Meds Reviewed: Yes
Medications

                                                           Medications Active List
            Medications             Dose             Sig/Sch     Start Time     status    Last Adm in
                                    Ordered                      Stop Time
            Heparin Sodium          5,000 units      08          10/7/16 13:00            10/9/16 04:39
             (Porcine)
            Fentanyl Citrate        50 mcg           Q2H PRN     1017/16 08:30
            50mca
            Thiamine HCI/           101.2 ml@        DAILY       1017/16 10:30            10/8/16 09:09
            Folic Acid/Sodium       100 mis/hr
            Chloride
            Acetaminophen 650       650 mg           Q6H PRN     10/8/16 20:45            10/8/16 21:15
            mg
            Lactated Ringer's       1,000 ml@        Q5H43M      10/9/16 01 :15           10/9/16 03:09
                                    175 mis/hr



PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1009-0017
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                       MR#: F001250247



(MALIK,AMMAR M MD)

Patient Data
                                        Vital Signs, Last Documented
          Date Time                                                                02 Flow Rate   Fi02
         10/9/16 06:00                                                                              30

Weight in Kg
93.90


                                                                      10/9/16
                                                                       07:00
                                  Intake Total                       3950 ml
                                  Out ut Total                       2490 ml
                                  Balance                            1460 ml

                                  Intake IV Total                    3950 ml
                                                                        Oml
                                                                     2490 ml

Sedation Score Actual
-5

(MALIK,AMMAR M MD)

Ventilator Settings
Ventilator Settings:
 Delivery Method: Endotracheal Tube
 Mode: AC
 Ventilator Rate: 18
 FI02 (21-100%): 30
 Tidal Volume (ml): 400
 PEEP (cm H20): 5
 Confirmation of Position: Chest Xray
(MALIK,AMMAR M MD)

Physical Exam
Appearance: : Appears stated Age: No Acute DistressNo: Agitated, Alert
Head Exam: : Normocephalic: Symmetric
HEENT: : PERRL: Sciera Anicteric
Thorax: : CTA Bilateral: No Accessory Muscle UseNo: Crackles
Cardiovascular: : No JVD: Normal Peripheral Pulse: Regular Rate Rhythm
Abdomen: : Bowel Sounds Noted: Soft
Rectal Exam: : Deferred


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



Skin: : Skin Color Normal: Skin Temperature Normal
Wound Present: No
Pulses: Distal Pulses 2+
Mental Status: Abnormal
Follows Commands: No
(MALIK,AMMAR M MD)

Results
Results
                                                          Lab Results, CBC Diagram
10/9/16 05:30




                                                          Arterial Blood Gas
1017/16 08:25: Blood Gas Ventilator Setting 18
10/7/1617:00:
Venous Blood pH 7.43, Venous Blood pH (Temp Corrected) 7.43, Venous Blood Partial Pressure C02 47.1, Venous
Blood pC02 (Temp Corrected) 47.1, Venous Blood Partial Pressure 02 91.1, Venous Blood p02 (Temp Corrected)
91.1, Venous Blood HC03 31.3, Venous Bid 02 Saturation (Measured) 97.2, Venous Blood Base Excess 6.2,
Bedside Sodium (Blood Gas) 139, Bedside Potassium (Blood Gas) 6.0, Bedside Chloride (Blood Gas) 104, Ionized
Calcium (Blood Gas) 1.12
10/8/16 06:15:
Allen Test Pos, Blood Gas Tidal Volume 400, Blood Gas PEEP 5.0
10/9/16 05:58:
Arterial Blood pH 7.48, Arterial Blood pH (Temp corrected) 7.48, Arterial Blood Partial Pressure C02 39.1, Arterial
Blood pC02 (Temp correct) 39.1, Arterial Blood Partial Pressure 02 60, Arterial Blood p02 (Temp corrected) 59.8,
Arterial Blood HC03 28.9, Arterial Bid 02 Saturation (Measur) 92. 6, Arterial Blood Base Excess 4. 9, Arterial Blood
Hematocrit 43.4, Arterial Blood Sodium 141, Arterial Blood Potassium 3.8, Chloride (Blood Gas) 106, Ionized
Calcium (Measured) (Bid Gas 1.21, Lactate (Blood Gas) 1.3, Blood Gas Temperature 98.6, Oxygen Delivery Device
Aerm, Fi02 30.0
Diagnostics Reviewed: Yes
Imaging
Exam: CT Brain W

IMPRESSION: No intracranial hemorrhage, acute infarct or enhancing mass.
 (MALIK,AMMAR M MD)

Quality
Code Status: Full Code
(MALIK,AMMAR M MD)
Lines Tubes and Catheter: ETT (10/7/16), Urinary Catheter, other (OGT (10/7/16))
Line Necessity Addressed: Yes


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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                                 Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                              MR#: F001250247



 (MALIK,AMMAR M MD)
VTE Prophylaxis Ordered: Yes
 (MALIK,AMMAR M MD)
Indwelling Foley catheter: Yes
Urinary Csth Insertion Date: Oct 7, 2016
 (MALIK,AMMAR M MD)
Central Venous Catheter: No
 (MALIK,AMMAR M MD)
Non-Violent Restraints: Continued
 (MALIK,AMMAR M MD)

Impression and Plan
Assessment
Problem List:
(1) Acute respiratory failure with hypercapnia
(2) Toxic encephalopathy
(3) Respiratory failure
(4) On mechanically assisted ventilation
(5) Rhabdomyolysis
(6) Drug overdose
Chronic Problems: (MALIK,AMMAR M MD)
Problem List:
(1) Drug overdose
(2) Toxic encephalopathy
(3) Respiratory failure
(4) On mechanically assisted ventilation
(5) Acute respiratory failure with hypercapnia
(6) Rhabdomyolysis
(7) VAP (ventilator-associated pneumonia)
Chronic Problems: (LERMAN,GABRIEL S DO)
Management Plan
Plan

Neurology:
-Patient is intubated but without sedation.
-Patient remains unconscious. Unknown etiology.
-LP and CT brain unrevealing for infection.
-EEG is still pending but no reports of sezuire like activity since admission.
-Neurology consulted; drugs vs encephalopathy
-Will continue Neurochecks Q6 and keep patient off any sedation.

CV:
-Minor widening of the ORS complex noted on EKG patient was started on bicarb gtt due to TCA overdose
-Patient was tachy overnight

PULM:


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 100~0017
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PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



-Patient is sating well on current ventilation setting.
-Hypercapnia resolved.
-Blood gas this morning revealed Alkalosis with a low P02
-Possibly consider increasing FI02

GI:
-No acute issues.
-Day 3 of intubation. Will H2 blocker for prophylaxis today.

GU:
-AKI resolved
-Foley inserted yesterday, monitor l&Os.
-CPK trended up yesterday, rhabdo secondary to drug overdose, continue with IVF.
-Will continue to trend CPK levels.


ID:
-Known HIV infection.
-CD4 count and viral load pending
-Unknown history of HAART compliance

HEME/ONG:
-No acute issues.
-Will continue Heparin SubQ VTE prophylaxis

ENDO:
-Keep sugars <180
-TSH within normal range.

F/E/N:
-NG tube feeding discontinued at sisters request
-Continue to monitor and replete electrolytes.
-Continue him IVF LR for now.

SOCIAL:
Full code.
NOK:

Sheree Bradham (484) 420-5809 Mother
Ellis Bradham (610) 348-4661 Father


I am not able to update the problem list due to a technical problem with Meditech. Hypercapnia has resolved.
(MALIK,AMMAR M MD)

Additional lnfonnation
Condition: Critical


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1009-0017
REPORT STATUS: Signed
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                                    Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



Critical Care Time (mins): 42
Additional Comments
excluding teaching or procedures
(LERMAN,GABRIEL S DO)

Attestation Statement
Attestation Statement
I have seen and evaluated the patient. reviewed and discussed the plan of care with house staff. and agree as
documented with the following comments:

Patient remained obtunded. Yesterday during the LP, he was responding to painful stimulus. On CXR, which I
personally reviewed, there is a new infiltrate at the left lower lobe which is concerning for a VAP. The patient did have
fevers overnight. The patient was started on vancomycin His cultures returned as Staph aureus Once the
sensitivities return, we will be able to de-escalate his antibiotics_

Still awaiting his latest CD4 count and viral load. It appears that he was not on HAART and we will be getting records
from DELCO hospital ID group to see what he was on and what his latest counts were.

Will continue to monitor his CK levels and try to get an MRI if we have one that has a compatible ventilator.

I stressed again to the family that I would like to start him on tube feeds and explained that using the gut is the best,
prevents bacterial translocation, and atrophy of intestinal villi. They were concerned about aspiration and I advised
them that to me the CXR did not show aspiration but a simple VAP. The sister, who is a nurse, stated that she will talk
with the other members of the family and come with a decision about the tube feeds. In my opinion, this patient
needs nutrition which is being blocked by the family.
 (LERMAN.GABRIEL S DO)


MALIK.AMMAR M MD                                                                 Oct 9, 2016 06:33
LERMAN, GABRIEL S DO                                                             Oct9, 201619:42

         <Electronically signed by AMMAR M MALIK, MD> 10/09/16 1259
         <Electronically signed by GABRIEL S LERMAN, DO> 10/09/161943




MALIAM I AM I DD 10/09116 0633 /OT 10/09/16 0633




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1009-0017
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD          Document 15-8          Filed 05/03/18     Page 101 of 186



                                                 Mercy Fitzgerald Hospital
                                                     Internal Med Progress Note
PATIENT: EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247
ACCT: FA1307223089                               ADMIT DATE: 10/07/16
REPORT#: 1009-0032                               DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN, MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                 *** Signed Status ***

Subjective
Encounter Date & Time
10/9/16 07:05
Subjective
Patient seen, vented, nonverbal, unresponsive, chart reviewed

Objective
Patient Data
                                         Vital Signs, Last Documented
          Date Time                                                                 02 Flow Rate   Fi02
         10/9/16 06:00             109      32    137176         97   Ventilator                     30

Weight In Kg
93.90
                                                           Bedside Blood Glucose
10/7/16 08:16: POC Glucose 82
Appearance: : Other (unresponsive)
Thorax: : Decreased Breath Sounds
Cardiovascular: : Regular Rate Rhythm
Abdominal Inspection: : Normal
Abdomen: : Bowel Sounds Noted

Results
                                                           Lab Results, CBC Diagram
10/9/16 05:30




                                                           Lab Results, BMP Diagram
10/9/16 05:30



                                           3.9        27
                                                             t__
                                         __1_4_1__.....1_0_3__   1_3__~
                                                                 1.4 ~




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1009-0032
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD               Document 15-8       Filed 05/03/18      Page 102 of 186


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                         Mercy Fitzgerald Hospital
                                   Internal Med Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247



Impression and Plan
Problem List:
(1) Drug overdose
Impression and Plan: Continue with clinical monitoring
(2) Acute respiratory failure with hypoxia and hypercapnia
Impression and Plan: Continue full ventilator support
(3) AKI (acute kidney injury)
Impression and Plan: Improved with hydration
(4) HIV (human immunodeficiency virus infection)
Chronic Problems:


HAMID,SAMMY, MD                                                              Oct 9, 2016 07:07

        <Electronically signed by SAMMY HAMID, MD> 10/10/16 0642




HAMISA I SH I DD 10/09/16 07071DT10/09/16 0707




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1009-0032
REPORT STATUS: Signed
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                                                   Mercy Fitzgerald Hospital
                                                        Internal IVled Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                    MR#: F001250247
ACCT: FA1307223089                                ADMIT DATE: 10/07/16
REPORT #: 1010-0083                               DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN,MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                                   ***Signed Status***


Subjective
Encounter Date & Time
10/10/16 07:32
Subjective
Patient on the ventilator, does not verbalize or participate in history, chart reviewed at length

Objective
Patient Data
                                            Vital Signs, Last Documented
          Date Time        Temp     Pulse   Resp B/P          Pulse Ox 02 Delivery         02 Flow Rate   Fi02
         10/10/16 06:00              108       13 119/56            99 Ventilator                           40
         10/10/16 05:00      37.9

Weight in Kg
90.20
                                                             Bedside Blood Glucose
1017/16 08:16: POC Glucose 82
Appearance: : No Acute Distress
Thorax: : Decreased Breath Sounds
cardiovascular: : Regular Rate Rhythm
Abdominal Inspection: : Normal
Abdomen: : Bowel Sounds Noted: Non-tender

Results
                                                             Lab Results, CBC Diagram
10/10/16 04:45


                                                7.7~
                                                     ~
                                                             Lab Results, BMP Diagram
10/10/16 04:45



                                             --~-~-o--.....~-~-6--+l--~o-.3---<~
PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1010-0083
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD                  Document 15-8       Filed 05/03/18      Page 104 of 186


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                          Mercy Fitzgerald Hospital
                                     Internal Med Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                              MR#: F001250247




Impression and Plan
Problem List:
(1) Drug overdose
Impression and Plan: Continue with clinical monitoring
(2) Acute respiratory failure with hypoxia and hypercapnia
Impression and Plan: Continue full ventilator support, wean as clinically appropriate
(3) AKI (acute kidney injury)
Impression and Plan: Improved with hydration--- continue to monitor labs
(4) HIV (human immunodeficiency virus infection)
Impression and Plan: Appreciate ID input, follow-up LP studies
Chronic Problems:


HAMID.SAMMY, MD                                                                 Oct 10, 2016 07:33

         <Electronically signed by SAMMY HAMID, MD> 10/10/161541




HAMISA I SH I DD 10/10/16 0733 / DT 10/10/16 0733




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1010-0083
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD            Document 15-8         Filed 05/03/18      Page 105 of 186



                                                Mercy Fitzgerald Hospital
                                                    Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                  MR#: F001250247
ACCT: FA1307223089                              ADMIT DATE: 10/07/16
REPORT#: 1010-0088                              DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                *** Signed Status ***

Subjective
Encounter Date & Time
10/10/16 07:34
(MALIK,AMMAR M MD)

Subjective
Subjective
Examined patient at bedside.
Yesterday evening patient became more responsive.
Patient began to move extremities and respond to pain.
He was not able to follow commands.
This morning he remains obtunded and is not responding to commands or pain.
(MALIK,AMMAR MMD)

Review of Systems
Unable to Obtain: Clinical Condition (Patient is intubated and remains obtunded)
(MALIK,AMMAR M MD)

Objective
Active Meds Reviewed: Yes
Medications

                                                        Medications Active List
           Medications            Dose            Sig/Sch    start Time      status    Last Adm in
                                  Ordered                    StooTime
           Heparin Sodium         5,000 units     08         10/7/16 13:00             10/10/16 04:28
            <Porcine)
           Fentanyl Citrate       50 mcg          Q2H PRN       1017116 08:30          10/10/16 04:29
           50 mcg
           Thiamine HCI/          101.2 ml@       DAILY         1017/16 10:30           10/9/16 08:26
           Folic Acid/Sodium      100 mis/hr
           Chloride
           Acetaminophen 650      650 mg          Q6H PRN       10/8/16 20:45          10/10/16 04:28
           ma
           Lactated Ringe~s       1,000 ml@       Q5H43M        10/9/16 01:15          10/10/16 06:59
                                  175 mis/hr
           Vancomycin/Sodium      500 ml@         012           10/9/16 21:00           10/9/16 21:36
           Chloride               250 mis/hr



PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1010-0088
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD            Document 15-8             Filed 05/03/18      Page 106 of 186


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                        Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



           Famotidine             20 mg             DAILY           10/9/16 10:30           10/9/16 11:57


(MALIK,AMMAR MMD)

Patient Data
                                          V"talS"
                                           I     1gns, LastDo cument ed
         Date Time        Temp    Pulse   Resp B/P         Pulse Ox 02 Deliverv        02 Flow Rate   Fi02
        10/10/16 06:00             108       13 119/56           99 Ventilator                          40
        10/10/16 05:00     37.9

Weight in Kg
90.20


                                                                          10/10/16
                                                                             07:00
                                  Intake Total                            5275 ml
                                  Out ut Total                            2230 ml
                                  Balance                                 3045 ml

                                  Intake IV Total                          4875 ml
                                                                            400 ml
                                                                           2230 ml

Sedation Score Actual
-4

(MALIK.AMMAR M MD)

Ventilator Settings
Ventilator Settings:
 Delivery Method: Endotracheal Tube
 Mode: AC
 Ventilator Rate: 18
 F102 (21-100%): 40
 Tidal Volume (ml): 400
 Pressure Support (cm H20): 5
(MALIK,AMMAR M MD)

Physical Exam
Appearance: : Appears stated Age: No Acute DistressNo: Agitated, Alert
Head Exam: : Normocephalic: SymmetricNo: Abrasions
HEENT: : Sciera Anicteric
Thorax: : CTA Bilateral: No Accessory Muscle UseNo: Accessory Muscle Use, Crackles


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1010-0088
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



Cardiovascular: : No JVD: Normal Peripheral Pulse: Regular Rate Rhythm
Abdomen: : Bovvel Sounds Noted: Soft
Rectal Exam: : Deferred
Skin: : Skin Color Normal: Skin Temperature Normal
Pulses: Distal Pulses 2+
Mental Status: Abnormal (Obtunded)
Follows Commands: No
(MALIK,AMMAR M MD)

Results
Results
                                                          Lab Results, CBC Diagram
10/10/16 04:45


                                             7.7~
                                                          Lab Results, BMP Diagram
10/10/16 04:45



                                          --~-:-o--. . .-~-~-6---il~:-~-3--~
                                                          Arterial Blood Gas
10/7/16 08:25: Blood Gas Ventilator Setting 18
10/7/16 17:00:
Venous Blood pH 7.43, Venous Blood pH (Temp Corrected) 7.43, Venous Blood Partial Pressure C02 47.1, Venous
Blood pC02 (Temp Corrected) 47.1, Venous Blood Partial Pressure 02 91.1, Venous Blood p02 (Temp Corrected)
91.1, Venous Blood HC03 31.3, Venous Bid 02 Saturation (Measured) 97.2, Venous Blood Base Excess 6.2,
Bedside Sodium (Blood Gas) 139, Bedside Potassium (Blood Gas) 6.0, Bedside Chloride (Blood Gas) 104, Ionized
calcium (Blood Gas) 1.12
10/8/16 06:15:
Allen Test Pos, Blood Gas Tidal Volume 400, Blood Gas PEEP 5.0
10/10/16 05:00:
Arterial Blood pH 7.43, Arterial Blood pH (Temp corrected) 7.43, Arterial Blood Partial Pressure C02 42.2, Arterial
Blood pC02 (Temp correct) 42.2, Arterial Blood Partial Pressure 02 107, Arterial Blood p02 (Temp corrected) 107,
Arterial Blood HC03 28.1, Arterial Bid 02 Saturation (Measur) 98.5, Arterial Blood Base Excess 3.5, Arterial Blood
Hematocrit 39.9, Arterial Blood Sodium 140, Arterial Blood Potassium 3.7, Chloride (Blood Gas) 107, Ionized
calcium (Measured) (Bid Gas 1.20, Lactate (Blood Gas) 1.1, Blood Gas Temperature 98.6, Oxygen Delivery Device
Aerm, Fi02 40.0
Diagnostics Reviewed: Yes
(MALIK,AMMAR M MD)

Quality

PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1010-0088
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD             Document 15-8          Filed 05/03/18        Page 108 of 186


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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247



Discussed care Plan with: Family
Code Status: Full Code
 (MALIK,AMMAR M MD)
Lines Tubes and Catheter: ETT, Urinary catheter, Other (OGT 10/7/16)
Line Necessity Addressed: Yes
 (MALIK,AMMAR M MD)
VTE Prophylaxis Ordered: Yes
GI Prophylaxis: H2 Blockers
 (MALIK,AMMAR M MD)
Indwelling Foley Catheter: Yes
Indication for Indwelling cath: Acute Urinary Retention
I Will Enter Order to Remove: No
 (MALIK.AMMAR M MD)
Central Venous Catheter: No
 (MALIK,AMMAR MMD)
Non-Violent Restraints: Continued
 (MALIK.AMMAR M MD)

Impression and Plan
Assessment
Problem List:
(1) Drug overdose
(2) Toxic encephalopathy
(3) Respiratory failure
(4) On mechanically assisted ventilation
(5) Acute respiratory failure with hypercapnia
(6) Rhabdomyolysis
(7) V AP (ventilator-associated pneumonia)
Chronic Problems: (MALIK,AMMAR M MD)
Problem List:
(1) Rhabdomyolysis
(2) Drug overdose
(3) Toxic encephalopathy
(4) Respiratory failure
(5) On mechanically assisted ventilation
(6) Acute respiratory failure with hypercapnia
(7) V AP (ventilator-associated pneumonia)
Chronic Problems: (LERMAN,GABRIEL S DO)
Management Plan
Plan

Neurology:
-Patient is intubated and obtunded but without sedation.
-Patient status is improving.
-Most likely etiology currently for patients neurological state is the TCA overdose as LP and CT has been negative.


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 101 G-0088
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                 Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                              MR#: F001250247



-MRI today if vent compatible
-EEG is still pending but no reports of seizure like activity since admission
-Neurology consulted; drugs vs encephalopathy
-Will continue Neurochecks Q6 and keep patient off any sedation.

CV:
-Minor widening of the QRS complex noted on EKG patient was started on bicarb gtt due to TCA overdose
-Patient was tachycardic overnight but BP was stable.

PULM:
-Patient is sating well on current ventilation setting.
-Hypercapnia resolved.
-New infiltrates on CXR concerning for VAP
-Respiratory cultures concerning for staph currently on Vane, sensitives pending

GI:
-No acute issues.
-Famotidine started yesterday for prophylaxis

GU:
-AKI resolved. Cr continues to trend down.
-Continue monitor l&Os.
-CPK continues to trend down yesterday afternoon but trended up again this morning 8200s .
-Will continue to trend CPK levels until normalize
-Continue with aggressive IVF therapy


ID:
-CSF negative for yeast as india ink test has resulted
-Known HIV infection.
-CD4 count and viral load pending
-Unknown history of HAART compliance.
-Will obtain records from DelCo ID office today.

HEME/ONC:
-No acute issues.
-Will continue Heparin SubQ VTE prophylaxis

ENDO:
-Keep sugars <180


F/E/N:
-NG tube feeding discontinued at sisters request. They have not updated us in regards to restarting even though we
spoke to them twice.
-Continue to monitor and replete electrolytes.
-Continue him IVF LR for now.



PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1010-0088
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD            Document 15-8           Filed 05/03/18        Page 110 of 186


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                        Mercy Fitzgerald Hospital
                                 Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



SOCIAL:
Full code.
NOK:

Sheree Bradham (484) 420-5809 Mother
Ellis Bradham (610) 348-4661 Father


(MALIK,AMMAR M MD)

Additional Information
Condition: Critical
Critical Care Time (mins): 30
Additional Comments
excluding teaching or procedures
(LERMAN,GABRIEL S DO)

Attestation Statement
Attestation Statement
I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:

The patient became more responsive today. He does wake up and open his eyes but he quickly becomes obtunded.
The patient is being more delirious this evening and in an effort to prevent him from self extubating, will start him on
Propofol for a RASS goal of -1. Will perform an SAT/SBT in the morning. His MRI is negative and it is looking more
and more that this was all due to TCA overdose. The sputum cultures are finalized as MSSA and we stopped the
vancomycin and changed him to Rocephin.

His rhabdo continues to get worse, there is a possibility of Serotonin Syndrome, however, he is not having
hyperthermia or other over symptoms of the condition. Will continue with the LR for the time being and daily CK
levels.

Family was advised once again to start tube feeds on the patient. They still want to talk amongst themselves before
agreeing to restarting tube feeds. It was stressed that the pt did not have an aspiration pneumonia.
(LERMAN,GABRIEL S DO)


MALIK.AMMAR M MD                                                                 Oct 10, 2016 07:38
LERMAN, GABRIEL S DO                                                             Oct 10, 2016 22:25

        <Electronically signed by AMMAR M MALIK, MD> 10/10/16 1621
        <Electronically signed by GABRIEL S LERMAN, DO> 10/10/16 2225




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1010-0088
REPORT STATUS: Signed
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                          Mercy Fitzgerald Hospital
                                    Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247




MALIAM I AM I DD 10/10/16 0738 /OT 10/10/16 0738




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1010-0088
REPORT STATUS: Signed
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                                                    Mercy Fitzgerald Hospital
                                                        Infectious Disease Progress No

PATIENT: EFUNNUGA,OLUTOKUNBO                                      MR#: F001250247
ACCT: FA1307223089                                  ADMIT DATE: 10/07/16
REPORT #: 1010-0200                                 DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                    ***Signed Status***


Subjective
Encounter Date & Time
10/10/16 10:13
Service: Infectious Disease
Subjective
CSF analysis not c/w bacterial meningitis
blood cultures GPC in chains on 10/8, admitted 1017
sputum with staph aureus
more responsive today, moved his toes and hands to verbal stimulus
no temp spikes
normal wbc
high fever yesterday, low grade this morning
vancomycin has been initiated
no sig resp suctioning per d/w nursing
as noted in HPI yesterday, patient didn't have fever or chills, or cough or sputum production per d/w his sister
yesterday atleast to her knowledge
d/w micro lab , prelim alpha strep and not pneumococcus, will wait for final ID

Objective
Active Meds Reviewed: Yes
Patient Data
                                           v·t
                                            1a1s·1ans, LastDocumen t ed
         Date Time        Temp     Pulse    Resp      B/P       Pulse Ox   02 Deliverv   02 Flow Rate     Fi02
        10/10/16 10:00              102        25     149/74         100   Ventilator                       40
        10/10/16 09:00      38.0

Weight in Kg
93.00
                                                               Bedside Blood Glucose
10/7/16 08:16: POC Glucose 82
Appearance: : other (intubated but moving extremetites today)
Head Exam: : Symmetric
Eyes: : Sciera Anicteric
Neck: : Supple
Thorax: : other (intubated)
Cardiovascular: : Regular Rate Rhythm
Abdomen: : other (mild distesnsion)



PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1010-0200
REPORT STATUS: Signed
              Case 2:18-cv-00924-PD            Document 15-8          Filed 05/03/18      Page 113 of 186


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                         Mercy Fitzgerald Hospital
                                  Infectious Disease Progress No

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



Results
                                                            Lab Results, CBC Diagram
10/10/16 04:45


                                                7.7~
                                                     ~
                                                            Lab Results, BMP Diagram
10/10/16 04:45



                                            --~-~-o--. . . -~-~-6--ilt--~-~-3--~
Diagnostics Reviewed: Yes

Impression and Plan
Plan
Impression and plan

1. HIV
         o Unclear if he truly was on medications or not at that as the history is not confirmed unclear
         " Sister thinks he might have been getting care at Delaware County Memorial Hospital, discussed with the
           team to contact the ID service over there and see if he is in their system
         o Check a CD4 count
         o Check a viral load
         o Check a hepatitis panel


2. Change in mental status,
      o Possibility of drug overdose
      o Neurology following
      o CT of the brain without any acute issues
      " Lumbar puncture thus far not consistent with meningitis, india ink negative, awaiting MRI brain once able with
        ventilator
      o Blood cultures today with alpha strep
      o staph aureus in sputum
      o fever after admission and not on initial presentation




3. VDRF, ventilator management per ICU team, no evidence of definitive PNA on xray, although today with mild
abnormality, many wbc on gram stain of sputum and now with staph aureus, tic CT chest as able

4. Rhabdomyolysis, treatment per icu team, CPK rising

Rocephin
can keep vancomycin till final that staph aureus MSSA which i suspect it may be as MRSA screen was negative


PATIENT: EFUN NUGAOLUTOKUNBO
CC:
REPORT#: 1010-0200
REPORT STATUS: Signed
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                         Mercy Fitzgerald Hospital
                                    Infectious Disease Progress No

PATIENT: EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



get repeat blood cultures
get ECHO


ASNANl,BHARTI, MD                                                              Oct 10, 2016 10:19

         <Electronically signed by BHARTI ASNANI, MD> 10/10/161025




ASNABH I BA I DD 10/10/161019 / DT 10/10/16 1019




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 101 G-0200
REPORT STATUS: Signed
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                                                Mercy Fitzgerald Hospital
                                                    Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                  MR#: F001250247
ACCT: FA1307223089                              ADMIT DATE: 10/07/16
REPORT #: 1011-0036                             DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                *** Signed Status ***


Subjective
Encounter Date & Time
10/11/16 05:37
(MALIK,AMMAR MMD)

Subjective
Subjective
Examined patient at bedside.
Patient became more responsive yesterday evening and v.ias started on Propofol.
Patient was unresponsive to pain and did not follow commands this morning.
(MALIK,AMMAR MMD)

Review of Systems
Unable to Obtain: Clinical Condition
(MALIK.AMMAR MMD)

Objective
Active Meds Reviewed: Yes
Medications

                                                            Medications Active List
           Medications            Dose            Sig/Sch        Start Time       status    Last Admin
                                  Ordered                        Stop Time
          Heparin Sodium          5,000 units     QB             1017/16 13:00              10/11/16 04:44
           (Porcine)
          Fentanyl Citrate        50 mcg          02H PRN        1017/16 08:30              10/10/16 04:29

          Acetaminophen 650       650 mg          06H PRN        10/8/16 20:45              10/10/16 04:28
          mg
          Lactated Ringer's       1,000 ml@       Q5H            10/10/16 08:30             10/11/16 04:45
                                  200 mis/hr
          Famotidine              20 mg           BID            10/10/16 21 :00            10/10/16 20:47

          FolicAcid               1 mg            DAILY          10/11/16 09:00

          Thiamine HCI 100        100 mg          DAILY          10/11/16 09:00
           mQ
          Ceftriaxone Sodium      100ml@          012            10/10/16 21 :00            10/10/16 20:48
                                  100 mis/hr


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1011-0036
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD          Document 15-8         Filed 05/03/18      Page 116 of 186


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                        Mercy Fitzgerald Hospital
                              Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                      MR#: F001250247



          Vancomycin/Sodium     500 ml@         Q12         10/10/16 21 :00          10/10/16 21:44
          Chloride              250 mis/hr
          Propofol              100 ml @O       QOM PRN     10/10/16 20:30           10/10/16 20:47
                                mis/hr

Titratable Med Infusions
Propofol 10 mcg
(MALIK,AMMAR M MD)

Patient Data
                                        Vital Signs, Last Documented
                                                                                 02 Flow Rate   Fi02
                                                                                                  40

Weight in Kg
93.00


                                                                   10/11/16
                                                                      07:00
                                 Intake Total                     5834.3 ml
                                 Out ut Total                       3350 ml
                                 Balance                          2484.3 ml

                                 Intake Oral                           Oml
                                 IV Total                         5784.3 ml
                                                                      50 ml
                                                                    3350 ml

Sedation Score Actual
1
(MALIK,AMMAR M MD)

Ventilator Settings
Ventilator Settings:
 Delivery Method: Endotracheal Tube
 Mode: AC
 Ventilator Rate: 18
 FI02 (21-100%): 40
 Tidal Volume (ml): 400
 PEEP (cm H20): 5
 Confirmation of Position: Chest Xray
(MALIK,AMMAR M MD)



PATIENT: EFUNNUGAOLUTOKUNBO
CC:
REPORT#: 1011-0036
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



Physical Exam
Appearance: : Appears Stated Age: No Acute DistressNo: Alert
Head Exam: : Normocephalic
HEENT: : PERRL: Sciera Anicteric
Thorax: : CTA Bilateral: No Accessory Muscle UseNo: Accessory Muscle Use, Crackles
Cardiovascular: : No JVD: Regular Rate Rhythm
Abdomen: : Bowel Sounds Noted: Soft
Rectal Exam: : Deferred
Skin: : Skin Color Normal: Skin Temperature Normal
Wound Present: No
Pulses: Distal Pulses 2+
Mental Status: Abnormal
Follows Commands: No
(MALIK,AMMAR M MD)

Results
Results
                                                          Arterial Blood Gas
1017/16 08:25: Blood Gas Ventilator Setting 18
10/7/16 17:00:
Venous Blood pH 7.43, Venous Blood pH (Temp Corrected) 7.43, Venous Blood Partial Pressure C02 47.1, Venous
Blood pC02 (Temp Corrected) 47.1, Venous Blood Partial Pressure 02 91.1, Venous Blood p02 (Temp Corrected)
91.1, Venous Blood HC03 31.3, Venous Bid 02 Saturation (Measured) 97.2, Venous Blood Base Excess 6.2,
Bedside Sodium (Blood Gas) 139, Bedside Potassium (Blood Gas) 6.0, Bedside Chloride (Blood Gas) 104, Ionized
Calcium (Blood Gas) 1. 12
10/8/16 06:15:
Allen Test Pos, Blood Gas Tidal Volume 400, Blood Gas PEEP 5.0
10/10/16 05:00:
Arterial Blood pH 7.43, Arterial Blood pH (Temp corrected) 7.43, Arterial Blood Partial Pressure C02 42.2, Arterial
Blood pC02 (Temp correct) 42.2, Arterial Blood Partial Pressure 02 107, Arterial Blood p02 (Temp corrected) 107,
Arterial Blood HC03 28.1, Arterial Bid 02 Saturation (Measur) 98.5, Arterial Blood Base Excess 3.5, Arterial Blood
Hematocrit 39.9, Arterial Blood Sodium 140, Arterial Blood Potassium 3.7, Chloride (Blood Gas) 107, Ionized
Calcium (Measured) (Bid Gas 1.20, Lactate (Blood Gas) 1.1, Blood Gas Temperature 98.6, Oxygen Delivery Device
Aerm, Fi02 40.0
Diagnostics Reviewed: Yes
 (MALIK,AMMAR M MD)
Labs pending
Diagnostics Reviewed: Yes
Imaging
10/11/16 PCXR read by me: There is ETT present 4cm from carina. Salem sump tube in stomach. Bilateral lower
lobe consolidations are present. Consistent with aspiration pneumonia.
 (VALENTINO,DOMINIC J, DO)

Quality
Discussed care Plan with: Family
Code Status: Full Code


PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1011-0036
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                       MR#: F001250247



 (MALIK,AMMAR M MD)
Lines Tubes and Catheter: ETT (10/7/16), Urinary Catheter (10/8/16)
Line Necessity Addressed: Yes
 (MALIK,AMMAR M MD)
Lines Tubes and Catheter: ETT (1017), Urinary Catheter (1-/8)
 (VALENTINO,DOMINIC J, DO)
VTE Prophylaxis Ordered: Yes
GI Prophylaxis: H2 Blockers
 (MALIK,AMMAR M MD)
Indwelling Foley Catheter: Yes
Indication for Indwelling cath: Acute Urinary Retention
I Will Enter Order to Remove: No
 (MALIK,AMMAR M MD)
Central Venous catheter: No
 (MALIK,AMMAR MMD)
Non-Violent Restraints: Continued
 (MALIK,AMMAR M MD)

Impression and Plan
Assessment
Problem List:
(1) Acute respiratory failure with hypoxia and hypercapnia
(2) On mechanically assisted ventilation
(3) Bacteremla
(4) Bacterial meningitis
(5) AKI (acute kidney injury)
(6) Drug overdose
(7) VAP (ventilator-associated pneumonia)
(8) Toxic encephalopathy
(9) Rhabdomyolysis
(10) HIV (human immunodeficiency virus infection)
Chronic Problems: (MALIK,AMMAR M MD)
Problem List:
(1) Acute respiratory failure with hypoxia and hypercapnia
(2) Aspiration pneumonia
(3) On mechanically assisted ventilation
(4) Bacteremia
(5) Bacterial meningitis
(6) AKI (acute kidney injury)
(7) Drug overdose
(8) Toxic encephalopathy
(9) Rhabdomyolysis
(10) Suicide and self-inflicted poisoning by drugs and medicinal substances
(11) HIV (human immunodeficiency virus infection)
Chronic Problems: (VALENTINO,DOMINIC J, DO)


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1011-0036
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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



Management Plan
Plan

Neurology:
-Patient status continues to improve
-Patient is intubated and was started on propofol. Will try to -wean patient off propofol.
-Most likely etiology currently for patients neurological state is the TCA overdose as LP, CT and MRI has been
negative.
-EEG did not reveal any epileptiform activity did revealed diffuse mild slowing theta waves activity predominant
consistent with toxic-metabolic encephalopathy as well as presence of fast beta activity in the frontal region anterior
area consistent with anxiety and medication effects.
-Will continue to monitor neuro status

CV:
-Minor widening of the QRS complex noted on EKG patient on presentation and was started on bicarb gtt due to TCA
overdose.
-Patient was tachycardic overnight but BP was stable.
-ID is recommending ECHO.

PULM:
-Patient is sating well on current ventilation setting.
-Respiratory cultures concerning for Staph currently on Vanco, will redose today


GI:
-No acute issues.
-Famotidine for prophylaxis

GU:
-AKI resolved.
-Continue monitor l&Os.
-CPK 8200 yesterday pending morning labs.
-Will continue to trend CPK levels until normalize
-Continue with aggressive IVF therapy


ID:
-CSF negative for yeast as india ink test has resulted. Prelim revealed gram positive cocci, final report pending.
-Blood cultures step and sputum staph.
-Known HIV infection.
-Never on any HAART
-CD4 count pending, Hep panel pending Viral load 1443
-Vane trough suboptimal, will redose Vanco today
-started patient on ceftriaxone


HEME/ONC:


PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



-No acute issues.
-Will continue Heparin SubQ VTE prophylaxis

ENDO:
-No active issues.
-Keep sugars <180


F/E/N:
-NG tube feeding discontinued at sisters request. lntensivist spoke to them twice and I personally spoke with sister
who is nurse in the evening and she said she will give us an update today.
-Continue to monitor and replete electrolytes. Morning labs pending.
-Continue him IVF LR for now.

SOCIAL:
Full code.
NOK:

Sheree Bradham (484) 420-5809 Mother
Ellis Bradham (610) 348-4661 Father


(MALIK,AMMAR M MD)

Additional lnfonnation
Condition: Critical
Critical Care Time (mins): 50 (excludes teaching and procedures)
 (VALENTINO,DOMINIC J, DO)
Attestation Statement
I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:
 (MALIK,AMMAR M MD)
Attestation Statement
I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:

I disagree with the residenrs note. The diagnoses listed to not accurately represent the acute illnesses we are
managing in the ICU.

The patient does not have have VAP. The patient had development of infiltrates on CXR within 48hrs of being
intubated for LOC from drug OD. He aspirated and this is classic aspiration pneumonia. It is also how he got
polymicrobial bacteremia and bacteria in his CSF (related to being immune suppressed from HIV).

He is showing evolution of this on xray. Will continue abx to cover lung/blood/csf. Failed his SAT /SBT today due to
agitation.
Continue patient on sedation to RASS goal -1/-2 with Propofol and fentanyl boluses.



PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
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                          Mercy Fitzgerald Hospital
                                    Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



Start tube feeds at 20cc/hr. I addressed the patient's mom/sister's concerns with this and explained he is not
aspirating now and needs nutritional support in order to improve

I reviewed plans on rounds with ICU nurse and residents and patient's mother and sister who were present on rounds.
 (VALENTINO,DOMINIC J, DO)


MALIK.AMMAR MMD                                                                 Oct 11, 2016 05:37
VALENTINO, DOMINIC J, DO                                                        Oct 11, 2016 11 :03

         <Electronically signed by AMMAR M MALIK, MD> 10/16/16 1951
         <Electronically signed by DOMINIC J VALENTINO, DO> 10/11 /16 1134




MALIAM I AM I DD 10/11/16 0537 IDT 10/11/16 0537




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1011-0036
REPORT STATUS: Signed
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                                                   Mercy Fitzgerald Hospital
                                                      Internal Med Progress Note
PATIENT: EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247
ACCT: FA1307223089                               ADMIT DATE: 10/07/16
REPORT #: 1011-0070                              008: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                                   *** Signed Status ***

Subjective
Encounter Date & Time
10/11/16 07:00
Subjective
Patient seen, vented/sedated, full chart reviewed, febrile overnight

Objective
Patient Data
                                           Vital Signs, Last Documented
         Date Time                                                                       02 Flow Rate   Fi02
        10/11/16 06:00               102      28    149/78             99   Ventilator                    40

Weight In Kg
93.00
                                                             Bedside Blood Glucose
10/7/16 08:16: POC Glucose 82
Appearance: : No Acute Distress
Thorax: : Decreased Breath Sounds
Cardiovascular: : Regular Rate Rhythm
Abdominal Inspection: : Normal
Abdomen: : Bowel Sounds Noted: Non-tender
Neurologic: : Other (unable to assess)

Impression and Plan
Problem List:
(1) Drug overdose
Impression and Plan: Continue with clinical monitoring
(2) Acute respiratory failure with hypoxia and hypercapnia
Impression and Plan: Continue full ventilator support, wean as clinically appropriate
(3) AKI (acute kidney injury)
Impression and Plan: Creatinine within normal limits
(4) HIV (human immunodeficiency virus infection)
Impression and Plan: Appreciate ID input, follow-up LP studies, on Rocephin and vancomycin, cultures reviewed
Chronic Problems:



PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1011-0070
REPORT STATUS: Signed
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                         Mercy Fitzgerald Hospital
                                   Internal Med Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247




HAMID.SAMMY, MD                                                              Oct11, 201607:01

        <Electronically signed by SAMMY HAMID, MD> 10/12/16 0725




HAMISA I SH I DD 10/11/16 0701/DT10/11/16 0701




PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1011-0070
REPORT STATUS: Signed
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                                                          Mercy Fitzgerald Hospital
                                                             Infectious Disease Progress No

PATIENT: EFUNNUGA,OLUTOKUNBO                                        MR#: F001250247
ACCT: FA1307223089                                    ADMIT DATE: 10/07/16
REPORT#: 1011-0318                                    DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN,MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                          ***Signed Status***


                           *** Addendum*** *** Addendum*** *** Addendum***
10/11/16
Addendum: GILBERT,MARK, MD on 10/11/16@ 13:41

Please obtain ECHO, TEE if logistically feasible


                                                                     <Electronically signed by MARK GILBERT MD>



GILBMA I MG I DD 10111/16, 1341/OT10/11/16, 1341


                                                    *** Original Report ***

Subjective
Encounter Date & Time
10/11/16 13:30
Service: Infectious Disease
Subjective
Pt requires sedation and mechanical ventilation, Tm 101

Objective
Patient Data
                                               V"talS"
                                                I     1ans, LastDo cumen t ed
          Date Time          Temp      Pulse       Resp    B/P       Pulse Ox   02 Deliverv   02 Flow Rate   Fi02
         10/11/16 12:13                              24                                                        40
         10/11/16 12:00                   93               134/68          99   Ventilator
         10/11/16 11 :00       36.6

Weight in Kg
93.00
                                                                    Bedside Blood Glucose
1017/16 08:16: POC Glucose 82

Physical Exam
anicteric pupils reactive ET intact no stridor or meningismus lung decreased bs bases no cardiac m/r appreciated iv
access intact w/o induration no stridor or meningismus abd mild nontender distention guarding or pulsation upper limb

PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1011·0318
REPORT STATUS: Signed
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                            Mercy Fitzgerald Hospital
                                     Infectious Disease Progress No

PATIENT: EFUNNUGA,OLUTOKUNBO                                                 MR#: F001250247



dependent edema no acute joint effusions Neuro no tremor appreciated en pupils reactive no facial asymmetry
plantars down

Results
blood c/s = 1) staph aureus- mssa, 2) streptococcus mitis,         3) alpha streptococcus
repeat blood els pending

CSF els: growth only in broth - preliminary= staph sp
Imaging
CxR(my reading(): bilateral infiltrates

Impression and Plan
Plan

1. HIV
         o   Unclear if he truly was on medications or not at that as the history is not confirmed unclear
         o Sister thinks hem ight have been getting care at Delaware County Memorial Hospital, discussed with the
             team to contact the ID service over there and see if he is in their system
         o Check a CD4 count
         o Check a viral load
         o Check a hepatitis panel


2. Change in mental status,
      o Possibility of drug overdose
      o Neurology following
      o CT of the brain without any acute issues
      o Lumbar puncture/MRI does not confirm presence of meningitis
      o CSF els= contamination if staph sp growth confirmed




3. pneumonia: aspiration a reasonable consideration, complicated by hypoxic respiratory failure

4. hypoxic respiratory failure: mechanical ventilation

5. Rhabdomyolysis, treatment

6. abx mgmt: continue ceftriaxone, If MRSA not identified, vancomycin can be discontinued

discussed clinical presentation with pts mother and ICU medical staff


GILBERT, MARK, MD                                                                    Oct 11, 2016 13:35

             <Electronically signed by MARK GILBERT, MD> 10/11/161340


                10/11/16 1341


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1011-0318
REPORT STATUS: Signed
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                         Mercy Fitzgerald Hospital
                                    Infectious Disease Progress No

PATIENT: EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247




GILBMA I MG I DD 10/11/161335 / DT 10/11/16 1335




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1011-0318
REPORT STATUS: Signed
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                                               Mercy Fitzgerald Hospital
                                                   Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT: FA1307223089                             ADMIT DATE: 10/07/16
REPORT #: 1012-0024                            DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN, MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                               *** Signed Status ***

Subjective
Encounter Date & Time
10/12/16 05:50
(MALIK,AMMAR M MD)

Subjective
Subjective
Examined patient at bedside.
No acute events reported overnight.
(MALIK,AMMAR M MD)

Review of Systems
Unable to Obtain: Clinical Condition (Intubated and sedated)
(MALIK,AMMAR M MD)

Objective
Active Meds Reviewed: Yes
Medications

                                                     Medications Active List
           Medications            Dose          Sig/Sch   Start Time      status    LastAdmin
                                  Ordered                 Stoo Time
           Fentanyl Citrate       50 mcg        Q2H PRN   1017/16 08:30             10/10/16 04:29

           Acetaminophen          650 mg        Q6H PRN        10/8/16 20:45        10/10/16 04:28

           Famotidine             20 mg         BID            10/10/16 21 :00      10/11/16 20:23

           FolicAcid                  1 mg       DAILY         10/11 /16 09:00      10/11 /16 08:29

           Thiamine HCI 100       100 mg        DAILY          10/11 /16 09:00      10/11/16 08:29
           mg
           Ceftriaxone Sodium     100 ml@       Q12            10/10/16 21 :OD      10/11/16 20:23
                                  100 mis/hr
           Propofol               100 ml@O      QOM PRN        10/10/16 20:30       10/12/16 01:05
                                  mis/hr
           Vancomycin/Sodium      500 ml@       QB             10/11/16 08:15       10/12/16 04:53
           Chloride               250 mis/hr



PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1012-0024
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
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PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



           Enoxaparin Sodium       40 mg           DAILY        10/11/1610:45               10/11/16 11:18


Titratable Med Infusions
Propofol 20 mcg
(MALIK,AMMAR MMD)

Patient Data
                                            Vital Signs, Last Documented
          Date Time        Tern    Pulse    Res      B/P      Pulse Ox 02 Deliver        02 Flow Rate   Fi02
         10/12/16 05:00     37.7    103        33 151/84           100 Ventilator                         40

Weight in Kg
93.00


                                                                            10/12/16
                                                                               07:00
                              Intake Total                                 5164.6 ml
                              Out ut Total                                   2925 ml
                              Balance                                      2239.6 ml

                              Intake Oral                                       Oml
                              IV Total                                     3954.6 ml
                                                                              300 ml
                                                                              910 ml
                                                                             2925 ml
                                                                              917 ml
                                                                                     0
Sedation Score Actual
3

(MALIK,AMMAR MMD)

Ventilator Settings
Ventilator Settings:
 Delivery Method: Endotracheal Tube
 Mode: AC
 Ventilator Rate: 18
 FI02 (21-100%): 40
 Tidal Volume (ml): 400
    PEEP (cm H20): 5
 Confinnation of Position: Chest Xray
(MALIK,AMMAR M MD)


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1012-0024
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                      Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247




Physical Exam
Appearance: : Appears stated AgeNo: No Acute Distress
Head Exam: : Normocephalic
HEENT: : PERRL: Sciera Anicteric
Thorax: : CTA Bilateral: No Accessory Muscle UseNo: Accessory Muscle Use
C3rcllovascular: : No JVD: Normal Peripheral Pulse: Regular Rate Rhythm
Abdomen: : Bowel Sounds Noted: Soft
Rectal Exam: : Deferred
Skin: : Skin Color Normal: Skin Temperature Normal
Wound Present: No
Pulses: Distal Pulses 2+
Mental Status: Abnormal
Follows Commands: No
(MALIK,AMMAR M MD)

Results
Results
                                                          Lab Results, CBC Diagram
10/11/1619:10


                                            ~67
                                            ~~

                                                          Lab Results, BMP Diagram
10/11/1619:10


                                          ~~-~B-~+--~-~-~11--~-~-l--~
                                                 8        3


                                                          Arterial Blood Gas
10/7/16 08:25: Blood Gas Ventilator Setting 18
10/7/1617:00:
Venous Blood pH 7.43. Venous Blood pH (Temp Corrected) 7.43. Venous Blood Partial Pressure C02 47.1. Venous
Blood pC02 (Temp Corrected) 47.1, Venous Blood Partial Pressure 02 91.1, Venous Blood p02 (Temp Corrected)
91.1, Venous Blood HC03 31.3, Venous Bid 02 Saturation (Measured) 97.2, Venous Blood Base Excess 6.2,
Bedside Sodium (Blood Gas) 139, Bedside Potassium (Blood Gas) 6.0, Bedside Chloride (Blood Gas) 104, Ionized
Galcium (Blood Gas) 1.12
10/8/16 06:15:
Allen Test Pas, Blood Gas Tidal Volume 400, Blood Gas PEEP 5.0
10/10/16 05:00:
Arterial Blood pH 7.43. Arterial Blood pH (Temp corrected) 7.43, Arterial Blood Partial Pressure C02 42.2. Arterial
Blood pC02 (Temp correct) 42.2, Arterial Blood Partial Pressure 02 107, Arterial Blood p02 (Temp corrected) 107,
Arterial Blood HC03 28.1, Arterial Bid 02 Saturation (Measur) 98.5, Arterial Blood Base Excess 3.5, Arterial Blood


PATIENT: EFUNNUGAOLUTOKUNBO
CC:
REPORT#: 1012-0024
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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                      MR#: F001250247


Hematocrit 39.9, Arterial Blood Sodium 140, Arterial Blood Potassium 3.7, Chloride (Blood Gas) 107, Ionized
Calcium (Measured) (Bid Gas 1.20, Lactate (Blood Gas) 1.1, Blood Gas Temperature 98 6, Oxygen Delivery Device
Aerm, Fi02 40.0
Diagnostics Reviewed: Yes
 (MALIK,AMMAR MMD)
Diagnostics Reviewed: Yes
Imaging
10/12/16 PCXR read by me: There is ETT 3cm from carina. LUE PICC Line. Salem sump tube in stomach. Bilateral
lower lobe consolidations similar to prior day.
 (VALENTINO.DOMINIC J, DO)

Quality
Discussed Care Plan with: Patient, Family
Code Status: Full Code
 (MALIK,AMMAR MMD)
Lines Tubes and Catheter: ETT, PICC (10/12/16)
Line Necessity Addressed: Yes
 (MALIK,AMMAR M MD)
Lines Tubes and Catheter: PICC (LUE 10/12/16)
 (VALENTINO,DOMINIC J, DO)
VTE Prophylaxis Ordered: Yes
GI Prophylaxis: H2 Blockers
 (MALIK,AMMAR M MD)
Indwelling Foley Catheter: No
 (MALIK,AMMAR MMD)
Central Venous Catheter: No
 (MALIK.AMMAR M MD)
Non-Violent Restraints: Continued
 (MALIK,AMMAR M MD)

Impression and Plan
Assessment
Problem List:
(1) Acute respiratory failure with hypoxia and hypercapnia
(2) Aspiration pneumonia
(3) On mechanically assisted ventilation
(4) Bacteremia
(5) Bacterial meningitis
(6) Drug overdose
(7) Toxic encephalopathy
(8) Rhabdomyolysis
(9) Suicide and self-inflicted poisoning by drugs and medicinal substances
(10) HIV (human immunodeficiency virus infection)
Chronic Problems: (MALIK,AMMAR M MD)
Problem List:


PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



(1) Acute respiratory failure with hypoxia and hypercapnia
(2) Aspiration pneumonia
Impression and Plan: with MSSA
(3) On mechanically assisted ventilation
(4) Bacteremia
(5) Drug overdose
(6) Toxic encephalopathy
(7) Rhabdomyolysis
(8) Suicide and self-inflicted poisoning by drugs and medicinal substances
(9) HIV (human immunodeficiency virus infection)
(10) G6P deficiency (glucose-6-phosphatase deficiency)
Chronic Problems: (VALENTINO,DOMINIC J, DO)
l\llanagement Plan
Plan

Neurology:
-Patient remains intubated and on propofol. Propofol dose increased from 10 yesterday to 20.
-Patient not responsive to pain or following commands.
-Once infection clears we will attempt SAT/SST
-Most likely etiology currently for patients neurological state is the TCA overdose as LP, CT and MRI has been
negative.
-EEG did not reveal any epileptiform activity.
-Will continue to monitor neuro status

CV:
-Minor widening of the QRS complex noted on EKG patient on presentation and was started on bicarb gtt due to TCA
overdose.
-Patient was tachycardic overnight.
-Echo revealed EF 45-50% with trace tricuspid regurgitation with borderline concentric left ventricular hypertrophy

PULM:
-Patient is sating well on current ventilation setting. Consider decreasing FI02 as ABG shows a high P02 level.
-Respiratory cultures concerning for Staph currently on Vancomycin
-Will continue Vancomycin until infection clears


GI:
-No acute issues.
-Famotidine for prophylaxis
-Tube feeds started and patient tolerating well

GU:
-AKI resolved.
-Continue monitor l&Os.
-CPK levels trending down from 8288 to 6046
-Will continue to trend CPK levels until normalize


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1012-0024
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD              Document 15-8          Filed 05/03/18       Page 132 of 186


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                        Mercy Fitzgerald Hospital
                                 Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



-Continue with aggressive IVF therapy
-Foley removed and texas catheter inserted but patient continues to have urinary retention
-Will consider reinserting foley today.


ID:
-Vancomycin level suboptimal, we will redose today. Target is 25.
-CSF negative for yeast as india ink test has resulted. Prelim revealed gram positive cocci, final report pending.
-Blood cultures step and sputum staph.
-Known HIV infection.
-Never on any HAART
-CD4 count pending, Hep panel pending Viral load 1443
-Continue Ceftriaxone 2 gm
-Continue Vancomycin 1.5 gm


HEME/ONC:
-No acute issues.
-DVT prophylaxis changed to Lovenox.

ENDO:
-No active issues.
-Glucose level within range last evening and this morning
-Accuchecks and Regular insulin SS ordered
-Keep sugars <180


F/E/N:
-Tube feedings started yesterday, patient tolerating wel I.
-Continue to monitor and replete electrolytes as needed
-Morning labs, no repletion needed.

SOCIAL:
Full code.
NOK:

Sheree Bradham (484) 420-5809 Mother
Ellis Bradham (610) 348-4661 Father


(MALIK,AMMAR MMD)

Additional Information
Condition: Critical
Critical Care Time (mins): 45 (excludes teaching and procedure times)
(VALENTINO,DOMINIC J, DO)
Attestation Statement


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1012-0024
REPORT STATUS: Signed
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                          Mercy Fitzgerald Hospital
                                    Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:

Patient remains intubated as failed SAT/SBT this AM. Copious thick secretions seem to be the rate limiting step.
Patient tolerated tube feeds and we will increase to goal.
Check EKG for QT segment and start risperdal to help with delirium/sedation.
Add doxazosin for urine retention, likely secondary to drugs he ingested.
Would stop vancomycin as CSF organism most likely contaminant, but I will ask ID for their opinion.
Rocephin should continue for bacteremia and MSSA Pneumonia (from aspiration).

Will need Psychiatric evaluation once extubated, hopefully in a few days.
I updated ICU nurse and residents with plans of care.
We included his sister in rounds again and her questions were addressed and answered.

Stopped acetaminophen as there was concern from DelCo about him having possible G6PD deficiency. Pharmacy
aware to crosscheck all drug orders for this disorder as some classes of drugs will need to be avoided. No signs of
hemolytic anemia at present.
(VALENTINO,DOMINIC J, DO)


MALIK.AMMAR M MD                                                               Oct 12, 2016 05:50
VALENTINO, DOMINIC J, DO                                                       Oct 12, 2016 12:12

         <Electronically signed by AMMAR M MALIK, MD> 10/17/16 0259
         <Electronically signed by DOMINIC J VALENTINO, DO> 10/12/16 1218




MALIAM I AM I DD 10/12116 0550 IDT 10/12/16 0550




PATIENT: EFUN NUGAOLUTOKUNBO
cc:
REPORT#: 1012-0024
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD            Document 15-8         Filed 05/03/18     Page 134 of 186



                                                Mercy Fitzgerald Hospital
                                                    Internal Med Progress Note
PATIENT: EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT: FA1307223089                             ADMIT DATE: 10/07/16
REPORT#: 1012-0126                             DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                                ***Signed Status***


Subjective
Encounter Date & Time
10/12/16 08:25
Subjective
Patient seen, chart reviewed, on mechanical ventilation, nonresponsive

Objective
Patient Data
                                          Vital Signs, Last Documented
         Date Time       Temo     Pulse   Reso B/P          Pulse Ox 02 Deliverv    02 Flow Rate   Fi02
        10/12/16 08:09                       24                                                      50
        10/12/16 06:00               90            141/81        100 Ventilator
        10/12/16 05:00     37.7

Weight in Kg
93.00
                                                         Bedside Blood Glucose
10/12/16 08:04: POC Glucose 88
Appearance: : No Acute Distress
Thorax: : Decreased Breath Sounds
Cardiovascular: : Regular Rate Rhythm
Abdominal Inspection: : Normal
Abdomen: : Bowel Sounds Noted: Non-tender
Neurologic: : other (unable to assess)

Results
                                                         Lab Results, CBC Diagram
10/11/1619:10

                                           ~67
                                           ~~

10/12/16 05:40


                                             10.3~70
                                                  ~
PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1012-0126
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD              Document 15-8         Filed 05/03/18     Page 135 of 186


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                        Mercy Fitzgerald Hospital
                                 Internal Med Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247




                                                           Lab Results, BMP Diagram
10/11/1619:10



                                                              I ~
                                               138     103      12
                                               3.8    26        1.1

10/12116 05:40



                                                                       ~
                                               140    104       12
                                               4.2    26        1.2


Impression and Plan
Problem List:
(1) Drug overdose
Impression and Plan: Continue with clinical monitoring
(2) Acute respiratory failure with hypoxia and hypercapnia
Impression and Plan: Continue full ventilator support, wean as clinically appropriate
(3) AKI (acute kidney injury)
Impression and Plan: Creatinine now within normal limits
(4) HIV (human immunodeficiency virus infection)
Impression and Plan: Appreciate ID input, follow-up LP studies, on Rocephin and vancomycin, cultures reviewed
Chronic Problems:


HAMID.SAMMY, MD                                                              Oct 12, 2016 08:27

        <Electronically signed by SAMMY HAMID, MD> 10/13/16 0820




HAMISA/ SH/ DD 10/121160827/ DT 10/121160827




PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
REPORT#: 1012-0126
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD                  Document 15-8     Filed 05/03/18        Page 136 of 186



                                                      Mercy Fitzgerald Hospital
                                                         Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                       MR#: F001250247
ACCT: FA 1307223089                                  ADMIT DATE: 10/07/16
REPORT#: 1012-0452                                   DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                                      ***Signed Status***


Critical Care Note Addendum
Encounter Date & Time
10/12/16 20:18
Family brought up concerns tcx:lay about possible G6PD deficiency. We obtained records from Delaware County
Hospital from the patient's regular infectious disease specialist and I personally revie..ved. The G6PD functional level
was normal on this assay which was done in 2016. He has no evidence of G6PD deficiency and therefore he is able
to receive Tylenol if needed. ICU team updated on this as well.


VALENTINO, DOMINIC J, DO                                                         Oct 12, 2016 20:19

         <Electronically signed by DOMINIC J VALENTINO, DO> 10/12/16 2019




VALEDO I DJV I DD 10/12116 2019 /OT 10/12116 2019




PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
REPORT#: 1012-0452
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD              Document 15-8     Filed 05/03/18        Page 137 of 186



                                                 Mercy Fitzgerald Hospital
                                                    Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                  MR#: F001250247
ACCT: FA1307223089                              ADMIT DATE: 10/07/16
REPORT#: 1013-0045                              DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                 ***Signed Status***


Subjective
Encounter Date & Time
10/13/16 07:03
(MALIK,AMMAR M MD)

Subjective
Subjective
Examined patient at beside.
No acute events reported overnight.
Patient continues to have urinary retention.
(MALIK,AMMAR MMD)

Review of Systems
Unable to Obtain: Clinical Condition (Intubated and sedated)
(MALIK.AMMAR MMD)

Objective
Active Meds Reviewed: Yes
Medications

                                                         Medications Active List
      Medications              Dose                   Sig/Sch     start Time         status   Last Adm in
                               Ordered                            stop Time
      Fentanyl Citrate         50mcg                  Q2H PRN     1017/16 08:30               10/13/16 02:01

      Famotidine               20mg                   BID          10/10/16 21 :OD            10/12/16 21 :53

      FolicAcid                1 mg                   DAILY        10/11/16 09:00             10/12/16 09:02

      Thiamine HCI 100         100 mg                 DAILY        10/11/16 09:00             10/12/16 09:03
      ma
      Propofol                 100ml@O                QOM PRN      10/10/16 20:30             10/13/16 05:02
                               mis/hr
      Enoxaparin Sodium        40mg                   DAILY        10/11/16 10:45             10/12/16 09: 08

      Insulin Human            SS LOW DOSE LOW        Q6           10/12/16 07 :45
      Regular                  INTENSITY
                               SCALE: Bl. ..



PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1013-0045
REPORT STATUS: Signed
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                       Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                         MR#: F001250247



      Dextrose                16 gm                   PRN PRN       10/12/16 11 :45               10/12/1612:41

      Dextrose/Water          12.5 gm                 PRN PRN       10/12/16 11 :45

      Doxazosin Mesylate      1 mg                    DAILY         10/13/16 09:00

      Risperidone 1 mg        1 mg                    BID           10/12/16 11 :45               10/12/16 21:54

      Cefazolin Sodium        50ml@                   QB            10/12/1614:37                 10/13/1606:14
                              100 mis/hr
      Acetaminophen           500 mg                  Q6H PRN       10/12/16 20:15                10/13/16 02:04


Titratable Med Infusions
Propofol 20 MCG
(MALIK,AMMAR MMD)

Patient Data
                                           Vltal Signs, Last Documented
         Date Time         Temp    Pulse   Resp B/P          Pulse Ox 02 Deliverv         02 Flow Rate   Fi02
        10/13/16 06:00                76      24 150/75           100 Ventilator                           40
        10/13/16 05:00      37.6

Weight in Kg
93.00
                                                           Bedside Blood Glucose Last 24h
10/12116 08:04: POC Glucose 88
10/1211611:16: POC Glucose 67
10/12/16 16:30: POC Glucose 101


                                                                           10/13/16
                                                                              07:00
                              Intake Total                               2420.17 ml
                              Out ut Total                                  4650 ml
                              Balance                                   -2229.83 ml

                                                                          420.17 ml
                                                                             850 ml
                                                                            1150 ml
                                                                            4650 ml
                                                                               O ml
                                                                             900 ml
                                                                             900 ml
                              #Voids                                                  0


PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
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                        Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247




Sedation Score Actual
-2

(MALIK,AMMAR M MD)

Ventilator Settings
Ventilator Settings:
 Delivery Method: Endotracheal Tube
 Mode: AC
 Ventilator Rate: 24
 FI02 (21-100%): 40
 Tidal Volume (ml): 450
  PEEP (cm H20): 5
 Confirmation of Position: Chest Xray
(MALIK.AMMAR MMD)

Physical Exam
Appearance: : Appears Stated Age: No Acute Distress
Head Exam: : Normocephalic
HEENT: : PERRL: Sciera Anicteric
Thorax: : No Accessory Muscle Use: Rhonchi
Cardiovascular: : No JVD: Regular Rate Rhythm
Abdomen: : Bowel Sounds Noted: Soft
Rectal Exam: : Deferred
Skin: : Skin Color Normal: Skin Temperature Normal
Wound Present: No
Pulses: Distal Pulses 2+
Mental Status: Abnormal
Follows Commands: Yes
(MALIK,AMMAR MMD)

Results
Results
                                                          Arterial Blood Gas
10/7/16 17:00:
Venous Blood pH 7.43, Venous Blood pH (Temp Corrected) 7.43, Venous Blood Partial Pressure C02 47.1, Venous
Blood pC02 (Temp Corrected) 47.1, Venous Blood Partial Pressure 02 91.1, Venous Blood p02 (Temp Corrected)
91.1. Venous Blood HC03 31.3. Venous Bid 02 Saturation (Measured) 97.2. Venous Blood Base Excess 6.2,
Bedside Sodium (Blood Gas) 139, Bedside Potassium (Blood Gas) 6.0, Bedside Chloride (Blood Gas) 104, Ionized
Calcium (Blood Gas) 1.12
10/8/16 06:15: Allen Test Pas
10/13/16 05:30:
Arterial Blood pH 7.41, Arterial Blood pH (Temp corrected) 7.41, Arterial Blood Partial Pressure C02 46.2, Arterial
Blood pC02 (Temp correct) 46.2, Arterial Blood Partial Pressure 02 122, Arterial Blood p02 (Temp corrected) 122,


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT #: 1013-0045
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            Case 2:18-cv-00924-PD             Document 15-8         Filed 05/03/18        Page 140 of 186


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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247



Arterial Blood HC03 29.2, Arterial Bid 02 Saturation (Measur) 98. 7, Arterial Blood Base Excess 4.1, Arterial Blood
Hematocrit 35.7, Blood Gas Temperature 98.6, Oxygen Delivery Device Aerm, Blood Gas Ventilator Setting 24, Fi02
40.0, Blood Gas Tidal Volume 450, Blood Gas PEEP 5.0
Diagnostics Reviewed: Yes
(MALIK,AMMAR M MD)

Quality
Discussed Care Plan with: Family
Code Status: Full Code
 (MALIK,AMMAR M MD)
Lines Tubes and Catheter: ETT (10/8), PICC (10/11)
Line Necessity Addressed: Yes
 (MALIK,AMMAR M MD)
VTE Prophylaxis Ordered: Yes
GI Prophylaxis: H2 Blockers
 (MALIK.AMMAR M MD)
Indwelling Foley Catheter: No
 (MALIK,AMMAR M MD)
Central Venous Catheter: No
 (MALIK,AMMAR M MD)
Non-Violent Restraints: Continued
 (MALIK,AMMAR M MD)

Impression and Plan
Assessment
Problem List:
(1)Acute respiratoryfailure with hypoxia and hypercapnia
(2) Aspiration pneumonia
(3) On mechanically assisted ventilation
(4) Bacteremia
(5) Bacterial meningitis
(6) Drug overdose
(7) Toxic encephalopathy
(8) Rhabdomyolysis
(9) Suicide and self-inflicted poisoning by drugs and medicinal substances
(10) HIV (human immunodeficiency virus infection)
Chronic Problems: (MALIK,AMMAR M MD)

Management Plan
Plan

Neurology:
-Patient remains intubated and on propofol.
-Patient responsive to pain and follows commands.
-Most likely etiology currently for patients neurological state is the TCA overdose as LP, CT and MRI has been


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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                        Mercy Fitzgerald Hospital
                                  Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



negative.
-EEG did not reveal any epileptiform activity.
-Will continue to monitor neuro status
-Risperidone started yesterday to manage patients agitation

CV:
-Minor widening of the QRS complex noted on EKG patient on presentation and was started on bicarb gtt due to TCA
overdose.
-Patient HR better controlled overnight
-Echo revealed EF 45-50% with trace tricuspid regurgitation with borderline concentric left ventricular hypertrophy
-EKG today to determine QT due to risperidone.

PULM:
-Patient is sating well on current ventilation setting.
-Pneumonia due to MSSA, started on Cefazolin
-Vane DIC


GI:
-No acute issues.
-Famotidine for prophylaxis
-Increased tube feedings yesterday

GU:
-AKI resolved.
-Continue monitor l&Os.
-CPK levels 6046 trending down to 3101
-Will continue to trend CPK levels until normalize
-Continue with aggressive IVF therapy
-Foley removed and texas catheter inserted but patient continues to have urinary retention, patient was started
doxazosin yesterday but continues to have retention. Consider adding foley today



ID:
-CSF negative for yeast as india ink test has resulted. Culture growing Strep epidermitis, most likely contamination.
-Blood cultures step and sputum staph.
-Known HIV infection.
-Never on any HAART
-MSSA started on Cefazolin yesterday and vancomycin discontinued



HEME/ONC:
-No acute issues.
-DVT prophylaxis with Lovenox.

ENDO:


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1013-0045
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



-No active issues.
-Glucose level within range on tube feedings
-Accuchecks and Regular insulin SS ordered
-Keep sugars <180


F/E/N:
-Patient tolerating tube feedings well.
-Continue to monitor and replete electrolytes as needed
-Morning labs pending

SOCIAL:
Full code.
NOK:

Sheree Bradham (484) 420-5809 Mother
Ellis Bradham (610) 348-4661 Father


(MALIK,AMMAR M MD)

Additional lnfonnation
Condition: Critical
Critical Care Time (mins): 30
Addltlonal Comments
excluding teaching or procedures
(LERMAN,GABRIEL S DO)

Attestation Statement
Attestation Statement
I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:

The patient failed his SBT this morning due to tachypnea. Per nursing, he is still having significant secretions which is
all due to his pneumonia. Will continue with aggressive pulmonary toileting and daily SBT. The patient has been
intubated for 1 week and will give him some more time before discussion tracheostomy with him and family.

The patient has been having issues with urinary retention, and has been straight cathed at least 3 times. He was
bladder scanned this morning and there was a significant amount of urine in the bladder, a foley catheter was ordered
to be placed this morning. This is probably a continued side effect of the TCA overdose. He remains on Doxazosin.
We can do a voiding trial in the next day or two and if he fails, will need a urology consult.

Continue with tube feeds.
 (LERMAN,GABRIEL S DO)
Attestation Statement
I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:


PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 101~0045
REPORT STATUS: Signed
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                          Mercy Fitzgerald Hospital
                                    Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



(MALIK,AMMAR MMD)


MALIK.AMMAR MMD                                                                Oct 13, 2016 07 :07
LERMAN, GABRIEL S DO                                                           Oct 13, 2016 14:21

         <Electronically signed by AMMAR M MALIK, MD> 10/13/16 1430
         <Electronically signed by GABRIEL S LERMAN, DO> 10/13/16 1426




MALIAM I AM I DD 10/13/16 0707 IDT 10/13/16 0707




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1013-0045
REPORT STATUS: Signed
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                                                    Mercy Fitzgerald Hospital
                                                        Internal Med Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                     MR#: F001 250247
ACCT: FA1307223089                                  ADMIT DATE: 10/07/16
REPORT#: 1013-0126                                  DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN.MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                                    ***Signed Status***


Subjective
Encounter Date & Time
10/13/16 08:26
Subjective
Patient seen, on the ventilator. no overnight issues, chart reviewed at length

Objective
Patient Data
                                           Vital Signs, Last Documented
         Date Time                                                                        02 Flow Rate   Fi02
        10/13/16 07 :00               76       24     151/73         100   Ventilator                      40

Weight In Kg
93.00
                                                               Bedside Blood Glucose
10/12/16 21:22: POC Glucose 106
Appearance: : No Acute Distress
Thorax: : Decreased Breath Sounds
Cardiovascular: : Regular Rate Rhythm
Abdominal Inspection: : Normal
Abdomen: : Bovvel Sounds Noted

Results
                                                               Lab Results, CBC Diagram
10/13/16 06:00


                                               10.9~94
                                                      ~
                                                               Lab Results, BMP Diagram
10/13/16 06:00



                                           --~-:-o--. . .~-~-4--+l--~-~--c~

PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1013-0126
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD                  Document 15-8       Filed 05/03/18       Page 145 of 186


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                          Mercy Fitzgerald Hospital
                                     Internal Med Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                             MR# : F001250247



Impression and Plan
Problem List:
(1) Acute respiratory failure with hypoxia and hypercapnia
Impression and Plan: Continue full ventilator support, wean as clinically appropriate
(2) AKI (acute kidney injury)
Impression and Plan: Resolved
(3) HIV (human immunodeficiency virus infection)
Impression and Plan: On cefazolin, follow clinically
(4) Drug overdose
Impression and Plan: Continue with clinical monitoring
Chronic Problems:


HAMID,SAMMY, MD                                                                 Oct 13, 2016 08:27

         <Electronlcally signed by SAMMY HAMID, MD> 10/14/16 0806




HAMISA I SH I DD 10/13/16 0827 / DT 10/13/16 0827




PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
REPORT#: 1013-0126
REPORT STATUS: Signed
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                                                         Mercy Fitzgerald Hospital
                                                             Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                                         MR#: F001250247
ACCT: FA1307223089                                      ADMIT DATE: 10/07/16
REPORT#: 1013-0381                                      DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN .MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                                        ***Signed Status***


                             *** Addendum *** *** Addendum *** *** Addendum ***
10/14/16
Addendum : GILBERT, MARK, MD on 10/14/16@ 17:20

bacteremia: strep mitis only , not staph aureus


                                                                  <Electronically signed by MARK GILBERT MD>



GILBMA I MG I DD 10/14116, 1720 IDT 10/14/16 , 1720


                                                      *** Original Report ***

Subjective
Encounter Date & Time
10/13/16 16:05
Service: Infectious Disease
Subjective
Pt requires mechanical ventilation , excessive respiraotry secretions prevents extubation , Pt reactive to stimuli , and
moves torso and limbs, Tm 100-101 , no loose stool or acute skin changes appreciated by nursing staff

Objective
Patient Data
                                                  Vital Signs, Last Documented
           Date Time          Temo       Pulse    Reso B/P          Pulse Ox 02 Deliverv   02 Flow Rate    Fi02
          10/13/16 16:00                  110        24                   96
          10/13/16 14:00                                   144/56            Ventilator                      40
          10/13/16 11 :00       37.5

Weight In Kg
93.00
                                                                 Bedside Blood Glucose
10/12/16 21:22: POC Glucose 106

Physical Exam
anicteric pupils reactive ET intact, no stridor or meningismus lung rhonchi abd mild nontender distention, no guarding

PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1013-0381
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD              Document 15-8           Filed 05/03/18      Page 147 of 186


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                         Mercy Fitzgerald Hospital
                                      Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



or pulsation , iv access intact, no joint effusions, peripheral edema, or acute skin changes Neuro no tremor
appreciated en pupils reactive no facial asymmetry plantars down

Results
                                                             Lab Results , CBC Diagram
10/13/16 06:00


                                                10.9~94
                                                    ~
                                                             Lab Results, BMP Diagram
10/13/16 06:00



                                              --~-:-o__..,_~-~-4--+I--~-~--~
repeat blood els ( 10/1 O)= sterile

Imaging
Cxr(my reading) : bilateral consolidation

Impression and Plan
Plan

bacteremia: staph aureus (mssa) and strep mitis, repeat blood c/ sterile, echocardiogram= n o vegetations or valvular
abnormality
pneumonia: aspiration, complicated by hypoxic respiratory failure and respiratory secretions
HIVD: moderately advanced, CD4 240-300
elevated temperature : pneumonic focus a reasonable consideration . obtain new sputum c/s, and sputum specimen
for cytology to exclude Pneumocystis process, and repeat blood c /s, and urine c/s
abx mgmt: continue cefazolin pending new els analysis
discussed clinical presentation with ICU medical staff


GILBERT.MARK, MD                                                               Oct 13, 2016 16:08

        <Electronically signed by MARK GILBERT, MD> 10/13/16 1608


            10/14/16 1721




PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1013-0381
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD                Document 15-8       Filed 05/03/18      Page 148 of 186


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                         Mercy Fitzgerald Hospital
                                   Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247




GILBMA /MG I DD 10/13/161608 / DT 10/13/16 1608




PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
REPORT#: 101 :>-0381
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD            Document 15-8        Filed 05/03/18        Page 149 of 186



                                                 Mercy Fitzgerald Hospital
                                                     Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT: FA1307223089                              ADMIT DATE: 10/07/16
REPORT #: 1014-0034                             DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN.MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                                 ***Signed Status ***


Subjective
Encounter Date & Time
10/14/16 06:25
(MALIK,AMMAR M MD)

Subjective
Subjective
Examined patient at bedside.
Patient was reported to have green tinged urine overnight.
Propofol titrated down and stopped.
(MALIK,AMMAR MMD)

Review of Systems
Unable to Obtain: Clinical Condition (Intubated and sedated)
(MALIK.AMMAR MMD)

Objective
Active Meds Reviewed: Yes
Medications

                                                          Medications Active List
      Medications             Dose                     Sig/Sch     start Time         status   Last Admin
                              Ordered                              stop Time
      Famotidine              20mg                     BID         10/10/16 21 :00             10/13/16 20:43

      FolicAcid               1 mg                     DAILY        10/11/16 09:00             10/13/1608:10

      Thiamine HCI 100        100 mg                   DAILY        10/11/16 09:00             10/13/16 08: 10
      mg
      Propofol                100 ml@O                 QOM PRN      10/10/16 20:30             10/14/16 05:46
                              mis/hr
      Enoxaparin Sodium       40mg                     DAILY        10/11/16 10:45             10/13/16 08:09

      Insulin Human           SS LOW DOSE LOW          Q6           10/12/16 07 :45
      Regular                 INTENSITY
                              SCALE: Bl. ..
      Dextrose                16 gm                    PRN PRN      10/12/16 11 :45            10/12/1612:41




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1014-0034
REPORT STATUS: Signed
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                         Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                       MR#: F001250247



      Dextrose/Water          12.5 gm                PRN PRN       10/12/16 11 :45

      Doxazosin Mesylate      1 mg                   DAILY         10/13/16 09:00                10/13/16 08:10

      Risperidone 1 mg        1 mg                   BID           10/12/16 11 :45               10/13/16 20:43

      Cefazolin Sodium       50ml@                   QB            10/12/1614:37                 10/14/16 05:28
                             100 mis/hr
      Acetaminophen          500 mg                  Q6H PRN       10/12/1620:15                 10/13/16 02 :04

      Fentanyl Citrate        100 mcg                Q2H PRN       10/14/16 00:30                10/14/16 05 :29


(MALIK,AMMAR MMD)

Patient Data
                                          Vital Signs, Last Documented
         Date Time                                                                       02 Flow Rate   Fi02
        10/14/16 06:00                                                                                    40

Weight in Kg
93.00


                                                                            10/14/16
                                                                               07 :00
                              Intake Total                                2669.67 ml
                              Out ut Total                                   4680 ml
                              Balance                                    -2010.33 ml

                                                                           469.67 ml
                                                                             1100 ml
                                                                             1100 ml
                                                                             4650 ml
                                                                               30 ml
                                                                              900 ml
                                                                              900 ml
                                                                              900 ml
                                                                              900 ml
                              #Voids                                                 0

Sedation Score Actual
2

(MALIK,AMMAR M MD)



PATIENT: EFUNNUGA,OLUTOKUNBO
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                        Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                         MR#: F001250247



Ventilator Settings
Ventilator Settings:
 Delivery Method: Endotracheal Tube
 Mode: AC
 Ventilator Rate: 24
 FI02 (21-100%): 40
 Tldal Volume (ml): 450
 PEEP (cm H20): 5
 Confirmation of Position: Chest Xray
(MALIK,AMMAR MMD)

Physical Exam
Appearance: : Appears stated Age: No Acute Distress
Head Exam: : Normocephalic: Symmetric
HEENT: : PERRL: Sciera Anicteric
Thorax: : No Accessory Muscle Use: RhonchiNo: Crackles, Wheezing
Cardiovascular: : No JVD: Normal Peripheral Pulse: Regular Rate Rhythm
Abdomen: : Bowel Sounds Noted : Soft
Rectal Exam: : Deferred
Skin: : Skin Color Normal: Skin Temperature Normal
Wound Present: No
Pulses: Distal Pulses 2+
Follows Commands: Yes
(MALIK,AMMAR MMD)

Results
Results
                                                        Arterial Blood Gas
1on11611:00:
Venous Blood pH 7.43, Venous Blood pH (Temp Corrected) 7.43, Venous Blood Partial Pressure C02 47.1, Venous
Blood pC02 (Temp Corrected) 47.1 , Venous Blood Partial Pressure 02 91.1, Venous Blood p02 (Temp Corrected)
91.1 , Venous Blood HC03 31.3, Venous Bid 02 Saturation (Measured) 97.2 , Venous Blood Base Excess 6.2,
Bedside Sodium (Blood Gas) 139, Bedside Potassium (Blood Gas) 6.0, Bedside Chloride (Blood Gas) 104, Ionized
Calcium (Blood Gas) 1.12
10/8/16 06:15: Allen Test Pos
10/14/16 04:57:
Arterial Blood pH 7.44, Arterial Blood pH (Temp corrected) 7.44, Arterial Blood Partial Pressure C02 43.5, Arterial
Blood pC02 (Temp correct) 43.5, Arterial Blood Partial Pressure 02 94, Arterial Blood p02 (Temp corrected) 93.5,
Arterial Blood HC03 29.5, Arterial Bid 02 Saturation (Measur) 97. 7, Arterial Blood Base Excess 4.8, Arterial Blood
Hematocrit 37.5, Arterial Blood Sodium 140, Arterial Blood Potassium 3.8, Chloride (Blood Gas) 104, Ionized
Calcium (Measured) (Bid Gas 1.18, Lactate (Blood Gas) 1.0, Blood Gas Temperature 98.6, Oxygen Delivery Device
Aerm , Blood Gas Ventilator Setting 24, Fi02 40.0, Blood Gas Tidal Volume 450, Blood Gas PEEP 5.0
Diagnostics Reviewed: Yes
(MALIK,AMMAR MMD)




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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                        Mercy Fitzgerald Hospital
                                 Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



Quality
Discussed Care Plan with: Family
Code Status: Full Code
 (MALIK,AMMAR MMD)
Lines Tubes and Catheter: ETT , PICC, Urinary Catheter
Line Necessity Addressed: Yes
 (MALIK,AMMAR MMD)
VTE Prophylaxis Ordered: Yes
GI Prophylaxis: H2 Blockers, PPI
 (MALIK,AMMAR M MD)
Indwelling Foley catheter: Yes
Urinary Cath Insertion Date: Oct 13, 2016
I Will Enter Order to Remove: No
 (MALIK,AMMAR MMD)
Central Venous Catheter: No
 (MALIK,AMMAR MMD)
Non-Violent Restraints: Continued
 (MALIK,AMMAR MMD)

Impression and Plan
Assessment
Problem List:
(1) Acute respiratory failure with hypoxia and hypercapnia
(2) Aspiration pneumonia
(3) On mechanically assisted ventilation
(4) Bacteremia
(5) Bacterial meningitis
(6) Drug overdose
(7) Toxic encephalopathy
(8) Rhabdomyolysis
(9) Suicide and self-inflicted poisoning by drugs and medicinal substances
(10) HIV (human immunodeficiency virus infection)
Chronic Problems: (MALIK.AMMAR M MD)

Management Plan
Plan

Neurology:
-Patient remains intubated, sedation titrated down. Patient is fully alert and responsive.
-Most likely etiology currently for patients neurological state is the TCA which may also be leading to his urinary
retention.
-Will continue to monitor neuro status
-Risperidone started yesterday and patient seems to have responded well .

Cl/:


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
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                        Mercy Fitzgerald Hospital
                                 Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



-Minor widening of the QRS complex noted on EKG patient on presentation and was started on bicarb gtt due to TCA
overdose.
-Patient HR better controlled overnight
-Echo revealed EF 45-50% with trace tricuspid regurgitation with borderline concentric left ventricular hypertrophy.
No signs of vegetations.
-EKG yesterday did not reveal QT prolongation.

PULM :
-SAT /SBT today
-Patient is sating well on current ventilation setting.
-Pneumonia due to MSSA, started on Cefazolin
-New respiratory cultures being obtained. Concern for Pneumocystis.


GI :
-No acute issues.
-Famotidine for prophylaxis
-Patient tolerating tube feedings well.

GU :
-AKI resolved.
-CPK levels3101 trending down 1500
-Will continue to trend CPK levels until normalize
-Patient requires aggressive IVF therapy
-Foley reinserted. We will resend urine cultures today.




ID:
-CSF negative for infection, contamination most likely with Strep. Epi
-Known HIV infection. Never on any HAART. Low CD4 count.
-Sputum cultures re-sent due to concern for Pneumocystis.
-Urine and blood cultures also re-sent.
-MSSA started on Cefazolin.


HEME/ONC:
-No acute issues.
-DVT prophylaxis with Lovenox.

ENDO:
-No active issues.
-Glucose level within range on tube feedings
-Continue accuchecks and Regular insulin SS
-Keep sugars <180




PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247



F/E/N :
-Patient tolerating tube feedings well .
-Continue to monitor and replete electrolytes as needed. Electrolytes currently stable.

SOCIAL:
Full code.
NOK:

Sheree Bradham (484) 420-5809 Mother
Ellis Bradham (610) 348-4661 Father


(MALIK,AMMAR M MD)

Additional lnfonnation
Condition: Critical
Critical Care Time (mins): 40
Additional Comments
excluding teaching or procedures
(LERMAN,GABRIEL S DO)

Attestation Statement
Attestation Statement
I have seen and evaluated the patient. reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:

The patient failed his SBT this morning. This was a combination of anxiety as well as secretions. His CXR is showing
a pretty significant pneumonia. He was started on Dexmedetomidine due to his severe anxiety and failing his SBT.
His RASS goal is 0 and he will be placed on the sleep protocol. Will continue with daily SBT.

His secretions remain an issue, and will continue with hydration and if needed we can do chest PT in order to get it
mobilized. Awaiting the results of the repeat cultures, his new sputum culture is growing a mixed flora picture. He
remains on Cefazolin and is responding well. Will change the antibiotics depending on the results of the cultures and
in discussion with ID. The patient is HIV positive. and will need to start HAART, this will be at the discretion of ID.

I was able to update the patienrs 2 sisters and parents. They were concerned that he is still having suicidal ideations
as he is reportedly writing that he vrants to die. They were assured that once he is extubated and is able to
participate, we will get a psychiatric consult for his mental health issues.

For his fevers, will get a LE US to rule out DVT. For his constipation, will start him on Colace 100mg BID. His rhabdo
is improving. Continue with LR@100cc/hr until <500.
 (LERMAN.GABRIEL S DO)


MALIK.AMMAR M MD                                                                Oct 14, 2016 06:32
LERMAN,GABRIEL S DO                                                             Oct 14, 2016 15:15



PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
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                          Mercy Fitzgerald Hospital
                                     Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



         <Electronically signed by AMMAR M MALIK, MD> 10/14/16 1228
         <Electronically signed by GABRIEL S LERMAN, DO> 10/14/161515




MALIAM I AM I DD 10/14116 0632 I DT 10/14/16 0632




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1014-0034
REPORT STATUS: Signed
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                                                     Mercy Fitzgerald Hospital
                                                         Internal Med Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                      MR#: F001250247
ACCT: FA1307223089                                   ADMIT DATE: 10/07/16
REPORT#: 1014-0139                                   008: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN , MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                     ***Signed Status***


Subjective
Encounter Date & Time
10/14/16 08:16
Subjective
Patient seen, resting on the ventilator, full chart reviewed , no acute issues

Objective
Patient Data
                                             Vital Signs, Last Documented
          Date Time                                                                        02 Flow Rate   Fi02
         10/14/16 06:00                 99      28     134/62         100   Ventilator                      40

Weight In Kg
93.00
                                                                Bedside Blood Glucose
10/14/16 05:23: POC Glucose 113
Appearance: : No Acute Distress
Thorax: : Decreased Breath Sounds
Cardiovascular: : Regular Rate Rhythm
Abdominal Inspection: : Normal
Abdomen: : Bowel Sounds Noted: Non-tender

Results
                                                                Lab Results, CBC Diagram
10/14/16 05:55


                                                10.9~62
                                                      ~
                                                                Lab Results, BMP Diagram
10/14/16 05:55

                                             __1_3_9__....._1_0_1---111--1_1___~
                                               4.1         28            1.1 ~




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1014-0139
REPORT STATUS: Signed
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                          Mercy Fitzgerald Hospital
                                     Internal Med Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                              MR#: F001250247



Impression and Plan
Problem List:
(1) Acute respiratory failure with hypoxia and hypercapnia
Impression and Plan: Continue full ventilator support
(2) AKI (acute kidney injury)
Impression and Plan: Resolved
(3) Drug overdose
Impression and Plan: Continue with clinical monitoring
(4) Aspiration pneumonia
Impression and Plan: Continue cefazolin, trend cultures, appreciate ID input
Chronic Problems:


HAMID.SAMMY, MD                                                                 Oct 14, 2016 08:17

         <Electronlcally signed by SAMMY HAMID, MD> 10/17/16 0808




HAMISA I SH I DD 10/14/16 0817 / DT 10/14116 0817




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1014-0139
REPORT STATUS: Signed
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                                                  Mercy Fitzgerald Hospital
                                                      Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247
ACCT: FA1307223089                                ADMIT DATE: 10/07/16
REPORT # : 1014-0460                              DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDI NG: LITTMAN .MARIO, MD
PCP : DOCTOR.NONE (FAM ILY)

                                                  ***Signed Status ***


Subjective
Encounter Date & Time
10/14/16 17:21
Service: Infectious Disease
Subjective
Pt alert, responds to all commands, requ ires mechanical ventilation, no fever HA visual changes abdominal or back
pain, increased stool formation, Tm 98.8

Objective
Patient Data
                                           Vital Signs, Last Documented
           Date Time       Temp    Pulse   Resp B/P          Pulse Ox 02 Delivery       02 Flow Rate   Fi02
          10/14/16 17:18                     32
          10/14/16 17:00             88             156/76         100   Ventilator                       40
          10/14/16 15:00    37.0

Weight in Kg
93.00
                                                             Bedside Blood Glucose
10/14/16 12:33: POC Glucose 137

Physical Exam
Tm 98.8


anicteric pupils reactive eom i ET intact no stridor or meningism us abd active bs no distention no guarding or
pulsation iv access intact sir intact no edema Neuro no tremor appreciated en intact ms 5/5 upper and lower plantars
down
Results
                                                             Lab Results, CBC Diagram
10/14/16 05:55


                                              10.9~62
                                                   ~
                                                             Lab Results, BMP Diagram

PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1014-0460
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                 Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



10/14/16 05:55


                                               ------...
                                                 139     101     11
                                                       -------4~-----
                                                                        ~
                                                                        107
                                                4.1      28      1.1

blood c/s= strep mitis, repeat blood c/s sterile
sputum c/s = staph aureus, mssa

Impression and Plan
Plan

bacteremia: strep mitis. repeat blood c/ sterile. echocardiogram= no vegetations or valvular abnormality,
recommend TEE
pneumonia: aspiration, complicated by hypoxic respiratory failure and respiratory secretions
HIVD: moderately advanced, CD4 240-300
elevated temperature : resolved, pneumonic focus a reasonable consideration , ne.v sputum c/s analysis pending,
and sputum specimen for cytology to exclude Pneumocystis process,
abx mgmt:adjusted to combination parental ceftriaxone and gentamicin Please obtain gentamicin serum trough level
after three doses
discussed clinical presentation with pt and family and ICU medical staff

recommend TEE


GILBERT.MARK, MD                                                             Oct 14, 2016 17:26

        <Electronically signed by MARK GILBERT, MD> 10/14/16 1744




GILBMA /MG I DD 10/141161726/DT1U/14/16 1726




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1014-0460
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                                                 Mercy Fitzgerald Hospital
                                                      Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT: FA1307223089                              ADMIT DATE: 10/07/16
REPORT #: 1015-0011                             DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN .MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                 *** Signed Status ***


Subjective
Encounter Date & Time
10/15/16 05:23
(CAR,ADRIAN DMD)

Subjective
Subjective
Patient seen and examined this morning.
Overnight patient pulled foley out, it was replaced .
Patient is experienced episodes of agitation that caused patient to go tachypneic & tachycardic.
Managed agitating episodes with 1mg dilaudid pushes.
Patient is otherwise stable overnight.

(CAR,ADRIAN D MD)

Review of Systems
Unable to Obtain: Clinical Condition
(CAR,ADRIAN D MD)

Objective
Active Meds Reviewed: Yes
Medications

                                                          Medications Active List
      Medications             Dose                     Sig/Sch     start Time           status     Last Admin
                              Ordered                              stoo Time
      Famotidine              20 mg                    BID         10/10/16 21 :OD                 10/14/16 20:08

      FolicAcid               1 mg                      DAILY         10/11/16 09 :00              10/14/16 09:33

      Thiamine HCI            100 mg                    DAILY         10/11/16 09:00               10/14/16 09:32

      Enoxaparin Sodium       40mg                      DAILY         10/11/16 10:45               10/14/16 09:33

      Insulin Human           SS LOW DOSE LOW          Q6             10/12/16 07:45
      Regular                 INTENSITY
                              SCALE: Bl. ..
      Dextrose                16gm                      PRN PRN       10/12/16 11 :45              10/12/16 12:41



PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
REPORT#: 1015-0011
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                  Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                               MR#: F001250247



      Dextrose/Water          12.5 gm                    PRN PRN        10/12/1611:45

      Doxazosin Mesylate      1 mg                       DAILY          10/13/16 09:00            10/14/16 09:32

      Risperidone             1 mg                       BID            10/12/16 11 :45           10/14/16 20:08

      Acetaminophen           500 mg                     Q6H PRN        10/12/16 20:15            10/13/16 02 :04

      Fentanyl Citrate        100 mcg                    Q2H PRN        10/14/16 00:30            10/15/16 03:43
      100 mr.n
      Dexmedetom idine        104 ml@O                   QOM PRN        10/14/16 08:45            10/15/16 03:06
      HCl/Sodium              mis/hr
      Chloride
      Docusate Sodium         100 mg                     BID            10/14/16 11 :30           10/14/16 20:08
      100 mQ
      Lactated Ringer's       1,000 ml@                  Q10H           10/14/16 11 :30           10/14/16 20:08
                              100 mis/hr
      Gentamicin              52.75 ml@                  QB             10/14/16 21 :OD           10/15/1605:16
      Sulfate 110 mg/         100 mis/hr
      Sodium Chloride
      Ceftriaxone Sodium      100 ml@                    Q12            10/14/16 21 :00           10/14/16 20:07
                              100 mis/hr

Titratable Med Infusions
Precedex 1.2mcg/kg/hr
Lactated Ringers 100mL
(CAR,ADRIAN DMD)

Patient Data
                                                  Vital Signs 24 Hours
        Date Time         Temp     Pulse   Resp      B/P       Pulse Ox      02 Deliverv   02 Flow Rate   Fi02
       10/15/16 05:00                 93     32       147/66        100      Ventilator                     40
       10/15/16 04:08                                                        Ventilator                     40
       10/15/16 04:07                                                                                       40
       10/15/16 04:00      37.0       81     28      140/66           100    Ventilator                     40
       10/15/16 03:00                 74     26      154/72           100    Ventilator                     40
       10/15/16 02 :00                74     26      155/75           100    Ventilator                     40
       10/15/1601:20                         27                                                             40
       10/15/16 01 :00                75     26      156/76           100    Ventilator                     40
       10/15/16 00:18                                                                                       40
       10/15/16 00:00                 78     28      162/78           100    Ventilator                     40
       10/14/16 23:20                                                        Ventilator                     40
       10/14/16 23:00                 83     28      144/70           100    Ventilator                     40
       10/14/16 22 :00               115     28      162177            94    Ventilator                     40
       10/14/16 21 :00     37.3       83     29      161/72           100    Ventilator                     40
       10/14/16 20:03                        32                                                             40


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1015-0011
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                 Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



       10/14/16 20:00               107    36       167/87          99     Ventilator                    40
       10/14/16 20:00                                                                                    40
       10/14/16 20:00                                                      Ventilator                    40
       10/14/16 19:00                84    32       165/81          99     Ventilator                    40
       10/14/16 18:00                86    33       157179          100    Ventilator                    40
       10/14/16 17:18                      32
       10/14/16 17:00                88    32       156176          100    Ventilator                   40
       10/14/16 16:00                91    27       151/85           97    Ventilator                   40
       10/14/16 15:00                                                      Ventilator                   40
       10/14/16 15:00     37 0       84    30       102172          100    Ventilator                   40
       10/14/16 14:00                81    27       149179          100
       10/14/16 13:53                      27                                                           40
       10/14/16 13:00                87    26       141174          100    Ventilator                   40
       10/14/16 12:00                      32
       10/14/16 12 :00              105    32       129/82          99     Ventilator                   40
       10/14/16 11 :15                                                     Ventilator                   40
       10/14/1611:00      37.4      110    28       161/89          99     Ventilator                   40
       10/14/16 10:00               134    28       165/80          96     Ventilator                   40
       10/14/16 09:00               130    38      185/119          96     Ventilator                   40
       10/14/16 08:51                                                                                   40
       10/14/16 08:35               126    36                                                           40
       10/14/16 08:28                      35                                                           40
       10/14/16 08:06               110    27       159172          100    Ventilator                   40
       10/14/16 08:00     37.6      111    37       162/66          100    Ventilator                   40
       10/14/16 07 :15                                                     Ventilator                   40
       10/14/16 07 :15                     26
       10/14/16 07 :00               88    27       132/56          100    Ventilator                   40
       10/14/16 06:00     37.6       99    28       134/62          100    Ventilator                   40
       10/14/16 05:46                               154172

Weight in Kg
93.00
                                                             Bedside Blood Glucose Last 24h
10/14/16 12:33: POC Glucose 137
10/14/16 16:25: POC Glucose 109
10/14/16 21:23: POC Glucose 121


                                                                       10/15/16
                                                                          07:00
                                    Intake Total                      4688.2 ml
                                    Out utTotal                         2960 ml
                                    Balance                           1728.2 ml

                                                                      2488.2 ml
                                                                        1100 ml
                                                                        1100 ml


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1015-0011
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                               Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                     MR#: F001 250247



                                   Out ut Urine Total              2960 ml
                                  # Bowel Movements                      0

Sedation Score Actual
1

(CAR.ADRIAN D MD)

Ventilator Settings
Ventilator Settings:
 Delivery Method: Endotracheal Tube
 Mode: AC
 Ventilator Rate: 24
 FI02 (21-100%): 40
 Tidal Volume (ml): 450
 PEEP (cm H20): 5
(CAR.ADRIAN DMD)

Physical Exam
Appearance: : other (ETT in place.)
Head Exam: : Normocephalic: Symmetric
HEENT: : PERRL: Sciera Anicteric
Thorax: : Rhonchi
Cardiovascular: : Normal Peripheral Pulse: Regular Rate RhythmNo: Gallop, Murmur
Abdomen: : Bowel Sounds Noted : Distended : Non-tender
Rectal Exam: : Deferred
Skin: : Skin Color Normal : Skin Temperature Normal
Wound Present: No
Upper Extremity Appearance: : Normal
Lower Extremity Appearance: : Normal
Pulses: Distal Pulses 2+
Mental Status: Abnormal
Follows Commands: Yes
(CAR.ADRIAN DMD)

Results
Results
                                                        Lab Results, CBC Diagram
10/14/16 05:55


                                           10.9~62
                                                ~
                                                        Lab Results, BMP Diagram


PATIENT: EFUNNUGA,OLUTOKUNBO
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PATIENT : EFUNNUGA,OLUTOKUNBO                                         MR#: F001 250247



10/14/16 05:55



                                          --~-~-:--+--~-~-----tli--~-~-1---<~
                                                          1


                                                          Arterial Blood Gas
1017/1617:00:
Venous Blood pH 7.43, Venous Blood pH (Temp Corrected) 7.43, Venous Blood Partial Pressure C02 47.1 , Venous
Blood pC02 (Temp Corrected) 47. 1, Venous Blood Partial Pressure 0 2 91 .1, Venous Blood p02 (Temp Corrected)
91.1 , Venous Blood HC03 31.3, Venous Bid 02 Saturation (Measured) 97.2, Venous Blood Base Excess 6.2,
Bedside Sodium (Blood Gas) 139, Bedside Potassium (Blood Gas) 6.0, Bedside Chloride (Blood Gas) 104, Ionized
Calcium (Blood Gas) 1.12
10/8/16 06:15: Allen Test Pas
10/14/16 04:57:
Arterial Blood pH 7.44, Arterial Blood pH (Temp corrected) 7.44, Arterial Blood Partial Pressure C02 43.5, Arterial
Blood pC02 (Temp correct) 43.5, Arterial Blood Partial Pressure 02 94, Arterial Blood p02 (Temp corrected) 93.5,
Arterial Blood HC03 29.5, Arterial Bid 02 Saturation (Measur) 97.7. Arterial Blood Base Excess 4.8, Arterial Blood
Hematocrit 37.5, Arterial Blood Sodium 140, Arterial Blood Potassium 3.8, Chloride (Blood Gas) 104, Ionized
Calcium (Measu red) (Bid Gas 1.18, Lactate (Blood Gas) 1.0, Blood Gas Temperature 98.6, Oxygen Delivery Device
Aerm , Blood Gas Ventilator Setting 24, Fi02 40.0, Blood Gas T idal Volume 450, Blood Gas PEEP 5.0
Diagnostics Reviewed: Yes
Imaging
10/14/16
Procedure Reason: to r/o DVT

Exam : US Duplex Venous study Bilat

IMPRESSION: Ultrasound of bilateral lower extremity deep veins shov.tS no DVT.

INDICATION : 37 years old ; Male. Symptom/Location/Duration : HIV, glaucoma, unconscious. Drug overdose. Bilateral
lower extremity swelling x 10 days. Patient on ventilator.

TECHNIQUE : Ultrasound of bilateral common femoral , superficial femoral , popliteal veins and common femoral/
saphenous vein junctions with 2-D grayscale, color Doppler and pulsed Doppler techniques. Comparison: None.
(CAR.ADRIAN DMD)

Quality
Discussed Care Plan with: Patient
Code Status: Full Code
(CAR,ADRIAN DMD)
Lines Tubes and Catheter: ETT . PICC, Urinary catheter
Line Necessity Addressed: Yes
(CAR,ADRIAN DMD)
VTE Prophylaxis Ordered: Yes
GI Prophylaxis: H2 Blockers
(CAR,ADRIAN DMD)


PATIENT: EFUN NUGA,OLUTOKUNBO
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                                Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



Indwelling Foley Catheter: Yes
Urinary Cath Insertion Date: Oct 13, 2016
Indication for Indwelling Cath: Acute Urinary Retention
I Will Enter Order to Remove: No
 (CAR.ADRIAN D MD)
Central Venous Catheter: No
 (CAR,ADRIAN DMD)
Non-Violent Restraints: Continued
 (CAR,ADRIAN DMD)

Impression and Plan
Assessment
Problem List:
(1) Acute respiratory failure with hypoxia and hypercapnia
(2) Aspiration pneumonia
(3) On mechanically assisted ventilation
(4) Bacteremia
(5) Bacterial meningitis
(6) Drug overdose
(7) Toxic encephalopathy
(8) Rhabdomyolysis
(9) Suicide and self-inflicted poisoning by drugs and medicinal substances
(10) HIV (human immunodeficiency virus infection)
Chronic Problems: (CAR,ADRIAN DMD)

Management Plan
Plan
Neurology:
-Patient remains intubated, sedation titrated down. Patient is fully alert and responsive.
-Will continue to monitor neuro status
-Patient required dilaudid pushes in order to alleviate agitation episodes overnight, patient is at max precedex he will
likely require more sedation until he is able to extubated.

DJ:
-Patient appears hemodynamically stable overnight.
-No major issues noted overnight.

PULM :
-Recommend SAT/SBT trial again today.
-Patient is sating well on current ventilation setting.
-Pneumonia due to MSSA, patient currently on ceftriaxone & gentamicin
-Awaiting respiratory cultures.


GI :
-No acute issues


PATIENT: EFUN NUGA,OLUTOKUNBO
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                                 Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247



-Famotidine for prophylaxis
-Patient tolerating tube feedings well.
-started on colace for constipation.

GU :
-CPK levels 3101 trending down 1500
-Will continue to trend CPK levels until normalize
-Patient requires aggressive IVF therapy
-Foley reinserted.
-Awaiting urine cultures.

ID:
-CSF negative for infection, contamination most likely with strep. Epi
-Known HIV infection. Never on any HAART. Low CD4 count.
-Sputum cultures re-sent due to concern for Pneumocystis.
-Awaiting urine & blood cultures.
-started on ceftriaxone & gentamicin. Will need to obtain gentamicin trough level after 3rd dose.


HEME/ONG:
-No acute issues.
-DVT prophylaxis with Lovenox & SCDs.

ENDO:
-No active issues.
-Glucose level within range on tube feedings
-Continue accuchecks and Regular insulin SS
-Keep sugars <180


F/E/N :
-Patient tolerating tube feedings well.
-Continue to monitor and replete electrolytes as needed. Electrolytes currently stable.

SOCIAL:
Full code.
NOK :

Sheree Bradham (484) 420-5809 Mother
Ellis Bradham (610) 348-4661 Father
(CAR,ADRIAN DMD)
Plan
PT SEEN AND EXAMINED WITH RESIDENT THIS MORNING
PT ON SBT THIS MORNING ABLE TO FOLLOW COMMANDS
BREATING AT AT RATE OF 29-40WITH TV 500-600 AND USING ACCESSORY MUSCLES SO WILL NOT
EXTUBATE THIS MORNING
ATTEMPT ANOTHER SBT IN THE AM
CONTINUE PRECEDEX AND CONTINUE RESPIRDAL 1 MG PO BID

PATIENT: EFUN NUGA,OLUTOKUNBO
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                          Mercy Fitzgerald Hospital
                                    Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                         MR#: F001250247



CXR APPEARS TO HAVE RIGHT PLEURAL EFFUSION SO WILL GIVE A DOSE OF LASIX 20 MG IV X ONE
(SMITH JR.KENNETH DO)

Additional lnfonnation
Condition: Critical
Critical Care Time (mins): 35
Addltlonal Comments
TOTAL CRITICAL CARE TIME WITHOUT TEACHING OR PROCEDURES
(SMITH JR,KENNETH DO)

Attestation Statement
Attestation Statement
I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:
 (SMITH JR,KENNETH DO)
Attestation Statement
I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:
 (CAR.ADRIAN DMD)


CAR.ADRIAN D MD                                                              Oct 15, 2016 05:28
SMITH JR.KENNETH DO                                                          Oct 15, 2016 11 :36

         <Electronically signed by ADRIAN D CAR, MD> 10/19/161326
         <Electronically signed by KENNETH SMITH JR, DO> 10/15/16 1138




CARAD I AC I DD 10/15/16 0528 IDT 10/15/16 0528




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1015-0011
REPORT STATUS: Signed
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                                        Mercy Fitzgerald Hospital
                                                   Progress Note

Patient: EFUNNUGA,OLUTOKUNBO                             MR#   F001250247
DOB: 03/06/1979            Sex: M                        Acct# FA1307223089
Date: 10/15/16                                           Room/Bed: 506-01
Report # 1015-0094

                                          ***Signed Status***
DATE OF SERVICE: 10/15/2016

SUBJECTIVE:
Patient seen and examined, a bit agitated, on ventilator, full chart reviewed , no new issues overnight.

OBJECTIVE:
VITAL SIGNS: Blood pressure 147/66, heart rate of 93, respiratory rate of 20, temperature 37.0.
GENERAL: He appears otherwise to be in no acute distress.
LUNGS: Decreased breath sound posterior chest wall.
HEART: S1 , S2.
ABDOMEN : Soft, nontender.
EXTREMITIES: Without calf tenderness.

LABORATORY DATA :
CBC : WBC 14, hemoglobin 11.5, platelet count of 297. SMA-6: Sodium 138, potassium 4.4, chloride 100,
C02 of 26, BUN 11 , creatinine 0.9. Blood glucose 95.

ASSESSMENT AND PLAN :
1. Respiratory failure with hypoxia and hypercapnia. Continue vent support for now.
2. Acute kidney injury with resolution .
3. Drug overdose. Continue clinical monitoring.
4. Infectious diseases. Continue on current antimicrobial regimen (ceftriaxone and gentamicin).
5. Gastrointestinal and deep venous thrombosis prophylaxis.



DICTATED BY: Mario Littman, MD

Job # :294048 Doc # :6627 45

                                     <Electronically signed by MARIO LITTMAN, MD> at 10/15/16 1023

                                                         LITTMAN, MARIO MD
LITTMAR I NE I DD 10/1~16 0957 / DT 10/15/161013




CC: LITTMAN,MARIO, MD
REPORT#: 1015-0094
REPORT STATUS: Signed
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                                                     Mercy Fitzgerald Hospital
                                                        Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                     MR#: F001250247
ACCT: FA1307223089                                  ADMIT DATE: 10/07/16
REPORT#: 1015-0262                                  008: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN.MARIO, MD
PCP : OOCTOR,NONE (FAMILY)

                                                     ***Signed Status***


Critical Care Note Addendum
Encounter Date & Time
10/15/16 16:03
pt appeared to have a air leak
since did ok earlier today on SBT with a RSBI < 60 and hemodynamically stable following commands will proceed
with extubation
if need to support ventilation and oxygenation will attempt bi pap first before do proceeding intubation

after extubation appears comfortable and is very cooperative with plan if needs further intervention

total critical care time 10 min


SMITH JR.KENNETH 00                                                            Oct 15, 2016 16:05

        <Electronically signed by KENNETH SMITH JR, DO> 10/15/16 1605




SMITKEN I KS I DD 10/1!Y161605 / DT 10/15/161605




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1015-0262
REPORT STATUS: Signed
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                                                 Mercy Fitzgerald Hospital
                                                     Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT: FA 1307223089                             ADMIT DATE: 10/07/16
REPORT#: 1016-0051                              OOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN.MARIO, MD
PCP : DOCTOR.NONE (FAMILY)

                                                 ***Signed Status***


Subjective
Encounter Date & Time
10/16/16 08:39
(OLUBIYl,OLUTAYO I MD)

Subjective
Hospital LOS days: 9
ICU LOS: 9
Subjective
Patient was seen and evaluated by the bedside. Hallucination over the night, resolved with Haloperidol.
 (OLUBIYl,OLUTAYO I MD)
Subjective
feels hungry. no new complaints.
 (LOZADA,JAMES A MD)

Objective
Medications

                                                          Medications Active List
      Medications             Dose                     Sig/Sch     Start Time          Status   Last Admin
                              Ordered                              Stop Time
      Famotidine              20mg                     BID         10/10/16 21 :00              10/15/16 20:02

      FolicAcid               1 mg                     DAILY         10/11/16 09:00             10/15/16 08:06

      Thiamine HCI            100 mg                   DAILY         10/11/16 09:00             10/15/16 08:06

      Enoxaparin Sodium       40mg                     DAILY         10/11/1610:45              10/15/16 08 :07

      Insulin Human           SS LOW OOSE LOW          06            10/12/16 07 :45
      Regular                 INTENSITY
                              SCALE: Bl. ..
      Dextrose                16 gm                    PRN PRN       10/12/16 11 :45            10/12/16 12:41

      Dextrose/Water          12.5 gm                  PRN PRN       10/12/16 11 :45

      Doxazosin Mesylate      1 mg                     DAILY         10/13/16 09:00             10/15/16 08:06




PATIENT: EFUNNUGAOLUTOKUNBO
cc:
REPORT#: 1016-0051
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                         Mercy Fitzgerald Hospital
                                  Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                         MR#: F001250247



      Acetaminophen           500 mg                   Q6H PRN       10/12/1620:15           10/16/16 04:37

      Docusate Sodium         100 mg                   BID           10/14/16 11 :30         10/15/16 20:02
      100 ma
      Gentamicin              52.75 ml@                Q8            10/14/16 21 :00         10/16/16 04:36
      Sulfate 110 mg/         100 mis/hr
      Sodium Chloride
      Ceftriaxone Sodium      100 ml@                  Q12           10/14/16 21 :00         10/15/16 20:02
                              100 mis/hr
      Risperidone 2 mg        2 mg                     BID           10/15/1612:15           10/15/16 20:02

      Dexmedetom idine        104 ml @O                QOM PRN       10/15/1614:15           10/15/16 23:05
      HCl/Sodium              mis/hr
      Chloride

(OLUBIYl,OLUTAYO I MD)
Active Meds Reviewed: Yes
(LOZADA.JAMES A MD)
Patient Data
                                            Vital Signs, Last Documented
        Date Time         Temo     Pulse   Reso B/P         Pulse Ox 02 Deliverv       02 Flow Rate   Fi02
       10/16/16 07 :00     37.5     121      35 161/85           100 Nasal Cannula             2.00
       10/15/1619:00                                                                                    40

Weight in Kg
93.00
                                                            Bedside Blood Glucose Last 24h
10/15/16 22:27: POC Glucose 97
10/16/16 04:49: POC Glucose 98


                                                                       10/16/16
                                                                          07 :00
                                     Intake Total                       1451 ml
                                     Out ut Total                       3975 ml
                                     Balance                           -2524 ml

                                     IV Total                            651 ml
                                     Tube Feeding                        400ml
                                     Tube lrri ant                       400ml
                                                                        3975 ml

Sedation Score Actual
0

(OLUBIYl,OLUTAYO I MD)


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
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PATIENT : EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247




                                                 Vital Signs 24 Hours
       Date Time        Temp     Pulse   Resp     B/P        Pulse Ox   02 Deliverv       02 Flow Rate     Fi02
      10/16/16 10:00                93     28       121/67        100   Nasal Cannula             2.00
      10/16/16 09:00              124      36       145/96        100   Nasal Cannula             2.00
      10/16/16 08:00              117      32       159/87        100   Nasal Cannula             2.00
      10/16/16 08:00                                                    Nasal Cannula             2.00
      10/16/16 07 :00     37.5     121      35     161/85         100   Nasal Cannula             2.00
      10/16/16 06:00               108      36     142/76          95   Nasal Cannula             2.00
      10/16/16 05:00               119      38     163/78          99
      10/16/16 04:00                                                    Nasal Cannula               2.00
      10/16/16 04:00      38.0              38      95/53          96   Nasal Cannula               2.00
      10/16/16 03 :00              106      38     135/68         100   Nasal Cannula               2.00
      10/16/16 02 :00              113      33     144/78         100   Nasal Cannula               2.00
      10/16/16 01 :00               99      27     128/64         100   Nasal Cannula               2.00
      10/16/16 00:00                                                    Nasal Cannula               2.00
      10/16/16 00:00                97      34     132/71          99   Nasal Cannula               2.00
      10/15/16 23:00               107      23     146/72          98   Nasal Cannula               3.00
      10/15/16 22 :00              104      31     141/71          99   Nasal Cannula               3.00
      10/15/16 21 :00              104      29     141/81          98   Nasal Cannula               3.00
      10/15/16 20:00      37.5     107      35    118/100          93   Nasal Cannula               3.00
      10/15/16 20:00                                                    Nasal Cannula               3.00
      10/15/16 19:00               113      27     158/78          99   Aerosol Mask                         40
      10/15/16 18:00               103      36     147/71         100   Aerosol Mask                         40
      10/15/16 17:00               103      32     155/74         100   Aerosol Mask                         40
      10/15/16 16:00               114      40     157/78         100   Aerosol Mask                         40
      10/15/16 16:00                                              100   Humidified Air                       50
      10/15/16 16:00                                                    Aerosol Mask                         40
      10/15/16 15:00               102      34     149/74         100   Ventilator                           40
      10/15/16 14:03                        29                                                               40
      10/15/16 14:00                83      27     135/68         100   Ventilator                           40
      10/15/16 13:00                86             141/59          99   Ventilator                           40
      10/15/16 12:00                                                    Ventilator                           40
      10/15/16 12:00                                                                                         40
      10/15/16 12:00                78             152/77         100   Ventilator                           40
      10/15/16 11 :00               78      29     155/80          99   Ventilator                           40

(LOZADA.JAMES A MD)

Physical Exam
Appearance: : Alert: Appears stated Age : No Acute Distress
Head Exam: : Atraumatic: Moist Mucous Membranes: Normocephalic: Symmetric
HEENT: : EOMI : PERRL: Sciera Anicteric
Thorax: : CTA Bilateral : Crackles (Right side, more in the lower lobe area) : Decreased Breath Sounds (Right side) :
No Accessory Muscle Use
Cardiovascular: : No JVD: Regular Rate Rhythm No: Gallop, Murmur, Rub


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
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PATIENT : EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247



Abdomen: : Non-distended : Non-tender: Soft
Rectal Exam: : Deferred
Skin: : Skin Color Normal : Skin Temperature Normal : Skin Turgor Normal
Wound Present: No
Lower Extremity Appearance: : Normal (OLUBIYl,OLUTAYO I MD)
Appearance: : Agitated : Alert: Anxious
Thorax: : Crackles (right side) : Decreased Breath Sounds (Right side) : No Accessory Muscle Use
Cardiovascular: : Tachycardia
Pulses: Distal Pulses 2+
Mental Status: Abnormal (RASS + 1)
Follows Commands: Yes
Motor Response
tremor+
 (LOZADA,JAMES A MD)

Results
Results
                                                            Lab Results, CBC Diagram
10/16/16 05:15


                                           ~71
                                           ~~

                                                            Lab Results, BMP Diagram
10/16/16 05:15

                                          __1_3_0__..._9_0__~1~1-4--~~5
                                            4.0        26         0.9    ~

                                                            Arterial Blood Gas
1017/1617:00:
Venous Blood pH 7.43, Venous Blood pH (Temp Corrected) 7.43, Venous Blood Partial Pressure C02 47.1 , Venous
Blood pC02 (Temp Corrected) 47.1 , Venous Blood Partial Pressure 02 91.1, Venous Blood p02 (Temp Corrected)
91.1 , Venous Blood HC03 31 .3, Venous Bid 02 Saturation (Measured) 97.2, Venous Blood Base Excess 6.2,
Bedside Sodium (Blood Gas) 139, Bedside Potassium (Blood Gas) 6.0, Bedside Chloride (Blood Gas) 104, Ionized
Galci um (Blood Gas) 1.12
10/8/16 06:15: Allen Test Pos
10/14/16 04:57:
Arterial Blood pH 7.44, Arterial Blood pH (Temp corrected) 7.44, Arterial Blood Partial Pressure C02 43.5, Arterial
Blood pC02 (Temp correct) 43.5, Arterial Blood Partial Pressure 02 94, Arterial Blood p02 (Temp corrected) 93.5,
Arterial Blood HC03 29.5, Arterial Bid 02 Saturation (Measur) 97.7, Arterial Blood Base Excess 4.8, Arterial Blood
Hematocrit 37.5, Arterial Blood Sodium 140, Arterial Blood Potassium 3.8, Chloride (Blood Gas) 104, Ionized
calcium (Measured) (Bid Gas 1.18, Lactate (Blood Gas) 1.0, Blood Gas Temperature 98.6, Oxygen Delivery Device
Aerm , Blood Gas Ventilator Setting 24, Fi02 40.0, Blood Gas Tidal Volume 450, Blood Gas PEEP 5.0


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
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PATIENT : EFUNNUGA,OLUTOKUNBO                                              MR#: F001250247



Diagnostics Reviewed: Yes
(OLUBIYl,OLUTAYO I MD)
Lab Results

                                  Item                      Value           Date Time
                                  Calcium Level             8.4 ma/dL L    10/16/16 0515
                                  Phosphorus Level            3.6 mQ/dL    10/16/16 0515
                                  MaQnesium Level           1.7 mQ/dL L    10/16/16 0515
                                  Total Creatine Kinase       690 U/L H    10/16/16 0515
SPEC# : FI16:M0022194R    COLLECTED:l0/13/16-1700    RECEIVED : 10/13/16-1903
SUBMITTING DR: KUMAR,NITISH MD                    CC: DOCTOR,NONE (FAMILY)
                                                       LITTMAN,MARIO, MD
                                                       MCNAMEE JR,WILLIAM B, MD
                                                       WALI,SALMAN MD

SOURCE: ENDOTRACH

 Procedure                               Result                             verified          site
      RESPIRATORY CULTURE Final                                              10/15/16-1050
             GRAM STAIN RESULT            *
                                          RARE EPITHELIAL CELLS
                                          MANY WHITE BLOOD CELLS
                                          FEW GRAM POSITIVE COCCI IN PAIRS
                                          FEW GRAM NEGATIVE RODS

           CULTURE                        NORMAL RESPIRATORY FLORA
           GROWTH                         RARE
        organism 1                        ENTEROBACTER AEROGENES
           GROWTH                         MODERATE
                        ENT AEROGE
                        M.I.C.     RX
        TRIMET/SULFA    <=20         s
        AZTREONAM       <=1          s
        CEFAZOLIN       >=64         R
        CEFTRIAXONE     <=1          s
        CEFEPIME        <=1          s
        CIPROFLOXACIN   <=0.25       s
        GENTAMICIN      <=1          s
        TOBRAMYCIN      <=1          s
        AMIKACIN        <=2          s


blood ex ngtd
SPEC#:FI16:M0021812R        COLLECTED:l0/08/16-2100    RECEIVED : 10/08/16-2138
SUBM:I:TTING DR: AHANGAR,WASEEM MO                  CC: DOCTOR,NONE (FAMILY)
                                                         LITTMAN,MARIO, MD
                                                         MCNAMEE JR,WILLIAM B, MD
                                                         WALI, SALMAN MD
SOURCE: SPUTUM                                    EXPECTORATEO SPUTUM

 Procedure                               Result                             verified          site
      RESPIRATORY CULTURE Final                                              10/11/16-1233
             GRAM STAIN RESULT
                                          MANY WHITE BLOOD CELLS
                                          RARE EPITHELIAL CELLS


PATIENT: EFUNNUGAOLUTOKUNBO
CC:
REPORT#: 1016-0051
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                     Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                                MR#: F001250247


                                              MANY GRAM POSITIVE COCCI IN CLUSTERS
                                              MODERATE GRAM POSITIVE COCCI IN PAIRS
                                              FEW GRAM NEGATIVE RODS

            CULTURE                           NO NORMAL RESPIRATORY FLORA

        organism 1                            STAPHYLOCOCCUS AUREUS
           GROWTH                             HEAVY

            10/11 UPDATED GROWTH OF STAPH AUREUS

                             *******************************
                             * This is a corrected result. *
                             *******************************
            A prior result    tha~   was reported as final has been changed.
                           STA AUREUS
                           M.I.C.     RX
                           ---------
        TRIMET/SULFA       <=10          s
        CLINDAMYCIN        0.25          s
        ERYTHROMYCIN       0. 5          s
        GENTAMICIN         <=0.5         s
        LEVOFLOXACIN       0.25          s
        LINEZOLID          2             s
        OXACILLIN          0.5           s
        TETRACYCLINE       >=16          R
        VANCOMYCIN         <=0.5         s


SPEC#:FI16:M0021811R       COLLECTED:l0/08/16-2100    RECEIVED: 10/08/16-2138
SUBMITTING DR : AHANGAR,WASEEM MD                  CC: DOCTOR.NONE (FAMILY)
                                                        LITTMAN,MARIO, MD
                                                        MCNAMEE JR,WILLIAM B, MD
                                                        WALI,SALMAN MD

SOURCE: BLOOD

 Procedure                                   Result                           verified         site
      BLOOD CULTURE Final                                                    10/12/16-1106
            GRAM STAIN RESULT                 FROM ANAEROBIC BOTTLE: GRAM POSITIVE COCCI IN CHAINS

           POSITIVE                          POSITIVE SMEAR CALLED
           CALLED TO/READ BACK BY:           DR KUMAR, NITISH
           DATE                              10/09/16
           TIME CALLED                       1305
           CALLED BY                         GPB
        Organism 1                           STREP MITIS/STREP ORALIS
           BACTEC BOTTLE                     FROM ANAEROBIC BOTTLE

                           STRMO
                           M.I.C.       RX
                           ---------
        TRIMET/SULFA       <=10          s
        CEFTRIAXONE        <=1           s
        ERYTHROMYCIN       1             I
        LEVOFLOXACIN       0.25          s
        LINEZOLID          2             s
        PENG               0.5           R
        TETRACYCLINE       16            R
        VANCOMYCIN         0. 5          s


Diagnostics Reviewed: Yes


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1016-0051
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247



Imaging
cxr- interval removal of ETT and gtube right sided infiltrate with pleural effusion essentially unchanged
 (LOZADA.JAMES A MD)

Quality
Code Status: Full Code
 (OLUBIYl,OLUTAYO I MD)
Lines Tubes and Catheter: PICC (10/11/2016)
 (OLUBIYl,OLUTAYO I MD)
Lines Tubes and Catheter: Urinary Catheter
 (LOZADA,JAMES A MD)
VTE Prophylaxis Ordered: Yes
GI Prophylaxis: H2 Blockers
 (OLUBIYl,OLUTAYO I MD)
Indwelling Foley catheter: Yes
Urinary cath Insertion Date: Oct 13, 2016
Indication for Indwelling cath: Acute Urinary Retention
 (OLUBIYl,OLUTAYO I MD)
Central Venous Catheter: No
 (OLUBIYl,OLUTAYO I MD)

Impression and Plan
Assessment
Problem List:
( 1) Toxic encephalopathy
(2) Rhabdomyolysis
(3) Drug overdose
(4) Lactic acidosis
Impression and Plan: resolved
(5) AKI (acute kidney injury)
Impression and Plan: resolved
(6) Respiratory failure
Impression and Plan: resolved
(7) Acute respiratory failure with hypoxia and hypercapnia
Impression and Plan: resolved
(8) On mechanlcally assisted ventllatlon
Impression and Plan: resolved
Chronic Problems: (OLUBIYl,OLUTAYO I MD)
Problem List:
(1) Acute respiratory failure with hypoxia and hypercapnia
(2) Toxic encephalopathy
(3) On mechanically assisted ventilation
(4) Lactic acidosis


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1016-0051
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                        Mercy Fitzgerald Hospital
                                  Critical Care Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                                MR#: F001250247



(5) Rhabdomyolysis
(6) Alcohol withdrawal delirium
(7) Urinary retention
(8) Suicidal overdose
(9) Drug overdose
Chronic Problems: (LOZADA,JAMES A MD)
Management Plan
Plan
NEU:
-Patient is fully alert and responsive. Off ETT /Mech vent.
-Had hallucinations overnight which resolved with 5mg of Haloperidol.
-Will continue to monitor neuro status
-On Precedex drip. will try to win him off this.

CV:
-Patient appears hemodynamically stable overnight.
-No major issues noted overnight.

PULM :
-Patient was successfully extubated yesterday.
-Patient is sating well on 4L 02 by nasal cannular.
-will continue ceftriaxone & gentam icin for Pneumonia due to MSSA,

GI :
-No acute issues.
-Famotidine for prophylaxis
-off tube feed.
-will continue colace for constipation.

GU :
-AKI is resolved with Cr at 0.9
-CPK levels is trending down
-Will continue to trend CPK levels until normalize
-Foley in place. for possible trial of voiding later today

ID:
-Known HIV infection. Never on any HAART. Low CD4 count.
-will flu Sputum cultures for Pneumocystis, urine & blood cultures.
-will complete ceftriaxone & gentamicin.

HEME/ONG:
-No acute issues.
-DVT prophylaxis with Lovenox & SCDs.

ENDO:
-No active issues.
-Continue accuchecks and Regular insulin SS


PATIENT: EFUNNUGAOLUTOKUNBO
CC:
REPORT#: 1016-0051
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                       Mercy Fitzgerald Hospital
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PATIENT : EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247



-Keep sugars <180 and >60


F/E/N :
-For speech and swallow eval. and possible diet feed.
-Continue to monitor and replete electrolytes as needed. Electrolytes currently stable.

SOCIAL:
      o Full code.
      o NOK:    Sheree Bradham (484) 420-5809 Mother
                Ellis Bradham (610) 348-4661 Father
 (OLUBIYl,OLUTAYO I MD)
Plan
I have seen and evaluated the patient, reviewed and discussed the plan of care with house staff, and agree as
documented with the following comments:

SSx consistent with alcohol withdrawal
remains on precedex drip
doing well after extubation
some dysphagia
Start CIWA-based ativan IV dosing
haldol prn
Attempt to titrate off precedex
will apply for 302, maintain 1:1 iso, psychiatry reconsulted
NPO x m eds for now
NS@100cclhr
SLP to eval
die famotidine
trial of void - die foley
check gentamicin trough - f/u with ID re : need to continue aminoglycoside synergy for? endocarditis
 (LOZADA.JAMES A MD)

Additional lnfonnation
Critical Care Time (mins): 37
Additional Comments
excludes procedures and teaching
(LOZADA,JAMESA MD)


OLUBIYl,OLUTAYO I MD                                                            Oct 16, 2016 08:49
LOZADA,JAMES A MD                                                               Oct 16, 2016 10:52

        <Electronically signed by OLUTAYO I OLUBIYI, MD> 101161161503
        <Electronically signed by JAMES A LOZADA, MD> 10/16/16 1304




PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1016-0051
REPORT STATUS: Signed
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                         Mercy Fitzgerald Hospital
                                   Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247




OLUBOL/ 00 I DD 10/16/16 0849/ OT 1CV16/16 0849




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 101~0051
REPORT STATUS: Signed
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                                         Mercy Fitzgerald Hospital
                                                    Progress Note

Patient: EFUNNUGA,OLUTOKUNBO                              MR#   F001250247
DOB: 03/06/1979            Sex: M                         Acct# FA1307223089
Date: 10/16/16                                            Room/Bed: 506-01
Report# 1016-0233

                                          ***Signed Status***
DATE OF SERVICE: 10/16/2016

SUBJECTIVE:
Patient seen and examined. Now extubated. He did have some hallucinations overnight, resolved with
haloperidol.

OBJECTIVE:
VITAL SIGNS: Blood pressure 160/85, heart rate of 120, temperature 37.5.
GENERAL: Patient resting quietly and in no acute distress.
HEENT: Pupils react to light and accommodation.
LUNGS: Few crackles, right side. otherwise, decreased breath sounds.
HEART: S1 , S2.
ABDOMEN : Soft, nontender.
EXTREMITIES: Without calf tenderness.

LABORATORY DATA :
CBC : WBC 17.6, hemoglobin 11.8, hematocrit 34.4, platelet count 371 . SMA-6 : Sodium 138, potassium
4 0, chloride 98, C02 of 26, BUN 14, creatinine 0.9, blood sugar 95_

ASSESSMENT AND PLAN :
1. Respiratory failure with hypoxem ia and hypercapnia, now resolved .
2. Acute kidney injury with resolution .
3. Drug overdose.
4. Infectious Disease. We will continue antimicrobial coverage.
5. Gastrointestinal and deep venous thrombosis prophylaxis.



DICTATED BY : Mario Littman, MD

Job # :295378 Doc #:664081

                                      <Electronically signed by MARIO LITTMAN, MD> at 10/16/16 1449

                                                          LITTMAN , MARIO MD

LITTMAR I NE I DD 10/161161349 / DT 10/16/16 1408




CC: LITTMAN.MARIO, MD
REPORT#: 1016-0233
REPORT STATUS: Signed
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                                                 Mercy Fitzgerald Hospital
                                                     Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT: FA1307223089                              ADMIT DATE: 10/07/16
REPORT # : 1016-0303                            DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                 ***Signed Status***


Subjective
Encounter Date & Time
10/16/16 18:36
Service: Infectious Disease
Subjective
Pt extubated, hallucinations, responsive to stimuli, Tm 100-101

Objective
Patient Data

                                           Vital Signs, Last Documented
        Date Time       Temo     Pulse    Re so B/P        Pulse Ox 02 Delivery        02 Flow Rate     Fi02
       10/16/1618:00              111       40 141172            97 Nasal cannula              2.00
       10/16/16 17:00     37.8
       10/15/16 19:00                                                                                     40

Weight in Kg
93.00
                                                          Bedside Blood Glucose
10/16/16 04:49: POC Glucose 98

Physical Exam
pupils reactive no strider or meningismus no hoarseness lung basal rales no cardiac m/r appreciated abd active bs
nontender no guarding or pulsation iv access sites w/o induration no progressive leg edema Neuro no tremor
appreciated en pupils reactive moves all ext. plantars down

Results
                                                          Lab Results, CBC Diagram
10/16/16 05:15


                                            ~71
                                            ~~

                                                          Lab Results, BMP Diagram
10/16/16 05:15




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1016-0303
REPORT STATUS: Signed
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                           Mercy Fitzgerald Hospital
                                 Infectious Disease Progress No

PATIENT : EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



                                                 138         98       14   /a
                                                             26-----4~0-.-g--<~S
                                               --4-.0__....,__

repeat blood els sterile
Imaging
rev iewed

Impression and Plan
Plan

bacteremia: strep mitis, repeat blood c/ sterile, echocardiogram= n o vegetations or valvular abnormality,
recommend TEE when logistically feasible
pneumonia : aspiration,
HIVD: moderately advanced, CD4 240-300
elevated temperature : pneumonic focus a reasonable consideration , new sputum c/s analysis reviewed, ordered
sputum for cytology,
abx mgmt:adjusted to combination parental ceftriaxone and gentamicin Please obtain gentamicin serum trough level
after three doses
discussed clinical presentation with ICU nursing staff

recommend TEE when logistically feasible


GILBERT.MARK, MD                                                                   Oct 16, 2016 18:41

        <Electronically signed by MARK GILBERT, MD> 10/16/16 1842




GILBMA /MG I DD 10/16/161841/DT10/16/16 1841




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1016-0303
REPORT STATUS: Signed
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                                                 Mercy Fitzgerald Hospital
                                                     Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT: FA1307223089                              ADMIT DATE: 10/07/16
REPORT#: 1017-0069                              DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING : LITTMAN, MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                 *** Signed Status ***


Subjective
Encounter Date & Time
10/17/16 07 :36
(OLUBIYl,OLUTAYO I MD)

Subjective
Hospital LOS days: 11
ICU LOS: 11
Subjective
Patient was seen and examined by the bedside. On 1:1 observation protocol and CIWA protocol overnight.
Reportedly became very agitated and delirious requiring violent restraints and administration of Haldol 2.5mg once.
Trial of voiding was successful and patient was transitioned to Texas catheter. He is awaiting Psych review.
 (OLUBIYl,OLUTAYO I MD)
Subjective
Intermittent agitation responsive to ativan and haldol. Remains on precedex infusion .
 (LOZADA,JAMESA MD)
Review of Systems
Unable to Obtain: Sedated .
(OLUBIYl,OLUTAYO I MD)

Objective
Active Meds Reviewed: Yes
Medications

                                                          Medications Active List
      Medications             Dose                     Sig/Sch     start Time          status   Last Admin
                              Ordered                              stoo Time
      FolicAcid               1 mg                     DAILY       10/11/16 09 :00              10/16/16 08:39

      Thiamine HCI            100 mg                   DAILY         10/11/16 09:00             10/16/16 08:39

      Enoxaparin Sodium       40mg                     DAILY         10/11/16 10:45             10/16/16 08:41

      Insulin Human           SS LOW DOSE LOW          Q6            10/12/16 07:45
      Regular                 INTENSITY
                              SCALE: Bl. ..
      Dextrose                16gm                     PRN PRN       10/12/1611 :45             10/12/1612:41




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1017-0069
REPORT S TATUS: Signed
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                        Mercy Fitzgerald Hospital
                                 Critical Care Progress Note

PATIENT : EFUNNUGA,OLUTOKUNBO                                        MR#: F001 250247



      Dextrose/Water         12.5 gm                  PRN PRN       10/12/16 11 :45

      Doxazosin Mesylate     1 mg                     DAILY         10/13/16 09:00           10/16/16 08:40

      Acetaminophen          500 mg                   Q6H PRN       10/12/16 20:15           10/16/1619:54

      Docusate Sodium        100 mg                   BID           10/14/16 11 :30          10/16/1619:53
      100 ma
      Gentamicin             52.75 ml@                QB            10/14/16 21 :OO          10/17/16 04:43
      Sulfate/Sodium         100 mis/hr
      Chloride
      Risperidone 2 mg       2 mg                     BID           10/15/161 2:15           10/16/1619:53

      Ceftriaxone Sodium     100 ml@                  DAILY         10/17/16 09:00
                             100 mis/hr
      Lorazepam              1 mg                     Q1H PRN       10/16/1611 :00

      Lorazepam 2 mg         2 mg                     Q1H PRN       10/16/16 11 :OD          10/17/16 06:31

      Sodium Chloride        1,000 ml@                Q10H          10/16/1611 :00           10/17/16 04:44
                             100 mis/hr
      Albuterol/             3ml                      Q4H PRN       10/16/1615:30
      loratrooium 3 ml
      Dexmedetom idine       104ml@O                  QOM PRN       10/16/16 23:00           10/17/16 06:39
      HCl/Sodium             mis/hr
      Chloride

(OLUBIYl,OLUTAYO I MD)
Active Meds Reviewed: Yes
(LOZADA,JAMES A MD)
Patient Data
                                           Vital Signs, Last Documented
        Date Time        Temo     Pulse   Reso B/P         Pulse Ox 0 2 Deliverv      0 2 Flow Rate   Fi02
       10/17/16 06:00                81     36 113/60            97 Nasal cannula              2.00
       10/17/16 05:00     36.7
       10/15/16 19:00                                                                                   40

Weight in Kg
93.00
                                                           Bedside Blood Glucose Last 24h
10/16/16 10:48: POC Glucose 104
10/16/16 16:41: POC Glucose 90
10/17/16 04:42: POC Glucose 90




PATIENT: EFUNNUGAOLUTOKUNBO
CC:
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                         Mercy Fitzgerald Hospital
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PATIENT : EFUNNUGA,OLUTOKUNBO                                         MR#: F001250247


                                    ..--------------- - - - - - - - --01:00
                                     Intake Total                      2199 ml
                                     Output Total                      1600 ml
                                     Balance                            599 ml

                                     Intake Oral                         180 ml
                                     IV Total                           2019 ml
                                     Output Urine Total                 1600 ml

Sedation Score Actual
-2

(OLUBIYl,OLUTAYO I MD)

                                                Vital Signs 24 Hours
        Date Time         Temo     Pulse   Reso   B/P      Pulse Ox 02 Deliverv      02 Flow Rate   Fi02
       10/17/16 10:00               112      34   152/73         96 Nasal cannula            2.00
       10/17/16 09:00               109      38   150/76        100 Nasal Cannula            2.00
       10/17/16 08:00      37.5     101      40   142/73        100 Nasal Cannula            2.00
       10/17/16 08:00                                                Nasal Cannula           2.00
       10/17/16 07 :00              106      40 137177           96 Nasal Cannula            2.00
       10/17/16 06:00                81      36 113/60           97 Nasal cannula            2.00
       10/17/16 05:00      36.7      80      39 140/65           97 Nasal cannula            2.00
       10/17/16 04:00                80      36 143/66           97 Nasal Cannula            2.00
       10/1 7/16 04:00                                               Nasal cannula           2.00
       10/17/16 03:00                80      38 133/67           98 Nasal Cannula            200
       10/17/16 02:00                82      40 133/65           97 Nasal Cannula            2.00
       10/17/16 01 :00               84      37 126/67           97 Nasal cannula            2.00
       10/17/16 00:00                82      31   127/63         98 Nasal Cannula            2.00
       10/17/16 00:00                                                Nasal Cannula           2.00
       10/16/16 23:00                83      35 126/61           98 Nasal Cannula            2.00
       10/16/16 22 :00     37.7     103      42 118/56           97 Nasal Cannula            2.00
       10/16/16 21 :OD              103      42 136/66           97 Nasal Cannula            2.00
       10/16/16 20:00                                                Nasal Cannula           2.00
       10/16/16 20:00               132      30 152/75           97 Nasal Cannula            2.00
       10/16/16 19:00               120      26 153/68           99 Nasal Cannula            2.00
       10/16/1618:00                111      40 141/72           97 Nasal Cannula            2.00
       10/16/1617:00       37.8     117      37 143/78           97 Nasal Cannula            2.00
       10/16/1616:00                                                 Nasal Cannula           2.00
       10/16/16 16:00               106      34 139/71           97 Nasal Cannula            2.00
       10/16/16 15:00               104      39 140/62           98 Nasal cannula            2.00
       10/16/1614:00                 84      33 121/59           99 Nasal Cannula            2.00
       10/16/1613:00                 98      15 136/99           98 Nasal cannula            2.00
       10/16/16 12:00               101      29 132/60          100 Nasal Cannula            2.00
       10/16/1612:00                                                 Nasal Cannula           2.00

(LOZADA,JAMES A MD)


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1017-0069
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PATIENT : EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247




Physical Exam
Appearance: : Appears stated Age: No Acute DistressNo: Alert
Head Exam: : Atraumatic : Normocephalic: Symmetric
HEENT: : EOMI : PERRL : Sciera Anicteric
Thorax: : CTA Bilateral : Decreased Breath Sounds (over the Right hemithorax) : No Accessory Muscle Use
Cardlovascular: : No JVD: Regular Rate RhythmNo: Gallop, Murmur, Rub
Abdomen: : Bowel Sounds Noted : Non-distended : Non-tender: Soft
Rectal Exam: : Deferred
Skin: : Skin Color Normal : Skin Temperature Normal : Skin Turgor Normal
Upper Extremity Appearance: : Normal
Lower Extremity Appearance: : Normal
Pulses: Distal Pulses 2+
(OLUBIYl,OLUTAYO I MD)
Appearance: : Lethargic
Mental Status: Abnormal (delirious, intermittently agitated)
Follows Commands: Yes
(LOZADA,JAMESA MD)

Results
Results
                                                          Lab Results, CBC Diagram
10/17/16 05:50




                                                          Lab Results, BMP Diagram
10/17/16 05:50


                                          --~-~-0--......-~-~-2---11~1-6---<~B
                                                          Arterial Blood Gas
10/7/1617:00:
Venous Blood pH 7.43, Venous Blood pH (Temp Corrected) 7.43, Venous Blood Partial Pressure C02 47.1, Venous
Blood pC02 (Temp Corrected) 47.1, Venous Blood Partial Pressure 02 91 .1, Venous Blood p02 (Temp Corrected)
91 .1, Venous Blood HC03 31.3, Venous Bid 02 Saturation (Measured) 97.2, Venous Blood Base Excess 6.2,
Bedside Sodium (Blood Gas) 139, Bedside Potassium (Blood Gas) 6.0, Bedside Chloride (Blood Gas) 104, Ionized
Galcium (Blood Gas) 1.12
10/8/16 06:15: Allen Test Pas
10/14/16 04:57:
Arterial Blood pH 7.44, Arterial Blood pH (Temp corrected) 7.44, Arterial Blood Partial Pressure C02 43.5, Arterial
Blood pC02 (Temp correct) 43.5, Arterial Blood Partial Pressure 02 94, Arterial Blood p02 (Temp corrected) 93.5,


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1017-0069
REPORT STATUS: Signed
